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                                                          Dodd Blandon
                                                         August 23, 2021                                                                     1


      1              UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
      2                 ORLANDO DIVISION

      3

      4

      5  I ODD BLANDON,
        I -.JDIVIDUALLY AND ON
      6 BEHALF OF ALL OTHERS
        ~ IMILARLY SITUATED
      7                                              PLAINTIFF

      8
          \ S.            CIVIL ACTION NO. 6:19-CV-02420-WWB-GJK
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.. ---Hf+-"WASTE'PRd tf§A, ·1Nt:·. ··· . ·· -· ·~, ·.~· -_,,. ,r=--~;,_;,,;e;-::.:·~~--.';:... - ~ :~,, ·   .. . .---,   ,-   -   . ....   .• . :-~ .· -~_,,,.,..   ___,,
                                                    DEFENDANT
     11

     12

     13

     14
                     DEPOSITION OF DODD BLANDON
     15

     16

     17

     18
          - aken at the instance of the Defendant at Via ZOOM,
     19     bn Monday, August 23, 2021, beginning at 10:18 a.m.

    20

    21

    22
    23                         REPORTED BY:

    24                 SHANNA CUMBERLAND, CCR #1774

    25


                                                  U.S. LEGAL SUPPORT, INC
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      1 ,\PPEARANCES:

      2
            PAUL NASO, ESQ.
      3      Morgan & Morgan, P.A.
            20 North Orange Avenue, 16th Floor
     4       Orlando, Florida 32802
            rnaso@forthepeople.com
      5

      6          COUNSEL FOR PLAINTIFF

      7

      8            MATTHEW J. PEARCE, ESQ.
                  Stovash, Case & Tingley, P.A.
        9          220 North Rosalind Avenue
                  Orlando, Florida 32801               .. -~:""':'_, .. ..: ____...   ·~   ..,.~~-~"
.. '. ·10·".'-- . ,. rrif>ea'fce@sctlaw.com                                                            ···.   ":   .. -: · --: ~ _...._.;.::-~ ----



     11
                 COUNSEL FOR DEFENDANT
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   1                    DODD BLANDON,

   2    having been first duly sworn, was examined and

   3    estified as follows :

   4    ~XAMINATION BY MR. PEARCE:

   5       Q.    Okay. Mr. Blandon, my name is Matt

   6    =>earce. I represent Waste Pro USA in this lawsuit.

   7             Do you understand that you're a plaintiff

   8    in this action?

   9       A.    Yes, I do.

   10       a:    All righ( And have you been· in   a
   11   deposition like this before?

   12       A.    Given at this position before with Waste

   13   Pro?

   14       Q.    In a deposition before, where attorneys

  15    are asking you questions and the court reporter is

  16     aking down the answers.

  17        A.    No.

   18       Q.    Okay. Just a few things that'll make it

   19   easier today.

  20        A.    Okay.

  21        Q.    If you can, let me finish my question and

  22    I'll let you finish your answer so we're not talking

  23    over each. That makes it easier for Shanna to type

  24    everything down.

  25        A.    Gotcha.


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   1       Q.    Questions, if it's a yes or a no question,

   2     you can, answer yes or no rather than nodding

   3    ,vour head or shaking your head because that doesn't

   4    i-ome through on transcript, either. And so if you

   5    ~odor shake your head, I may ask you is that a yes

   6    1)r a no. I'm not trying to be rude; I'm just making

   7    >Ure we get the record down.

   8       A.    Understood.

   9       Q.    Okay. And if you need a break today, just

   1O · et me know and-we'll take a bre·ak. I don't thfnk

   11   we're going to be here too long, but if you need a

   12   break, that's fine.

   13       A.    All right.

   14       Q.    Okay. Mr. Blandon, why are you suing

   15   Waste Pro in this case?

   16            MR. NASO: Objection; form.

   17       Q.    (By Mr. Pearce) And from time to time,

   18   Mr. Naso may make objections. You can go ahead and

   19   answer the question, unless he tells you not to

  20    answer.

  21        A.    I didn't hear what you had said at first.

  22    I didn't hear what you said when you came in. It

  23    was a -- I was about to say something and he came in

  24    saying something. I didn't hear him.

  25        Q.    Okay. Well, let me just back up.


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   1       A.    Okay.

   2       Q.    Why are you suing Waste Pro in this case?

   3             MR. NASO: Objection; form.

   4             But Dodd, you can answer.

   5             THE WITNESS: Finding out that I had

   6    , liscrepancies on my -- on my pay.

   7       Q.    (By Mr. Pearce) Okay. Tell me about what

   8    hose discrepancies are.

   9       A.    Overtime pay. I wasn't getting paid

   10   ~orrectly, and I just brung it to my supervisor's

   11   attention. And it was supposed to be looked at and

   12   t never was, and that's why.

  13        Q.    Okay. Why do you think your overtime

  14    wasn't being paid correctly?

  15       A.     Again, being -- being that I brought it to

  16    my manager's attention and he said -- what he

  17    answered was "You'll have to talk to the HR. I

  18    (ion't know how they pay y'all like that." You know,

  19    Whatever like that. And I said, "Okay."

  20             He seemed to see -- he said he thought

  21    something was wrong with it, too, so he just told us

  22     o get back with our -- with HR and see what they

  23    ~an do. And that's why.

  24        Q.    So specifically, what did you think was

  25    wrong about the overtime?


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   1               MR. NASO: Objection; form.

   2               Go ahead, Dodd.

   3               THE WITNESS: Just the way they was

   4    1~alculating things. Some people was getting paid

   5    1~ne thing and other people was getting paid another

   6    hing. And if something came up, something like

   7    his change in arithmetic type of calculations they

   8    i,vas doing. And that's why.

   9               You know, sometimes we'd get paid overtime

   10   and sometimes we wouldn't. Sometimes it            all depends .
   11   on -- it's got the amount we spend out there, the

   12    ime.

   13         Q.    (By Mr. Pearce) Okay. When you say other

   14   oeople were paid differently, who was being paid

   15   clifferently?

   16         A.    Other drivers.

   17         Q.    And how were they being paid differently?

   18         A.    That's the problem, they couldn't ever

   19    ell us why certain amounts was different from

   20   others. And I think we brung it up in the meeting

   21   one time.

   22         Q.    And who was the supervisor that you went

   23    o?

   24         A.    At that time, I think it was Richard

   25   Hanns.


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    1         Q.    And do you know how to spell his last

    2      1ame?

    3         A.    H-A-N-N-S, I think it is, if I'm not

   4       nistaken.

   5          Q.    And when did you bring that issue to

   6       v1r. Hanns' attention?

   7          A.    It wasn't -- I would say about a couple of

   8       nnonths after I started working there, within two

   9       irnonths maybe.

   ·10 ·       Q:   Okay: But other than the issue that you

   11      nad about overtime that you thought was not being

   12      calculated correctly, is there any other reason

   13      you're suing Waste Pro?

   14               MR. NASO: Objection; form.

  15                Dodd, you can answer.

   16               THE WITNESS: Basically, because my money

  17       wasn't correct. The overtime and stuff like that

  18       wasn't correct, basically.

  19           Q.   (By Mr. Pearce) When did you work --

  20       what were the years that you worked for Waste Pro?

  21           A.   Let me see. '12, the ending of '12,

  22        o '16. I think it was '16 or '17.

  23           Q.   Okay. And when you were hired at Waste

  24       Pro, what position were you hired to fill?

  25           A.   Route driver.


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    1        Q.   And at what facility did you work?

    2        A.   The one in Brookhaven, Mississippi.

    3        Q.   And for your entire employment with Waste

    4     Dro, did you always work out of the Brookhaven yard?

    5        A.   Yes.

    6        Q. And did you always hold the same position
    7     as a route driver?

    8        A.   Yes. Different routes sometimes, but the

    9     ~ame position.
                                                                 . .,   . .- · - ~ ~•----:::--
  ' 10'      Q:   Whattype·of foutes-were you drivin.g?

   11        A.   The county route.

   12        Q. What were you collecting on the county
   13 --oute?
   14        A.   Garbage.

   15        Q.   Garbage?

   16        A.   Yes.

   17        Q. Was it -- was it for residential homes?
   18        A.   Yes, residential.

   19        Q.   Okay. Did you ever drive any commercial

   20 --outes?
   21        A.   Commercial routes, no.

   22        Q.   So you were never like a front-load

   23 --oll-off driver or anything like that?
   24        A.   No. I had training for front-load, but

   25     hat position never came through.


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    1       Q.    Okay. Were you also picking up the

    2    1ecycling   on your route?

    3       A.    Not on my particular route, but I took

    4    ~omeone else's route from time to time.

    5       Q.    How often would you drive the recycling

    6    oute?

    7       A.    Just as needed, in case a guy was out or

    8    >omething like that. So maybe a couple of weeks

    9    naybe. It wasn't a long period of time.
                                                                                              ..•-
  · 10     · Q.   Okay: ·when you say you were driving the
                                            1
                                                                · ·
                                                                       ·.. .-   ~   :- : ·-_..,_




   11    county route, where did that route take you?

   12       A.    Out of the city limits.

   13        Q.   The city limits of Brookhaven?

   14        A.   Yeah, out of the City of Brookhaven, yeah.

   ·15       Q.   And where was the landfill where you

   16     illed your truck?

   17        A.   As far as in the county or the city, it

   18    was in the city part of Brookhaven.

   19        Q.   Was it always the same landfill the entire

   20     ime you were working?

   21        A.   Yes, the majority of the time.

   22    Yes, 95 percent of the time, unless that specific

   23    place was closed and we had to go somewhere else,

   24    out that was rare.

   25        Q.   Where would you go if the city one was


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    2       A.   I think it was closed to

    3    eminar [phonetic]. I can't -- it's on up towards

    4    attiesburg. I can't tell you the name because it

    5    asn't that -- it wasn't that often. Maybe four or

    6   ives times out of the year maybe.

    7       Q.   And would you drive the same route every

    8    ay or did it vary?

    9       A.   Yes, I did the same route every day,
 . -10 ' ·'nless, ·li·ke I say, some6ne was out or Hke·that,""'--~- ... ·   ·-   .•-1.'-




   11     nd then I would take their route or something like

   12    hat. Or he was just trying to switch up stuff and

   13    rying to find something different or new, you know,

   14     ring in something different or new, he would switch

   15     e up. But mostly, 99 percent of the time, I had my

   16
   17       Q.    Okay. And was it the same rate -- were

   18    ou driving the same route on Monday as Tuesday or

   19      ednesday, or did it vary by the day of the week?

   20       A.   No. Monday through Friday, the same.

   21       Q.    So you were going to the same places every

   22    ay?

   23       A.   Every day.

   24            Well, the routes was different, but it was

   25    till out in the country. You know, so I did one


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    1       oute out Monday in one direction, another one on

    2        uesday, another one on Wednesday, and so forth like

    3       hat.

    4          Q.   Okay.

    5          A.   Yeah.

    6          Q.   And why did you leave Waste Pro, your

    7   1~mployment?

    8          A.   I think to find better employment. And I

    9   1   vanted to -- excuse me. I thought I was going to
                                                                     -   ,;.,;.•-

   ·10 .·' get a position theh3 and lt never came throiigh; ailcf
   11       I just wanted to get back on the road, you know, as

   12       ~ar as driving trucks, because that's what I was

   13   kJoing before I came to Waste Pro.

   14          Q.   Okay. And you said you thought you might

   15       get a position?

   16          A.   Yes. I had applied for the manager's

   17       position, you know, and since I had been there

   18       onger than the majority of the other guys and they

   19       was in and out, that position was in and out, I just

   20       hought I would put my bid in for it. And being

   21       hat I didn't get it, I decided to get back out the

   22       '"oad, wanted to.

   23          Q.   So you applied for a manager position,

   24       didn't get it. And is that when you left Waste Pro?

   25          A.   No. I think it was a little bit later on,


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    1   )Ut eventually, yes, I left, because I started

    2   )Utting in applications for an over-the-road driver.

    3      Q.    When you were driving your route, would

    4   'VDU ever go outside of Mississippi?

    5      A.    No.

    6      Q.    In the Brookhaven yard, were you aware of

    7   .~ny drivers whose routes would take them outside of

    8   V!ississippi?

    9      A.    No.

   10      · Q: ArJ you familiar with the routes driven by

   11    he drivers?

   12      A.    Repeat that.

   13       Q.   Are you familiar with the routes driven by

   14   all the other drivers?

   15      A.    Oh, no, no, no, no.

   16       Q.    When you would arrive at the facility for

   17   work, what would you do? Just walk me through it.

   18            You get there in your car, I'm assuming?

   19      A.    Yeah. Get there around 6:00, 6:30, open

   20    he doors for the guys, and wait until management

   21   get there, Richard to get there. And we would have

   22   our meetings if we had one that day. And wait until

   23   he get done, say what he had to say, if there was

   24   anything he had to say.

   25            And after that, we would start our


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    1   )re-trips with the trucks and go from there to do

    2   I)ur routes, or to go dump if we didn't get the

    3   1;hance to do it the day before.

    4      Q.    When would you clock in for the day?

    5      A.    When would I? Once we opened the door,

    6   l)nce I opened the doors and let everybody in, we'd

    7   dock in and wait until Richard gets there, you

    8   ,now, if he wasn't already there.

    9      Q.    Did you ever do any work before you

   10 .· clocked in for the day?                            . .' ·· . .. _• 1.; •




   11       A.   No.

   12       Q.   So you had -- maybe Richard would have a

   13   meeting, is that correct, in the mornings?

   14       A.   Yeah, sometimes. At least once a week

   15   sometimes. And it would be on a Tuesday, maybe, or

   16   a Monday. He would let us know that as we was

   17   clocking in, that we had to have a meeting or

   18   something like that. But if not, then we would just

   19   ;JO ahead and start our pre-trip and get ready to

   20    eave the yard.

   21       Q.   How long would it take you to do the

   22   pre-trip inspection?

   23       A.   It'd usually be 15 minutes or more. It

   24   all depends. You know, but usually 15, 20 minutes.

   25       Q.   And what does it depend on?


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    1      A.    Checking the tires, the pressure in the

    2   ires, your lights, things involved with safety,

    3   hings in the truck, that has to do with the truck.

    4       Q.   Okay. Does it depend on the condition of

    5   he truck, how long the pre-trip inspection might

    6   ake?

    7      A.    Sometimes it could, yeah. If you had an

    8   l)lder truck, yes.

    9       Q.   Was there a -- did you use a checklist to

   :i O do the pre-trip inspection?
   11       A.   Yes. We had a checklist, I think, that we

   12   checked off every day, to check off, like, brakes,

   13   horns, lights, things of that nature, yes.

   14       Q.    Okay. Was that on a -- was it on a

   15   clipboard?

   16            Just what did that look like?

   17       A.   I recall, yeah, it could have been on a

   18   clipboard, a little sheet of paper, you know, that

   19   you turn in at the end of the day, if I'm not

   20   mistaken.

   21       Q.    Okay. And so after you did the pre-trip

   22   inspection, what would you do?

   23       A.   Then you get ready to leave -- to get off

   24    he yard.

   25       Q.    Okay. Would you ever come back to the


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    1 ' 1ard during the day while you were driving your

    2   , oute?

    3       A.    Not often, but sometimes maybe, if I

    4   11eeded to drop the guy if he got sick or something

    5   like that, maybe. You know, it all depends.

    6       Q.    Okay. And when you would finish your

    7   1oute for the day, what would you do?

    8       A.    Post-trip, and clock out. And post-trip

    9   is just going over the truck again, seeing if

  --1O -anything is wrong vitith if it, it was on ·~ flat or-

   11   anything like that, all my blinkers and stuff. Just

   12    he same -- just the opposite things that I did at ·

   13    be beginning of the day, just go back over it. And

   14 after that, clock out, go home.
   15       Q.    Okay. Did you ever do any work after you

   16 clocked out for the day?
   17       A.    No.

   18       Q.    What would you do, in terms of eating

   19    unch for the day? Did you eat on your route? Did

   20 you stop somewhere?
   21       A.    No. I would mainly eat on my route, if I

   22 ate at all. But mostly, eat on the route.
   23       Q.    Would you -- would you eat while you were

   24   driving or did you stop your truck?

   25       A.    It all depends, but mostly we didn't take


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    1    lunch. I mean, basically, we would drive through

    2    he whole day, being that I had the biggest route.

    3    ,o the guys that worked with me wanted to keep

    4    hrough the whole route.

    5             You know what I'm saying?

    6             And we worked like that, you know, unless

    7    •,ometimes we would stop. But it wasn't nowhere for

    8    us to stop because we was out in the country. So

    9    ,~ither you had to bring your lunch or we would get

   10 · t before the route started.

   11        Q.    Did Waste Pro have any policies about

   12    eating while driving?

   ·13       A.    Not that I can recall, no.

   14        Q.    At the time you worked there, did they

   15    have the Third Eye cameras in the truck?

   16        A.    Later on, before I got -- I mean, after I

   17     eft, you know, they had them in the truck. I think

   18     hey got there in there, like, maybe two years later

   19    or a year later, a year-and-a-half later, after I

   20    ;iot there, something like that.

   21        Q.    Okay. So for part of the time you were

   22    working, but part of the time, no?

   23        A.    Right.

   24        Q.    Okay. How many -- how many drivers worked

   25    at the Brookhaven yard when you were there, about?


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    1           A.   I'd say about -- I'm estimating about

    2        ,even or eight.

    3           Q.    And what kind of lines of business for

    4        hose drivers collecting?

    5                In other words, were they all residential

    6    1Dr were there some commercial drivers, as well?

    7           A.   You had one commercial driver and the rest

    8    1Vas residential, and that would be about it.
         1




    9                And then later on, I guess about two years
 .. 10       ater; they would' do the !'eaves and the trees and                       .~~-•. ~· .


   11        he stuff on the side of the road. They picked that

   12 !Up a little later on after, a couple of years later.
   13           Q.    Okay. So the yard waste?

   14           A.    Yes, yes, correct, right.

   15           Q.    Talking about recycling, was there one

   16 k:lriver who did the recycling?

   17           A.    Yes.

   18           Q.    Okay. Do you recall who that was, when

   19        you were there?

   20           A.    Not really, not right off, because it was

   21    one driver, but it could be anybody. It depends on

   22    Who he let do it that day.

   23           Q.    Okay. So it rotated between people?

   24           A.    Yes. As far as the recycling, yes.

   25           Q.    But you were never on that rotation.


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    1             You mentioned doing it occasionally if the

    2    driver was out?

    3       A.    Yeah.

    4       Q.    Correct?

    5       A.    Yes.

    6       Q.    Were you ever on that rotation where --

    7       A.    No. Because it was too hard to find

    8    >omeone to do my position, so I didn't do it that

    9    1~ften, as far as the recycling.

   1O       ·a: .:·All right. In terms of -- we talked about ·

   11    clocking in and clocking out. Was it -- how did you

   12 do that?
   13             Was it a time clock? Paper cards? Was it

  - 14   ~lectronic?

   15             What did that look like?

   16        A.    At first, it was paper cards and then it

   17    was the electronic, a little key, like a hotel key,

   18     ike, later on, yeah.

   19        Q.    Okay. When it was paper cards, was there

   20    la way for you to see when you clocked in and when

   21    you clocked out for the day?

   22        A.    Yeah. With a -- when you slide your card

   23    iand the stamp for the time went on there, yeah,

   24     hat's that only way you could see it.

   25        Q.    Did you ever have any issues that the time


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    1 •fvas not correct for clocking in and clocking out?

    2          A.     Yes.

    3          Q.     Okay. Tell me about that.

    4          A.     Oh, just -- it would be the -- it was --

    5       )omething would be wrong with the system or

    6   ')omething like that, or it went down or something

    7   like that. Or it wasn't up when we came to work,

    8       hen the manager would have to write us in; that it

    9   Was off line for a minute.
        1




   1O       : .· Q.   Okay. And when you-say the manager would

   11   write it in, would -- how would he do that?

   12          A.     I assume he wrote it on paper or something

   13       rom his desk; I don't know.

   14          Q.     Did you ever see the times that were

   15 written in so you could know if they were correct or

   16 not?

   17          A.     No. We just took his word for it.

   18          Q.     How often would that happen?

   19          A.     I couldn't say. Three or four, fives

   20       imes out the year maybe, sometimes, you know.

   21          Q.     Okay. And then, when it was an electronic

   22   system, could you see the times that you punched in

   23   ~nd punched out?

   24          A.     Yeah. If it was working correct on the

   25       ittle light that you -- that you saw in front. It


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    1 would say in or out, like that.

    2      Q.    Okay. Did you -- was there any process

    3   where you had to go, before you would get paid, and

    4   look at your time records and make sure they were

    5   3ccurate?

    6      A.    No.

    7      Q.    Was there a way to go on the time clock

    8   ,rnd look on the screen and see, you know, your

    9   )Unch-in and your punch-out times for that week?

   10      A. , A screen? No.-- I know after a white,                                 C'




   11    ater on, they gave us a ADP app to be able to look

   12    o see your check. And that would be -- you'd only

   13   be able to do that,. like, the day before.

   14      Q.    Before you got your check?

   15      A.    Yeah.

   16      Q.    Okay. What could you see in the ADP app

   17   when you looked at it?

   18      A.    Just how, you know, your paycheck was

   19   going to look. I mean, once they cut out the paper

   20   ~heck, you would be able to see that on how it will

   21   print out, how it would look and stuff like that.

   22       Q.   Okay. And were you supposed to -- was

   23    here a process where you were supposed to go on the

   24   app, and look and confirm everything was correct

   25   oefore you got paid?


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    1      A.    Not necessarily. They would just tell us

    2    you needed your check stub for anything, this is

    3   10w you can go about getting it.

    4      Q.    Okay. Did you use that app to check your

    5   ime records?

    6      A.    When I needed to see or use a check stub

    7   of mine, yes.

    8      Q.    Okay. Was there a time when you looked at

    9   he ADP records and said, "Hey, this not correct.

   10   The time is not-correct?"

   11       A.   Yes.

   12       Q.    Okay. What would you do then?

   13       A.   I would just take it to my manager,

   14   Richard, and tell him, "Man, this is not on here.

   15   What about this date," and this and that type of

   16   stuff.

   17            You know, I'd have to print it out or he

   18   would print it out, and we would go over it. And he

   19   would just tell us get with HR or whatever, and

   20   we'll go about it that way, or he'll look into it

   21    or us or whatever.

   22       Q.    But how often did that happen?

   23       A.   As often as it messed up. I mean, the

   24   ~heck was messed up. I mean, it might be once a

   25   week, it might be every other week. I mean, it just


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    1   ,all depends.

    2         Q.    What kind of -- what kind of errors were

    3   vou seeing on the ADP app, in terms of your time?

    4         A.    Just the -- maybe the amount of the --

    5   like I said , the overtime, if it was any overtime

    6   1   lone that day, when it was a problem. It would

    7   naybe mainly be overtime.

    8         Q.    Okay. And would those items be corrected

    9   ,3fter you had taken them to the manager?

   10         ·A.   Yes and no: · 1 mean, it all -- I rnean,

   11   depending on what time of the day we told him about

   12       t. If it was at the beginning of the day, he would

   13   say he would look into and we would just go ahead on

   14   and get on our route. And we'd have to bring it

   15   back to him later on in the day, to see if it got

   16       aken care of and things of that nature. So

   17   sometimes it did and sometimes we had to stay on it

   18       o make sure it was complete.

   19          Q.   Okay. And Mr. Blandon, you were a day

   20   rate employee; is that correct?

   21          A.   Yes.

   22          Q.   When you were hired, did you understand

   23       vou were going to be paid a day rate?

   24          A.   A certain amount for the day, yeah.

   25          Q.   So what was your understanding as to how


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    1   he day rate worked, in terms of how you would get

    2   Daid?

    3      A.    Let me see. A flat rate if we would pick

    4   ~p the garbage. I mean, the way he explained it, it

    5   ·~as -- I mean, I don't know. He'd pay us a certain

    6   dmount within the day, and within those eight hours,

    7   1ou would get this amount of money. Anything over

    8   hat would be overtime, that I thought of.

    9            So you had a certain amount of time to do

   10   vour·route, a certain amount of hours to do it, and -

   11    hat would be what you would get for that day, you

   12   Know. Well, every day. Since it was a flat day,

   13   vou know, the same thing every day.

   14      Q.     Okay. So it was a -- it was a flat rate

   15    or doing your route?

   16      A.     For the eight hours spent doing the route,

   17    hat's what you would get. Anything over that would

   18   Je overtime or whatever.

   19            And I was told, yeah -- and if you did

   20   anything shorter than that, you had to at least get

   21    hree hours-and-a-half or four hours to get the

   22   whole day. So yeah.

   23       Q.    So you mentioned having to work a certain

   24   amount of hours to get the full day rate. Were

   25    here ever any times where you got less than a full


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    1   (iay rate that you work?

    2       A.   Not that I can recall, no.

    3       Q.   Were there days where you worked less than

    4    our hours?

    5       A.   No.

    6       Q.   What days of the week did you work?

    7       A.   Monday through Friday.

    8       Q.   Did you ever work on the weekends?

    9       A.   It all depends on -- if we all voted on it

· ··· 10 · or something like that, that m·aybe the -- around the

   11    nolidays or something, if all of us couldn't get

   12    picked up, then we had to vote to see who wanted to

   13   come back on the weekend to finish it up. Days that

   14    ike that, it was -- it was rare. But those were

   15    he occasions that we ended up working on the

   16   weekends, or missed pick-ups.

   17       Q.   Okay. When you say a vote, the drivers

   18   would vote?

   19       A.   Yeah. He would have everybody, you know,

   20   saying do y'all want to do all this on the Friday

   21   or, you know, a Monday or a Saturday or whatever,

   22   and just let us choose. And you know, we would all

   23   vote, say, we'll come in on a Saturday, an early

   24   Saturday morning to furnish it up or something like

   25    hat, or stay late on a Friday. It was just a vote


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             1       hing.

             2          Q. When you would work on the weekend, were
             3   •1   ou driving your regular route or were you just

             4       inishing things that hadn't been done during the

             5   1   rveek?

             6          A.    It all depends. Just like you said, it

             7 1Jould be something we needed to finish during the
             8 week or it could be my particular route or someone
             9 1~lse's particular route that didn't finish, and it
.... .
            10 was,called fn and it was mentioned that we needed to
            11       come and work and finish it up.

            12          Q. Okay. Did you ever receive any sort of ·
            13       bonus while you worked at Waste Pro?

            14          A.    At the beginning, yes.

            15          Q.    Okay.

            16          A.    It was like safety bonuses.

            17          Q.     I apologize. Go ahead.

            18                A safety bonus?

            19          A.    Yeah, yes, sir.

            20          Q. And how did that work?
            21          A.    Every three-quarters -- every quarter you

            22 would get a safety bonus every quarter, as long as
            23       you didn't have an accident or anything like that,

            24 you did your paperwork correct, things of that
            25 nature.


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    1        Q.   And you said when you started, that's --

    2    hey had that bonus?

    3        A.   Yes. And it quickly disappeared.

    4        Q.   Okay. About how long had you worked there

    5   )efore it disappeared?

    6        A.   I'd say about a year, maybe. About a

    7   · 1ear.

    8        Q.   So maybe to 2013 roughly, something like

    9    hat?

   1O        A. - Yeah; yeah . I wouldn't even give it ·a ·

   11    vear-and-a-half at the most, but it didn't -- it

   12   didn't last long. We had a meeting about it, and

   13    hey was telling us it was going to be cut out.

   14        Q.   And who would -- who would decide if you

   15   would get the safety bonus?

   16        A.   I think our manager, Richard Hanns, him

   17   and the other district managers or whatever.

   18    hink they -- they had a say-so about that.

   19        Q.   Okay. And you said part of it was you

   20    nave to complete your paperwork correctly; is that

   21   right?

   22        A.   Yes, paperwork, you know, pre-trips, no

   23   accidents, things of that nature, yeah .

   24        Q.   Who decided whether your paperwork was

   25   ~omplete or not?


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     1          A.    I assume Richard.

     2          Q.    Okay. Were there ever -- were there ever

     3       ~ny times you did not get the safety bonus for the

     4       11uarter?

     5          A.    I can't recall not getting one, but I

     6       Gould have missed one or two or maybe; I don't know.

     7          Q.    Was part of the requirement keeping your

     8       ruck clean?

     9          A.    Yeah.

  · .,lO -       Q.   -Ali' right. Who would decide if the truck-

    11       was clean enough?

    12           A.   I assume Richard, since he was the only

    13 bne there.

    14           Q.      Okay. Was there any part of it that

    15       nvolved, you know, having a good attitude at work

    16 br not getting into disputes with coworkers, that
    17       Kind of stuff?

    18           A.   No, not that I -- I don't recall that

    19       being in the requirements, but I mean, it could have

    20       been. It depends on who's judging. I don't know.

    21       I didn't have any problems with doing none -- I

    22       mean, having that done. But I don't know how he

    23       ooked at everybody, but it could have been.

    24           Q.   After they got rid of the safety bonus,

    25       were there other types of bonuses that you got?


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    1         A.    Naw, naw, not that I can think of right

    2      I10w. Because after Richard left or whatever,

    3      ,another manager came in and brung up bonuses, as far

    4      ,as -- how do you call that? I can't recall how

    5      ~e -- what was the name of it.

    6               But if you went to assist somebody on

    7      heir route and helped them, you would get,

    8      like, a $50 bonus -- I mean, a bump fee; that's what

    9      hey called it. They called it a bump fee.

  - 10 :                                                            .   .. .   ...
                    And if you went and helped someone on                        ~




   11       heir route, that particular truck, the driver would

   12      get $50 and I think the helper would get $50; if

   13 hot, $25. But yeah, a bump fee. And that didn't
   14       ast long, either.

   15          Q.    Did you ever get that bump fee when they

   16 were giving it out?

   17          A.    No, because I'm always the one that needed

   18      nelp. So no, I don't think so.

   19          Q.    Okay. And you said they got rid of that

   20      one, too?

   21          A.    Yeah.

   22          Q.    What do you remember about that?

   23          A.    It was kind of short-lived, but that

   24      was -- basically, if someone helped you on your

   25      --oute and the manager called you or something like


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    1   hat and said, "Hey, can you go and help such and

    2   >uch. You know, we'll give you the bump fee." And

    3   hat was what you got.

    4      Q.   And any other types of bonus?

    5      A.   No.

    6      Q.   That you can remember?

    7      A.   Huh-uh (negative response).

    8      Q.   How about an annual bonus, a Christmas

    9   >onus, anything like that?

   10     ·A.   No: ·Oh, the-Christmas bonuses, you ·

   11   mentioned that. Yeah, you might get a turkey

   12   or $25 or something like that. They was giving that

   13   out for a while, and that stopped, too.

   14      Q.   Are you familiar with a $10,000 bonus?

   15      A.   Yeah, I was about to mention that to you,

   16   but I didn't want to while you was writing.

   17           But yeah, that was -- that was -- that was

   18   old when you got hired, you know, that you could

   19   ~et that, you know, $10,000 bonus.

   20      Q.    Did you ever get that bonus?

   21      A.   Is that a joke?

   22           No, I didn't -- I didn't get it. I could

   23   have got it, but now, I didn't get it.

   24      Q.    What is your understanding are the

   25   ..equirements were for those bonus?


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    1       A.    Basically, going -- I think it was three

    2    •vears or -- I think it was three years without

    3    ~aving any accidents or anything of that nature, no

    4    i-itations, no nothing. Just a clean record,

    5    ~asically. And at the end of that three years or

    6    Whatever, you would get, you know, that $10,000

    7    ~onus.

    8       Q.    And you said there were times you should

    9    ~ave gotten that bonus?

  · 10     · A. · l·mean, I thought I had. I was a good ·

   11    driver, had no accidents, no nothing, but it came

   12    down to hearsay and I didn't get it.

   13        Q.   And what do you mean by that, "hearsay"?

   14        A.   As far as discrepancies on how something

   15    came up and said, "Well, you did this." And like,

   16    'I don't recall that being my fault" or whatever,

   17    something like that. And it should have been the

   18    nelper's fault. And it just kind of like messed me

   19    up, as far as that's concerned.

   20        Q.   Do you remember specifics about what the

   21    •ssues were?

   22        A.   Just one in particular. Just I was going

   23    Pn my route and going down the highway, and a guy--

   24    I stopped to make a turn and the guy that was in a

   25     ruck behind me wasn't paying attention, and he hit


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    1   ny truck.

    2             You know, for some reason, that was -- you

    3   ,now, when it was coming up, as far as $10,000

    4   )onus, that was one of the reasons they said I

    5   didn't get it, that came up. You know, well, how

    6   would that have been my fault? He hit me.

    7             You know, but something like that was, you

    8   ,now, and I just stopped worrying about getting it

    9   ;~fter that.

   10 ·- ·   Q.    Did -- was there -- was there damage to .. · -·

   11 . your truck?

   12        A.    Not my truck, no, not the truck, but to

   13    heir truck, it was a little damage or whatever, but

   14    hat was it.

   15        Q.    Okay. Do you know if Waste Pro paid

   16   anything to that other person, the damaged truck?

   17        A.    I don't -- I don't know. I didn't -- I

   18    ried to stay aware of it and ask questions about

   19    t, but either Richard didn't know about it or he

   20   hadn't heard anything about it. So when he said

   21    hey was going to take care of it, then I just let

   22   nim take care of it. They didn't bring it back to

   23   my attention.

   24        Q.    Was any money ever taken out of your pay

   25   because of that accident?


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    1       A.     No, not that I can recall, no.

    2       Q.     Okay. Do you remember any other drivers

    3    Jetting the $10,000 bonus when you were there in

    4    3rookhaven?

    5       A.   Not in Brookhaven, no, but from other

    6    acilities, yes.

    7            MR. NASO: Matt, do you mind if we take a

    8    wo-minute break.

    9            MR. PEARCE: Yeah, that's fine. I was

· . · ·10 actlially about to ask if Shanna has·the exhibits:

   11            (Off the record at 10:57 a.m.)

   12            (On the record at 11 :03 a.m.)

   13            (Exhibit C marked for identification.)

  . 14           (Exhibit D marked for identification.)

   15       Q.     (By Mr. Pearce) Mr. Blandon, do you have

   16    hose exhibits in front of you, C and _D?

   17       A.     Yeah.

   18       Q.     All right. I think we'll look first at

   19    Exhibit D, as in dog. Have you seen this document

   20    before?

   21       A. Are we looking at the first page?

   22       Q.     Yes, sir. For the -- the whole document.

   23    If you've seen part of them but not the other parts,

   24    you can tell me that, as well.

   25       A.     Yes, I've seen it.


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    1      Q.    And if you turn to the last page, it's got

    2   •1our electronic signature on it.

    3      A.    Yes.

    4      Q.    All right. What do you understand this

    5   document to be?

    6      A.    These are depositions and things and

    7   questions I went over with my lawyer.

    8      Q.    Okay. And I don't -- Mr. Naso will tell

    9   ,vou, I don't want you to tell me anything you talked

   10 about your-lawyer:

   11       A.   Right, okay.

   12       Q.    But I won't ask you that and please don't

   13   ~olunteer it to me.

   14            Just for the record, this Exhibit D is

   15   Mr. Blandon's "Answers to Defendant's First Request

   16    or Admissions and Interrogatories."

   17            And Mr. Blandon, if you could, turn to the

   18    hird page, where, at the top, it says "Requests for

   19   Admissions."

   20       A.   Yes.

   21       Q.    Okay. The first question asked about that

   22   your paychecks came from Delta Sanitation of

   23   Mississippi, and you said that you admitted that

   24    hat was correct?

   25       A.   Correct.


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     1         Q.   So is that what was on your pay records,

     2     Delta Sanitation of Mississippi?

     3         A.   As far as the addresses and stuff, yes,

     4     '~es, correct.

     5         Q.   When you started -- did you work for a

     6     ~ompany called Delta Sanitation of Mississippi?

     7         A.   I assume so, since it was on my paycheck.

     8         Q.   All right. Did you work for that company

     9     md at some point Waste Pro bought that company?

  ··· 10            Do you have any understanding about that? -

    11         A.   No.

    12         Q.   Did you always understand that the company

    13     you were working for was Waste Pro?

    14         A.   Right, correct.

    15         Q.   And when you were driving your truck, did

    16      t say "Waste Pro" on the truck or --

    17         A.   Correct. I'm sorry.

    18         Q.   Go ahead.

    19         A.   Yes, it had "Waste Pro" on the side.

    20         Q.   Okay. And then, keep -- keep that

    21     ciocument, but let's also look at Exhibit C, which

    22     are your pay records.

    23         A.   Okay.

    24         Q.    Have you seen documents that look like

    25      his before?


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    1       A.   Yes.

    2       Q.   What is -- what does Exhibit C appear to

    3    De? What does it look like?

    4       A.   It looks like my paystub.

    5       Q.   Okay. And then, if you could, turn to

    6    he -- up at the top, the top right, it says,

    7    'Period beginning," and then it has a date. On the

    8    irst one, it's February 1st, 2015.

    9            Do you see where I'm reading?

   10       ·A. · 2015, yes: ·

   11       Q.    All right. If you could turn to the pay

   12    period beginning April, 12, 2015, just let me know

   13    when you're there .

  . 14      A.    Yeah, 4/11 period ending.

   15       Q.    The next -- the next one after that, does

   16    t appear to be the beginning April 12th.

   17       A.    Okay.

   18       Q.    All right. And then, if you turn to the

   19    second page, it looks like that it shows the time

   20     hat you clocked in and the time you clocked out for

   21    each day.

   22            Do you see that?

   23       A.    Yeah.

   24       Q.    And on Saturday, April 18th, it shows you

   25    clocked in at 6:27 a.m. and clocked out at 9:00 a.m.


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    1            Do you see where I'm reading?

    2       A.   You said 623, 622 ...

    3       Q.   Looking at Saturday, April 18th.

    4       A.   That was the next sheet behind it, right?

    5       Q.   Yes, sir.

    6       A.   Okay. There's writing on here, man,

    7   ~ut...

    8       Q.   Saturday, April 18th.

    9       A.   Okay. I'm just going down the side of it,

   1O Where it says Monday, Tuesday, Wednesday and

   11   stopping at Saturday, and going over.

   12       Q.    Okay. Do you see on April 18th, it shows

   13   hat you clocked in at 6:27 a.m. and you clocked out

   14   at 9:00 a.m.?

   15       A.    Yeah, I assume that's what -- I can barely

   16   see it, but yeah.

   17       Q.    Okay. Is this one of those days you were

   18   alking about earlier, where you would come in on a

   19   Saturday to finish a route that hadn't been

   20   ~inished?

   21       A.    It could be.

   22       Q.    Do you know what else it could be?

   23       A.    Him asking me to come in to pick up stuff

   24   someone else has missed on their route that he ended

   25   µp getting calls for at the end of the day and


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    1   1   vanted someone to come in and pick those up.

    2         Q.    Okay. Would that day -- on the Saturday

    3       hat was -- would you be doing your complete route

    4       hat day or just missed pick-ups?

    5         A.    Mostly missed pick-ups that's scattered

    6   ,around the city and the county.

    7         Q.    Okay. Mr. Blandon, if you could, turn to

    8       he earning statement for the period beginning May

    9       he 10th, 2015, 5/10/2015.

   10          A. - I think ·I have it·

   11          Q.   Okay. And on the right side, kind of

   12       halfway down, it says "Days worked, Week 1" and then

   13       'Days worked, Week 2."

   14               Do you see that?

   15          A.   Yes.

   16          Q.   All right. And for Week 1, it says 8.5

   17   days worked. Is that what you see?

   18          A.   Yes.

   19          Q.   And then, for Week 2, eight?

   20          A.   Right.

   21          Q.   Correct?

   22          A.   Correct.

   23          Q.   And then, total for the pay period, 16.5?

   24          A.   Correct. I see it.

   25          Q.   Okay. Now, if you turn to the second


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    1   )age, where it shows the days that you worked, on

    2   hat -- on the first week, which would have started

    3   )Unday, May 10th, and then ended Saturday May 16th.

    4           Do you see that?

    5     A.    Yes.

    6     Q.    All right. How many days did you work

    7   hat week, according to these records?

    8     A.    From Monday through Friday.

    9     Q.    So five days?

   10     ·A.   Yes.-·

   11      Q.    Okay. If you look back at the first page,

   12   t shows that you were paid for working 8.5 days.

   13           Do you see that?

   14      A.   8.5, right.

   15      Q.    Days that week.

   16           Do you know why you were paid for

   17   eight-and-a-half days that week when you worked for

   18   9ve days?

   19      A.   No. That would be a question you would

   20   have to ask Richard.

   21      Q.    Did you notice down on your -- under

   22   oaystub, where you got paid at this time?

   23      A.   No.

   24           What I look at -- when I look at my pay

   25   period, I looked at how much money I was getting.


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    1   f my check was right, as far as over -- over here

    2   where it says "earnings," that's, basically, what I

    3   looked at.

    4            Or what I -- what you're looking at, about

    5   looking for vacation time or something like that.

    6   3ut really, I looked at that because I was always

    7   here sometimes or on time.

    8      Q.    Okay. If you look on the second page,

    9   where it shows you clock in and clock out, just look

   10   at Monday; May 11, for example.

   11       A.    Okay.

   12       Q.    It shows you clocked in at 6:30 a.m. and

   13    hen clocked out at 11 :00 a.m.

   14            Do you see where I'm reading?

   15       A.    Yes.

   16       Q.    And then, you clocked back

   17    n at 11:30 a.m. and clocked out at 4:19 p.m.; is

   18    hat correct?

   19       A.    On this paper, it is.

   20       Q.    Right.

   21            Do you know why it would show your

   22   clocking out at 11 :00 a.m. and clocking back

   23   mat 11 :30 a.m.?

   24       A.    I have no idea.

   25       Q.    Okay.


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      1        A.    Because you know -- can I elaborate?

      2         Q.    Please.

      3        A.    Like I said, when I leave the yard at the

      4     ime I'm supposed to leave there at 6:30 or

      5     whatever, it's no way possible that I can get back

      6     1o clock out. I'm in the country. I'm two, three

      7     hours away, you know, somewhere, you know, a couple

      8     1t>f miles away. I mean, it ain't like a short run.

      9              So to be able to do that, I mean, he would

· - ,, 10   ~ither had to tell me to come in to lock out or

     11     something like that, and that was rarely. Rarely he

     12     would tell me to do something like that. So I don't

     13     Know why this would be like that.

     14         Q.    (By Mr. Pearce) Okay. Mr. Blandon, if

     15     you could, look back at Exhibit D, the request for

     16     iadmissions and the interrogatory answers.

     17         A.    Yes.

     18         Q.    Look at Page 5 of that document.

     19         A.    Okay.

     20         Q.    The answer to Interrogatory Number 1,

     21     under Part C, it says, "My time sheets from

     22     May 10th, 2015, through for May 23, 2015, clearly

     23     show a 30-minute lunch break was was automatically

     24     deducted each workday, despite the fact that I

     25     worked through lunch each day."


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    1           Do you see that?

    2      A.   Yes.

    3      Q.   All right. And then, I believe it was

    4   eferring to the pay records we were just looking at

    5   or the pay period May 10th through May 23rd, 2015.

    6      A.   Okay.

    7      Q.   But if you look at those records, isn't it

    8   rue, nothing was actually deducted from your pay

    9   or those days. In fact, you were paid double for

  - 1O some of those days; is that correct?

   11      A.    I was -- no, I don't think so.

   12           You said double?

   13      Q.    Well, it shows -- we looked at Week 1.

   14 lA.nd you worked five days that week, correct?

   15      A.   Right.

   16      Q.    And then -- but you were paid for 8.5 days

   17   hat week, correct?

   18      A.   On paper, right.

   19      Q.    Okay. And so going back to the question,

   20   hen, isn't it correct that nothing was taken away

   21   rom you that week, you were actually overpaid that

   22   week, weren't you?

   23      A.   I mean, if it's saying that on paper, but

   24   I don't know. I can't remember particularly that

   25   clay. I mean, that's not -- I mean, it could be true


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    1   rnd it could not be; I don't know.

    2      Q.    Okay. Well, for that pay period, you --

    3    you look back at the first page, your net check

    4   was $1,748. 30.

    5            Do you see that?

    6      A.    What was you saying, now?

    7      Q. The earnings statement for May 10th, 2015.
    8      A.    What we just looked at?

    9      Q. Yes, sir.
   10     . A.    Okay.

   11      Q.     Do you see down at the bottom where it

   12   $hows a copy of your check?

   13      A.    We're on the fifth month, right?

   14      Q. Yes, sir.     ,




   15      A.     Okay.

   16      Q. All right. Do you see down at the bottom,
   17   Where it shows your net check? It says $1,748.30.

   18      A.    Yes.

   19      Q.     And I think you said you would -- when you

   20   ooked at these, you would just, basically, look at

   21    he total amount of the check; is that correct?

   22      A.    Yeah. And over here, "Earnings."

   23      Q.     Okay. Now, isn't that about twice what

   24   you normally would have received for a two-week pay

   25   paid?


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    1       A.    Yes.

    2       Q.    All right. Because if you look at -- look

    3    at the next pay period beginning May 24th, 2015, and

    4     shows a net check of $889.19.

    5             Do you see that?

    6       A.    Right.

    7       Q.    All right. So for that pay period of

    8    May 10th or May 23rd, you received about twice that

    9    ,amount, right?

   ·10       A.    Correct

   11        Q.    Did you notice that when you got your

   12    check, that you received about twice what you

   13 normally received?

   14        A.    I probably did, because it was unusual.

   15        Q.    Okay. Did you tell anyone at Waste Pro,

   16    'I received more than I normally did?"

   17        A.   We didn't have to. We probably was all

   18    discussing it. Everybody probably had something

   19     ike that on their check at that point. I mean ...

   20        Q.    I'm asking you, do you have any specific

   21    recollection of telling someone at Waste Pro, "Hey,

   22    I think I might have got paid more than I should

   23    have gotten paid for this pay period?"

   24        A.    It could have been mentioned between the

   25    cJrivers. You know, we all talked, so it could have


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    1    ~een. Or I might have even asked Richard why it was

    2    like that or whatever, and he could have mentioned

    3    'You got a bonus" or something of that nature or

    4    1,vhatever. But it probably did come up.

    5       Q.    Okay. Well, sir, I'm not -- I'm not

    6    ~sking you if it might have come up or it could have

    7    ~ome up.

    8             Do you have a specific recollection of

    9    aising that issue with anyone at Waste Pro?

   1ff       A.    No. - If you want me to be specific, no. I·· · ··

   11    can't remember back that far. I'm just saying as

   12     ar as how you -- how I'm looking at it right now,

   13     hat was unusual, so I could have brung it up to

   14    Richard that why is -my check this way or whatever,

   15 ~nd that's what I'm trying to say, to mention to
   16    you.

   17        Q.    Okay. But if you look at the time record

   18    where it shows the dates you clocked in and then

   19 clocked out for those two weeks, how many days did

   20    you work in those two weeks?

   21        A.    What are we looking at now?

   22        Q.    The page where it shows your clock-in time

   23    and your clock-out time.

   24             How many days did you work in those two

   25    weeks?


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    1      A.     We're still on the fifth month?

    2      Q.     Yes, sir.

    3      A.     What timeframe am I looking at? What

    4   date?

    5      Q.     The May 10th, 2015, through

    6   v1ay 23rd, 2015.

    7      A.   Okay. May 10th. It looks like -- are you

    8   alking about for the whole -- the whole two weeks?

    9      Q.     Yes, sir. How many days did you work?

   10     · A. . IUooks like 18.

   11      Q.     Where are you seeing 18?

   12      A.     I'm looking at -- I'm counting just all

   13   he dates and times. Is that correct?

   14      Q.     Well, just look at the first week.

   15   hink you said earlier you worked Monday through

   16   Friday?

   17      A.     Right.

   18      Q.     And then, the second week, how many days

   19   ~id you work?

   20      A.     I see eight with the two at the bottom,

   21   f I'm stopping at the right -- that's Wednesday,

   22   Thursday, Friday.

   23      Q.     Okay. Well, let's look at it.

   24           Did you work on the Sunday, May the 17th?

   25      A.     No.


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    1       Q.   Okay. Did you work Monday, May the 18th?

    2       A.   Yes.

    3       Q.   And Tuesday, May the 19th?

    4       A.   Yes.

    5       Q.   Wednesday, May the 20th?

    6       A.   Yes.

    7       Q.   Thursday, May the 21st?

    8       A.   They've got a vacation.

    9       Q.   Okay. It looks like you -- okay. So

   ·10   Thursday was a vacation day? ·

   11       A.   Yes.

   12       Q.    All right. And then, did you work Friday.

   13    he 22nd?

   14       A.   Yes.

   15       Q.    So that's four days that week, if I

   16    counted correctly; is that right?

   17       A.   Right.

   18       Q.    So a total of nine days for those two

   19    weeks; is that correct?

   20       A.   Right. A vacation day, yes.

   21       Q.    Plus vacation day.

   22            And then, if you look back at the first

   23    page, it shows you were paid for 16?

   24       A.   Right.

   25       Q.    So if you worked nine days and you were


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    1   l:>aid for 16-and-a-half days, do you agree with me

    2    hat you were overpaid for those two weeks?

    3           A.   If they calculated it that way, I assume

    4   !t>O.


    5           Q.   Do you have any reason to believe this

    6   ~heck was not accurate as to what you were actually

    7   t>aid?

    8           A.   No, no. I'm saying as far as how they

    9   ,~alculated it, I'm sure -- if that's what they came

   1O· up with, then that's-what they paid . rrie.

   11           Q.   Okay. But you were paid for 16-and-a-half

   12   clays work, correct?

   13           A.   Right. Plus the vacation day was May

   14    he 17th, right?

   15           Q.   So 17-and-a-half. And you worked -- you

   16   actually worked nine days plus one vacation day,

   17   correct?

   18           A.   Uh-huh (affirmative response). That's two

   19   weeks, yeah.

   20           Q.   Mr. Blandon, if you could, go back to

   21   Exhibit D, again.

   22           A.   Uh-huh (affirmative response).

   23           Q.   Look at Page 4, Request Number 9.

   24           A.   Uh-huh (affirmative response).

   25           Q.   It says that many people worked off the


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    1   dock during employment, that forms the basis for

    2   •1  our claims in this action, and your response was

    3   'Deny."

    4               So were you saying there that you did work

    5   off the clock while you were at Waste Pro?

    6         A.    Uh-huh (affirmative response). Not that I

    7   1   ecall, no. No. I mean, like I said, we worked

    8   •~traight through our routes.

    9         Q.    If you go to Page 7, it's Interrogatory

  ' 10 · Number 6. Look at Number 4. This ·is talking about ·

   11       he lunch deductions, 30-minute deductions for

   12       unch.

   13          A.    Page 7?

   14          Q.    Yes, sir.

   15          A.    Okay.

   16          Q.    Interrogatory Number 6.

   17          A.    Okay. Yeah. Okay.

   18          Q.    And we looked at those time records where

   19       t showed you were being -- you were clocked

   20   out at 11 :00 a.m. and back in at 11 :30 a.m.

   21          A.    Okay.

   22          Q.    Is it your position that that happened

   23   ~very day that you worked at Waste Pro, that there

   24   was 30 minutes taken out of your pay for lunch?

   25          A.    Do I recall that happening?


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    1      Q.    Yes, sir.

    2      A.    No, I don't.

    3      Q.    Okay. So to your knowledge, was -- was

    4   ,any time taken out of your pay for lunch,

    5   ,a 30-minute deduction every day?

    6      A.    To my knowledge, no, I don't recall it

    7   Jeing taken out.

    8      Q.    Mr. Blandon, if you could, go back to the

    9   .~anuary records and turn to January 3rd, 2016, in

   10    he Exhibit D. ·

   11       A.   In D, Okay:

   12       Q.     Yes, sir.

   13       A.   Okay.

   14       Q.     I'm sorry. It's Exhibit C, is the pay

   15   records.

   16       A.   Oh, okay. And go_to what, now?

   17       Q.     January 3rd, 2016, the period beginning.

   18       A.   Okay. Mine start February. Mine start in

   19   February.

   20       Q.     It's January 3rd, 2016.

   21       A.   Oh, okay. I'm sorry.

   22       Q.     The next year.

   23       A.   Okay. I think I have it.

   24       Q.     Okay. If you look to the left side, where

   25    t says your earnings. It says regular, overtime,


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    1   )onus. Do you see that?

    2      A.      Right.

    3      Q.      It shows that you got a bonus of $250.

    4              Do you see that?

    5      A.      Correct.

    6      Q.      Do you know what that bonus would have

    7   )een for?

    8      A.      Naw, not really. Probably the safety

    9   )onus or the clothing bonus or something like that,

   10   I think.

   11       Q.      Okay. And if you go to the next page, on

   12   he bottom half of the page, there's a -- it's a

   13   able where it says "Approvals" and "Sign-Offs."

   14              Do you see that?

   15       A.      Yes.

   16       Q.      All right. And the first line says,

   17   'Timecard approval by employee."

   18       A.      Okay.

   19       Q.      Over on the right, it shows an edit date

   20   bf January 15, 2016, and the time and then your name

   21   under "User."

   22              Do you see that?

   23       A.      Right.

   24       Q.      Do you recall approving your time records

   25   while you were at Waste Pro?


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    1      A.    Approving my time records? Not really,

    2   ~ut I might have if Richard -- there was a time

    3   hose time things was out and he wanted us to come

    4   in to put initials by it or something like that.

    5      Q.    Okay. Did you keep your own time records?

    6            Did you keep like a notebook or anything

    7   like that?

    8      A.    No.

    9      Q.    Sir, if you could, turn to the earning

  :. 10 · · statement beginning March 27, 2016; 3/37/2016.

   11       A.    Okay. I think I have it.

   12       Q.    Okay. And then on the second page for

   13   Friday, April the 1st, it shows you clocked in

   14   at 6:26 a.m. and then clocked out at 7:54 a.m.

   15            Do you see where I'm reading?

   16       A.    You said that was April 1st?

   17       Q.    Yes, sir.

   18       A.    Okay.

   19            Now, what are we looking again, now?

   20            Okay. Yeah, a dot right there or

   21   something.

   22       Q.    Yes.

   23       A.    Yeah, yeah. Okay.

   24       Q.    And it looks like you took sick time that

   25   k:lay. It says 8.0 as sick.


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    1               Do you see that?

    2       A.      Yes.

    3       Q.      Do you know on that date -- because you

    4    docked out early in the morning, 7:54 a.m., if

    5    hat's a day you went home sick?

    6       A.      Yes.

    7       Q.      All right. Mr. Blandon, if you could,

    8    urn to the earning statement beginning

    9    ,July 31st, 2016, 7/31/2016.

   10-       A.      July 16th you said?

   11        Q.      July 31st, 2016.

   12        A.      Okay. That would be -- okay.

   13        Q.      All right. It shows you got a bonus that

   14    pay period at $25. Do you see that?

   15        A.      No.

   16        Q.      Well, on the left side where it says

   17    "Earnings."

   18        A.     Yeah, I'm looking at it. And we're

   19     ooking at 7/30, right, '16.

   20        Q.      No. The next one, 7/31/2016.

   21        A.     The period ending -- I mean beginning,

   22    '"ather.

   23        Q.      Yes, sir.

   24        A.      Okay.

   25        Q.      On the left, it shows earnings --


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    1      A.    Yeah.

    2      Q.     It shows $25?

    3      A.    I think -- yeah, I see it.

    4      Q.     Do you know what that bonus would have

    5   Deen for?

    6      A.    No.

    7      Q.    All right, sir. You can put that exhibit

    8   ~side.

    9            (Exhibit B marked for identification.)

   10     · Q. · (By Mr. Pearce) If you can, look at

   11   Exhibit B.

   12      A.     B?

   13      Q.     Yes, Bas in "boy."

   14            Just tell me, first, if you've seen this

   15   document before.

   16      A.     Yes, I think so, yeah.

   17      Q.     What does it appear to be?

   18      A.     Collective action. I guess this is the --

   19   t says collective action for suit, a court

   20   document.

   21      Q.     Okay. And if you could, turn to the

   22   second page of it.

   23      A.     Uh-huh (affirmative response).

   24      Q.     Paragraph 3, where it says "Additionally,

   25   plaintiff and others who are similarly situated were


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    1   , jeprived of wages for hours actually worked by

    2   1   jefendant's policy to encourage or require them to

    3   )erform pre-shift and post shift-duties while not

    4   docked in."

    5                 When you worked for Waste Pro in

    6       ~rookhaven, was there any policy requiring drivers

    7       o do their pre-shift and post-shift duties either

    8   )efore or after they clocked in?

    9                 MR. PIERCE: Objection to the form.

   10       ,-. · - -·THE WITNESS: Can you repe·a t your ·

   11   question.

   12            Q.    (By Mr. Pearce) Yeah, sure.

   13                 And that's something I should have told

   14   you earlier. If I ask something that's not clear,

   15       ust tell me and I'll clarify it.

   16            A.    Okay.

   17            Q.    Paragraph 3 talks about defendant's policy

   18       o encourage and require drivers to perform

   19       :)re-shift and post-shift duties while not clocked

   20       n.

   21                 Do you see that?

   22            A.    Right.

   23            Q.    When you worked for Waste Pro in

   24   Brookhaven, were you aware of any policy requiring

   25   drivers to do their pre-shift and post-shift duties


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     1 While unclocked --

     2              THE WITNESS: No.

     3              MR. NASO: Objection to the form.

     4              MR. PIERCE: What's the objection?

     5              MR. NASO: Legal conclusion . You're

     6     asking questions that he (unintelligible).

     7        Q.    (By Mr. Pearce) Okay. Mr. Blandon, just

     8     o be clear, I'm asking you: Were you aware, when

     9     1ou worked at Waste Pro, of any policy requiring

   -•1 0   drivers to do ·any of these duties off the clock?

   11         A.     No.

   12         -a.     Mr. Blandon, if you look at Paragraph 11,

   13      t's on Page 3.

   14         A.     Okay.

   15         Q.     And it states, I'm summarizing, but that

   16      you're bringing this action on behalf of drivers who

   17      worked in any state, except for Florida; is that

   18      correct?

   19               MR. NASO: Objection to form.

   20               But Dodd, you can answer.

   21               THE WITNESS: Correct.

   22         Q.      (By Mr. Pearce) It states -- are you

   23      seeking to represent where drivers worked?

   24               MR. NASO: Object to the form.

   25               But Dodd, you can answer.


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     1              THE WITNESS: I'm just -- well, as far as

     2      he way you're asking the questions, I didn't think

     3      i was going no further than Brookhaven, until I was

     4      old by, I guess, my lawyers that it was more than

     5      ~ne.

     6         Q.   (By Mr. Pearce) Do you know --

     7              MR. NASO: Dodd, I'm going to stop you.

     8      )on't answer anything about our discussions.

     9              THE WITNESS: Okay.

  · ·t O·      Q.    (By Mr. Pearce) Do you know what states,·

    11      pther than Mississippi, whether it's plaintiffs who

    12      worked -- I mean, strike that. That was a bad

    13      ~uestion.

    14              You understand you're seeking to represent

    15      oeople who worked in Brookhaven?

    16         A.    Yes, correct.

    17         Q.    Do you know from which states other

    18      ~rivers -- in which states other drivers worked that

    19      are a part of that lawsuit?

   20          A.    No.

   21          Q.    Do you have any knowledge about how

   22       kirivers were paid in the State of Georgia?

   23          A.    No.

   24          Q.    How about the State of Alabama?

    25         A.    No.


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    1        Q.   Mississippi?

    2        A.   No, not but while I was working there.

    3        Q.   Okay. So you don't know -- does -- do you

    4    -.now if Waste Pro has facilities outside of

    5    3rookhaven in the State of Mississippi?

    6        A.   Out of the State of Mississippi? Out of

    7    he State of Mississippi, you're asking?

    8        Q.   In the State of Mississippi, are there any

    9    acilities, other than the Brookhaven --

   '10   I
             A. Yes, it's-a couple of them, if I'm not             .   ·- .



   11    mistaken. I think it's in Jackson and Natchez.

   12        Q.   Are you familiar with how drivers were

   13 oaid in Natchez?
   14        A.   No.

   15        Q.   Or in Jackson?

   16        A.   No.

   17        Q.   How about the State of Tennessee?

   18        A.   No.

   19        Q.   Arkansas?

   20        A.   No.

   21        Q.    Louisiana?

   22        A.   No.

   23        Q.    Florida?

   24        A.   No.

   25             (Exhibit F marked for identification.)


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    1      Q.    (By Mr. Pearce) Mr. Blandon, if you

    2   1~ould, turn to Exhibit F, as in Frank.

    3      A.    What page did you say, sir?

    4      Q.    It's the last page. At the top, it says

    5   'Page2of2."

    6      A.    Okay.

    7      Q.    All right. And under E, where it says

    8   'The total amount claimed" -- do you see that?

    9      A.    Yes.

   10       Q. · And it says, "If I'm owed

   11    ime-and-one-half overtime compensation,

   12   I'm owed $18,154.20," correct?

   13       A.   Yeah, I see it.

   14       Q.   And then, "If I'm owed an additional

   15   half-time overtime compensation, then I'm

   16   owed, $1,545.51."

   17            Do you see that?

   18       A.   Yeah, I see it.

   19       Q.   Do you know if those calculations factor

   20    n the days where you were overpaid for those two

   21   weeks that we looked at earlier?

   22       A.   I don't know.

   23            (Exhibit G marked for identification.)

   24       Q.    (By Mr. Pearce) Sir, if you could, turn

   25    o Exhibit G.


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    1       A.    Okay.

    2       Q.    Paragraph 11 says, "While I was required

    3   o assist other drivers to complete their routes, I

    4   was supposed to receive helper pay from defendant at

    5   ,a flat rate of $50."
    6             Do you see that?

    7       A.    Yes.

    8       Q.    But as I understood your testimony

    9   earlier, you did not ever help other drivers on

   ·10 · heir routes because you were too busy with yours;
   11    s that correct?

   12       A.     Correct.

   13       Q.     So are you claiming in this case that

   14   Waste Pro owes your helper fee or bump fee like you

   15   referred to them earlier?

   16       A.     No. I said earlier, when someone else

   17 needed help with their route, you can -- they'll
   18 call you and ask if you're done with yours, can you
   19   you go and assist, and you would get that bump fee

   20   bf $50.

   21       Q.     Right.

   22             But I also understand your testimony to be

   23    hat you never helped other drivers on their routes

   24   because you were too busy with yours?

   25       A.     Correct.


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    1      Q.    All right. So are you -- in this lawsuit,

    2   are you claiming that Waste Pro owes you any bump

    3   ees?

    4      A.    Oh, no, no.

    5      Q.    Okay. And Paragraph 16 says,

    6   'Additionally, I was regularly required to perform

    7   off-the-work -- off-the-clock work for defendants."

    8            Do you see that?

    9      A.    Yeah, see it.

   1O       Q. · But my understanding from your testimony

   11    oday is you did not work off-the-clock for Waste

   12   Pro, correct?

   13       A.    No, I didn't.

   14       Q.    Have you seen this document before,

   15   Exhibit G?

   16       A.    Yes. It has my name on it. Yeah.

   17       Q.    It has your signature on the last page?

   18       A.    The last page, let me see.

   19            Yes.

   20       Q.    Did you read this document before you put

   21   your electronic signature on it?

   22       A.    I glanced at it, yeah.

   23       Q.    I'm sorry?

   24       A.    I skimmed through it. I didn't read the

   25   complete paper, no.


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    1         Q.     There are a couple of things we just

    2   alked about that don't appear correct, based on

    3   what you testified to today.

    4         A.     Okay.

    5         Q.      Is that accurate?

    6         A.     What was -- what would that be?

    7                What are you asking me?

    8         Q.     Well, Paragraph 16 says you were regularly

    9   equired to perform work off the clock --

              . A~    Correct. · , ·· ·

               Q.     -- and you said now that that didn't

   12   nappen.

   13          A.     Correct.

   14          Q.     And then, Paragraph 11 and 12 talks about

   15   you not receiving helper pay or the bump fees, but

   16   you said that you're not owed that money because you

   17   k:lidn't help other drivers, correct?

   18          A.     That's the way it's set up, right.

   19          Q.     Okay. Can you take a minute to read

   20    hrough this declaration now -- and we can go off

   21    he record for a minute -- and tell me if there's

   22   ~nything else that you don't think sounds correct in

   23   It.

   24                Let's just go off the record, take a

   25   ~ouple of minutes, and we'll come back on.


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    1                (Off the record at 11 :48 a.m.)

    2                (On the record at 11 :54 a.m.)

    3          Q.     (By Mr. Pearce) Mr. Blandon, did you

    4   ;peak with your attorneys during the break?

    5         A.     No.

    6          Q.     Have you had time to go through the

    7   1   leclaration, which is Exhibit G?

    8         A.     Yeah. From what I can see of it. I can

    9   )arely see some of it, but yeah, I went over it.

   ·10 · · · Q. "ls there anything else in that declaration ' -

   11       hat you believe to be incorrect?

   12          A.     Well, I saw where we was just talking

   13   about the bump fee and things down there. I

   14   never worked -- I never helped anyone on that. And

   15   reading this, i can recall -- and that was if I was

   16       going to help someone, when Richard would put two

   17       guys on my truck to help me finish the route up and

   18       hen to go assist someone else like that.

   19                Other than that, I don't recall them

   20       aking the 30 minutes out of my -- for my lunch.

   21          Q.     I'm sorry. You say you do recall that or

   22       you --

   23          A.     I don't.

   24          Q.     You don't recall that.

   25                Okay. Anything else?


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    1                A.   Not -- he didn't ever mention that.

    2                     No. That's -- when I mentioned that

    3      helping, the two guys on my truck, if he put two

    4          1uys on my truck to finish my route up and to

    5      ,assist, at that point in time we didn't have that --

    6          he bump fee wasn't thought of then.

    7                Q.   Okay. So you don't -- you don't think you

    8      •,vere supposed to get a bump fee because they weren't

    9      1   ioing that at that time?

   ·10 ·            , A. -- Correct, ·that's what I'm saying. That    .   -   ;...   .,,.~ .




   11      clidn't happen until we got another supervisor.
           1
   12                Q.    Right. Okay.

   13                A.   That that was -- that we was aware of that

   14 !Something like that exist. But when Richard was

   15 k:loing it, it never existed. You know, we never did

   16          t.

   17                Q.    And then, when they started paying the

   18          bump fees, you don't recall ever helping another

   19      clriver on their routes so you would get that fee?

   20                A.   Not often. The majority of the time, it

   21      was them helping me more than likely, if they did at

   22      lall. But you know .. .

   23                     MR. PEARCE: Sir, that's all the questions

   24          I have. I appreciate your time today.

   25                     THE WITNESS: Oh, okay.


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    1          Mr. Ryan?

    2          MR. NASO: I have no questions.

    3          Dodd, this is going to get all typed up.

    4   Vou can either read or waive. And what that means

    5   i$ that when it gets typed up, if you want to come

    6   Dack in, you can read and make a note of whether or

    7   not the transcript is correct.

    8          Now, let's say it has Road 2017 but you

    9   nean 2018, you can make a note of that. But if it's

   1o-- a significant-note, we can all come'hack; however;

   11   most people waive.

   12          THE WITNESS: Okay. I need to say that

   13   now?

   14           MR. NASO: Yes.

   15          THE WITNESS: I'll waive it.

   16           MR. NASO: Okay. We'll waive.

   17          COURT REPORTER: Mr. Naso, do you want to

   18   purchase a copy?

   19           MR. NASO: Yes, I do.

   20           (Off the record.)

   21             (Time Noted: 11 :58 a.m.)

   22                 SIGNATURE/WAIVED

   23   ORIGINAL: MATTHEW PEARCE, ESQ.

   24   COPY: PAUL NASO, ESQ.

   25


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    1           CERTIFICATE OF COURT REPORTER

    2          I, Shanna Cumberland, Court Reporter and

    3     otary Public, in and for the State of Mississippi,

    4    ereby certify that the foregoing contains a true

    5    nd correct transcript of the testimony of DODD

    6    LANDON, as taken by me in the aforementioned matter

    7    t the time and place heretofore stated, as taken by

    8    tenotype and later reduced to typewritten form

    9    nder my supervision by means of computer-aided

  -· 1o· ranscription. ·                         ~.-· .   .;,   '· ·



   11           I further certify that under the authority

   12     ested in me by the State of Mississippi that the

   13     itness was placed under oath by me to truthfully

   14     nswer all questions in the matter.

   15           I further certify that, to the best of my

   16    nowledge, I am not in the employ of or related to

   17     ny party in this matter and have no interest,

   18     onetary or otherwise, in the final outcome of this



   20           Witness my signature and seal this the

   21     5th day of August, 2021.

   22

   23                      SHANNA CUMBERLAND, CCR #1774

   24     y Commission Expires:
         pril 25, 2022
   25


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                                    UNITED STATES DISTRICT COURT
                                     MIDDLE DISTRICT OF FLORIDA
                                         ORLANDO DIVISION


       DODD BLANDON, lndivi_dually and on behalf                 CASE NO. _ _ _ _ __
       of all others similarly situated,

                             Plaintiff,
                                                                 COLLECTIVE ACTION
                       v.
                                                                 PURSUANT TO 29 U.S.C. § 216(b)
       WASTE PRO USA, INC.,
                                                                 JURY TRIAL DEMANDED
                             Defendant.


                            ORIGINAL COLLECTIVE ACTION COMPLAINT

               Plaintiff-Dodd Blan<;lon, individually and on behalf of all other similarly situated

       individuals (collectively, "Plaintiffs")-by anci through undersigned counsel, sues the Defendant

       Waste Pro USA, Inc. ("Waste Pro USA") on a collective basis purs_uant to the Fair Labor Standards

       Act ("FLSA"), 29 U.S.C. §§ 201-219.

                                               INTRODUCTION

               1.     The FLSA is designed to eliminate "labor conditions detrimental to the maintenance

       of. the minimum standard of living necessary for health, efficiency and general well-being of

       workers." 29 U.S.C. § 202(a). To achieve its purposes, the FLSA requires three things. First, the

       FLSA requires payment of minimum wages. 29 U.S.C. § 206(a). Second, the FLSA requires overtime

       pay for covered employers whose employees work in excess of 40 hours per workweek. 29 U.S.C.

       207(a). And third, the FLSA establishes minimum recordkeeping requirements for covered

       employers. 29 U.S.C. § 211(a); ;29 U.S.C § 516.2(a)(7).

               2.      Plaintiff and other current and former similarly situated employees are Waste
                                      .                                    .
       D isposal Drivers for the Defendant who were paid on a purported job/ day rate for work

       performed. Due to Defendant's company-wide policies and procedures, Plaintiffs were deprived of
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         wages for hours actually worked. Specifically, Defendant did not pay a true day rate for any and all

         hours worked in a given day, but placed limitations on the number-of hours worked before the "day

         rate" was paid. Further, Defendant also coupled the day rate with "other forms of compensation."

         Therefore, Defendant violated the FLSA in both the calculation of the prevailing hour rate and only

         paying Plaintiffs "half-time" for all hours worked over forty (40) in a given workweek.

                 3.      Additionally, Plaintiff, and others who were similarly situated, were deprived of

         wages for hours actually worked by the Defendant's policy to encourage and require them to

         perform pre-shift and post-shift duties while not clocked in. Defen?ant also automatically deducted

   -•'·· - thirty (30) minutes for lunch. breaks that Defendant knew _Plaintiff, and .others .similarly situated, .

         regularly worked through.

                 4.      Three other Waste · Disposal Drivers originally filed a Class / Collective Action

         Complaint in the District of South Carolina to vindicate their Fl.SA rights against Defendant and

         other Waste Pro entities on October 2, 2017 and later amended on October 31, 2017 and Decembe.c

         5, 2017. Antho,!Y Wright, Daniel Hansm, and Kmneth Pn'vette v. l!Vaste Pro USA, Inc., !IVasle Pro ofFlorida,

         I11c., Waste Pro ofS011/h Carolina, Inc., and Waste Pro ofNorth Carolina, I11c., Case No. 2:17-cv-2654-DCN

         (United States Qistrict Court, ·District of South Carolina, D.E. l, 5 .and 3q-2) (the "South.-Carolina

         Action").

                 5.      Plaintiff Blandon originally filed his consent to join the South Carolina Action on

         February 2, 2018.

                 6.      Numerous otl~er drivers from multiple states also filed consents to join the South

         Carolina Action over the last two years.

                 7.      At the time these drivers from multiple states filed their consents          1n   the South

         Carolina Action, Defendant here was a party-defendant in the South Carolina Action.




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               8.       Pursuant to the FLSA, Plaintiff and those drivers who filed consents in the South

        Carolina Action at that time commenced their FLSA action against Defendant the day their consent

       was filed in the South Carolina_Action. See 29 U.S.C. § 256.

               9.       As a result, the FLSA claims of Plaintiff and those : opt-in plaintiffs who originally

        joined the South Carolina Action against Defendant were tolled when they joined the South Carolina

       action per the FLSA.

               10.      On July 25, 2019, after significant motion practice between the parties in the South

       Carolina Action, the District of South Carolina dismissed Waste Pro USA and Waste Pro of Florida,

       Inc:, as well as the .driv.e~, plaintiffs. who _worked outside of South Carolina and North Carolina, for

       lack of personal jurisdiction. Blandon and those opt-in plaintiffs who originally joined the South

       Carolina Action against Dt:fendant now file and join this subsequent, continuing action to pursue

       their FLSA rights against Waste Pro USA.

               11.      Plaintiff, D odd Blandon, now brings this action individually and on behalf of all

       other similarly situated current and former non-exempt Waste Disposal Drivers who were paid a day .

       rate and who have been employed by Waste Pro USA ("Plaintiffs" or "Putative Class Members") in

       any state except fo! Florida1, at any ti.me from December_6, 2016 (o~ from _three .years before a .

       Putative Class Member filed a consent to join in the South Carolina Action) through the final

       disposition of this matter, and have ti.mdy filed consent forms to join this collective action or the

       South Carolina Action. These class members should be informed of the pendency of this action and

       apprised of their rights.




               1
                  Anthony Wright, who was a plaintiff in the original South Carolina Action, has filed a subsequent,
       continuing action against Waste Pro USA and Waste Pro Florida, Inc., in the Southern District of Florida on
       behalf of Florida drivers. Wright v. Wa.rte Pro USA, Inc., a11d Waste Pro of Florida, Inc., Case No. 2019-cv-62051-
       KI:vllvI (United States District CoUit, Southern District of Florida). Thus, Plaintiff has excluded Florida drivers
       from this collective action and intends to only include drivers outside the states of Florida, South Carolina
       and North Carolina against Defendant.


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                                                   THE PARTIES

                   12.   Plaintiff Blandon is an individual residing in Brookhaven, lVIississippi and worked at

        Waste Pro USA's facility in Brookhaven, Mississippi within the relevant three-year period. Plaintiff

        Blandon's written consent to be a plaintiff in this action to continue his case against Waste Pro USA,

        as well as his previous consent to join the original South Carolina Action, are attached hereto as

        Exhibit "A."

               13.       The Putative Class Members include all of Waste Pro USA's non-exempt Waste

        Disposal Drivers throughout the country (except Florida, South Carolina, and North Carolina) who

      .. performed _the same or .sitnilanvork as Plaintiff Blandon, and were su~.jected    t9, _
                                                                                               the   same or similai:

       payment policies as Plaintiff.

               14.       Defendant Waste Pro USA, Inc. (''\Vaste Pro USA") is a Fl_ocida C9rporation.

       Defendant Waste Pro USA is a covered employer under the FLSA and acted as such in relation to

       Plaintiff and the Putative Class Members.

                                          JURISDICTION AND VENUE

               15.       This Court has subject matter jurisdiction over the FLSA claim pursuant to 28 U.S.C.

      . § 1331 as this .isan action aris;ng under 29 U.S.C. §§ 201-219..                  ..

               16.       This Court has general and specific personal jurisdiction over Waste Pro because the

       cause of action arose within this District as a result of\Vaste Pro USA's conduct within this District;

       because Florida qualifies as Waste Pro USA's home state for purposes of general personal

       jurisdiction; and because Waste Pro USA is headquartered in Florida and organized under Florida

       law.

               17.       Venue is proper in this District because Waste Pro USA is headquartered within this

       District.

               18.       Venue is proper in this District pursuant to 28 U.S.C. § 1391.



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                                                    FLSA COVERAGE

                19.     Defendant Waste Pro USA is the parent corporation of several Waste Pro

        subsidiaries, and together they constitute and operate one of the largest, privately held, waste

        disposal companies in the Southeastern United States.

                20.     At all material times, Defendant has been an employer within the meaning of section

       203(d) of the FLSA, which is defined to include any person acting directly or indirectly in the

       interest of an employer in relation to an employee. 29 U.S.C. § 203(d).

               21.      At all material times, Defendant has been an enterprise in commerce or          in   the

      -· -p.roduction of goods -for -.cornmerce within the meaning of.section· 203(s)(l) -of the. F~SA .because _

       Defendant has had and continues to have employees engaged in commerce. 29 U.S.C. § 203(s)(l).

               22.      "To be 'employed' includes when an employer 'suffer[s] or perrnit[s] [the employee]

       to work."' See Freeman v. Kry Lcu;go Vo/u11teer Fire & Rescue Dept., Inc., 494 Fed. Appx. 940, 942 (11th

       Cir. 2012), ci!.rt. denied, 134 S.Ct. 62 (U.S. 2013).

               23.      Plaintiff and the proposed class members were employed by Defendant.

               24.      At all material times, Plaintiffs are (or were) employees who engaged in commerce or

       in thf! .production of goods for commerce as required by sectiOflS 206 .and 207 of the FLSA. 29

       U.S.C. §§ 206-07.

               25.      At all material times, Defendant has had, and continues to have, an annual gross

       business volume in excess of the statutory standard of $500,000.00.

               26.      During Plaintiffs' employment, Defendant employed at least two employees who

       handled goods, materials and supplies which travelled in interstate commerce to reach Plaintiffs for

       their use in Plaintiffs' employment with Defendant, such as the waste disposal trucks and other

       items used to run the business.




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                 27.     Therefore, at all material times relevant to this action, Defendant is an enterprise

        covered by the FI.SA, and as defined by 29 U.S.C. §§ 203(r) and 2O3(s).

                                                        WAGE VIOLATIONS

                 28.      Waste Pro USA violated and continues to violate the FLSA by failing to pay Plaintiff

        and the Putative Class Members time and one-half for each hour worked in excess of 40 hours per

        workweek.

                 29.      Further, Waste Pro USA has improperly calculated Plaintiff and the Putative Class

        Members' regular rate resulting in further miscalculation of Plaintiff and the Putative Class

        fy!emhers'. over_time .pay. -~pecific;illy, Plaintiff and .the p_µtative .P~ss._Mei:nhei:s spot,tlq. !,,:rye received

        overtime compensation at a rate not less than one and one-half times their true regular rate.

                 30.     Plaintiff and the Putative Class Members were (a!ld continue to be) paid under a

        purported day rate plan-that is, they were supposed to be paid for each day worked regardless of

        the. number of hours worked each day. See 29 C.F.R. § 778.112.

                31.       Waste Pro USA violated the day rate regulation in a number of different ways.

        Specifically, Plaintiff and the Putative Class Members were compensated by Waste Pro USA with a

      . _pu_rported day_rate   l).S . well   as other forms of <;ompensa~on_._'f!iese other _forrps of _compensati~n :tre

        not in compliance with the day rate provision of 29 C.F.R. § 778.112 and ultimately result in a

        miscalculation of Plaintiff and the Putative Class Members' regular rate and resulting overtime

        compensation. These other forms of compensation (helper pay and safety bonuses) may vary by

        name and amount, but nevertheless have the same overall effect of invalidating Waste Pro USA's

        attempt to categorize and compensate Plaintiff and the Putative Class Members under the day rate

        provision permitted by 29 C.F.R. § 778.112.

                 32.      Additionally, Plaintiff and the Putative Class Members did not receive their full day

        rate if they did not work a full day. This is a blatant violation of the day rate provision of 29 C.F.R. §



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       778.112. Indeed, a day rate plan can only be valid if an employee is paid a flat sum for a day's work

        without regard to the number of hours worked in the day. 29 C.F.R. § 778.112 (emphasis

       added). Because Plaintiff and the Putative Class Members are not paid a flat sum for a day's work

       without regard to the number of hours worked in the day, they are not paid under a true "day rate"

       plan and Waste Pro USA cannot avail itself of such a pay system.

                     33.    Waste Pro USA also violated and continues to violate the FLSA by permitting and

       encouraging Plaintiff and the Putative Class Members to perform pre-trip and post-trip work duties

       off the clock-that is, work without pay.

         s --, . .   34,, ... And -lastly, .Wasre Pro USA violated and continue.s to '{iolate ~e fLS.A by deducting

       30-minute meal periods from Plaintiff and the Putative Class Memb_ers' daily hours worked, despite

       knowing that Plaintiff and the Putative Class Members routinely worked throughout their designated

       30-minute meal periods.

                     35.    At all times relevant to this action, Defendant failed to comply with the FL.SA

       because Plaintiff and the Putative Class Members performed services for Defendant for which no

       provisions were made by Defendant to properly pay Plaintiff, and those similarly situated, for all

       hours worked or at the coi:.rect prevailing rate. .

                                        COLLECTIVE ACTION ALLEGATIONS

                     36.    Plaintiff brings this action as a collective action on behalf of a class of individuals

       similarly situated. Specifically, Plaintiff brings these claims under the Fair Labor Standards Act as a

       collective action and will request the Court to grant conditional certification under 29 U.S.C. §

       216(6), and to order notices to potential opt-in individuals who are or were employed by Defendant

       as Waste Disposal Drivers within three (3) years prior to the commencement of this lawsuit in any

       state except for Florida, North Carolina or South Carolina (the "FLSA Class").




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               37.     Potential opt-in members of the collective action are similarly situated to Plaintiff.

       They all held the same job positions and had substantially similar job requirements and pay

       provisions. They are or were subject to the same common practices, policies, and plans of

       Defendant. They all suffered damages in the nature of lost overtime and other wages resulting from

       Defendant's wrongful conduct

                                           STATEMENT OF FACTS

       A.      Waste Pro USA Jointly Employs Their Drivers With Local Entities

               38.     Waste Pro USA provides waste disposal and recycling services to residential and

       commercial .clients throughout the South Eastern United.States. See..www.wasteprou~a.com.

               39.     Waste disposal drivers, such as Plaintiff and Opt-in Plaintiffs, perform this actual

       service to customers and are integral to Waste Pro USA's business and operation.

               40.     Upon information and belief, Defendant operates the \Vaste Pro business out of its

       common headquarters in Longwood, Florida.

               41.     Defendant Waste Pro USA purports to be a mere holding company for other \Vaste

       Pro entities.

               42.     Upon information and belief,.Defendant utilizes different name.cl entities in different

       states to operate their Waste Pro locations and services.

               43.     However, these entities are operated out of Waste Pro's headquarters in Longwood,

       Florida and have common officers. See Composite Exhibit "B" attached hereto of various corporate

       filings for Waste Pro entities.

               44.     Indeed, on the Waste Pro USA website which advertises and acknowledges Waste

       Pro's collective services across all of its entities, Waste Pro currently operates from more than 75

       locations in Alabama, Arkansas, Florida, Georgia, Louisiana, Missisl?ippi, Tennessee, and North and

       South Carolina. See ,vww.wasteprousa.com/the-waste-pro-way / .



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                   45.    Waste Pro USA's website does not differentiate between different Waste Pro entities,

        but promotes Waste Pro's services as one common business purpose across the states it services.

                   46.    Waste Pro USA's website lists each of its locations it operates in multiple different

       states      and   does   not    differentiate     between         which   entity    operates        that      location.   See

       \VW'\V.   wasteprousa.com/ find-yom-city /.

                   47.    Even when clicking on an individual location, at the bottom of the webpage Waste

       Pro USA's website references its corporate headquarters in Longwood, Florida. See, e.g.,

       \V'\VW.wasteprousa.com/office/beaufort/.

           .. ... -48. -•· Upon information and belief,.,Waste Pro-USA!s .business is              :i.   centralized, top;-,down

       operation controlled by Defendant.

                   49.    Upon information and belief, there is common ownership between Waste Pro

       entities.

                   50.    Waste Pro USA's websitt states that John Jennings is the "founder and visionary"

       behind        Waste   Pro      and   agam       touts   its       operations   1n    nine         different     states.   See

       www.wasteprousa.com/leadership/.

                   SL     Here, Waste Pro USA will likely deny that it is an FL.SA employer, yet the factors to

       determine joint employment under the FLSA militate to ruling that Waste Pro USA is an employer

       under the FLSA with respect to Plaintiffs.

                   52.    Upon information and belief, Defendant jointly determines, shares or allocates

       responsibility for payroll matters with its local entities.

                   53.    In fact, corporate human resources employees are employed by Waste Pro USA,

       such as Shannon Early the Director of Human Reso'i'.irces for "\Vaste Pro" on the Waste Pro USA

       website. See Exhibit C (https://\V\Vw.wasteprousa.com/ieadership/shannon-earl}' /), and Exhibit D




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        (Shannon Early Llnkedln Profile describing her as Waste Pro USA employee.2

                54.     Also, the handbooks utilized for drivers are "Waste Pro USA" handbooks. See

       Exhibits F and G (2017 and 2.008 handbooks which only name Waste Pro USA as an entity and then

       collectively use the term "Wast_e Pro").

                55.     In fact, the 2008 handbook, which many drivers signed acknowledgments for,

       proudly proclaims 'Welcome to Waste Pro USA!" See Ex.Fat pg. 5 of handbook, and see Exhibit H

       (signed handbook authorization by a driver and "At-Will Employment Disclaimer" for Waste Pro

       USA).

                56,   . -The handbooks describe the terms and ..conditions of employment and the control.

       Waste Pro USA has over Plaintiffs and other Waste Disposal Drivers here.

                57.    As a result of these handbooks alone, Waste Pro USA has -the authority to discipline,

       hire, fire, give raises to, or insuuct Waste Disposal Drivers.

                58.    As one example of this, Waste Pro USA officers approved a driver's promotion and

       pay raise to a supervisor. See email chain at Exhibit I.

                59.    Thus, this approval of an employee to a supervisor position shows Waste Pro USA

       helped decide the managen1ent structure of\VasteDisposal Drivers.

                60.    Waste Pro USA also employs Regional Vice-Presidents who oversee and supervise

       different regions and the operations and drivers which work in those regions. See, e.g., \Vaste Pro

       USA's website at https://www.wasteprousa.com/leaclership/ (describing Regional Vice-Presidents'

       regions and supervision and control of those divisions).

                61.     Payroll and other pay related matters for Waste Disposal Drivers are handled by the

       Waste Pro USA payroll department and Waste Pro USA employees in Longwood. See Waste Pro


                2
                   I.vis. Early also identi.fi,ed herself as a Waste Pro Florida employee in a federal court filing
       approximately three years ago. See Morrow v. Waste Pro of Pia., Inc., No. 0:15-cv-61247 (S.D. Fla.) ECF No. 24-
       5, 10, ,i 10, Ex. A (attached hereto_as Ex. E).


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        USA Authorization Agreement for Direct Deposit signed by a driver, attached as Exhibit J.

                62.      Here, Waste Pro USA employees (such as Waste Pro USA Benefits Director Judi

        Craigo and Waste Pro USA's Regional HR Rep Tia Epps) were even involved in creating and

        describing Waste Pro's illegal- day rate plan which required waste disposal drivers to work a certain

        number of days to receive the purported day rate. See email chain attached as Exhibit K.

                63.      Defendant joi.r1tly determines, shares or allocates responsibility for payroll tax

        matters with its local entities.

                64.      Defendant jointly determines, shares or allocates responsibility for human resources

        matters; including but not limited-to the hiring and firing of ,:mployees, with.its local entities ..,

                65.      In fact, when local drivers are hired to work as Waste Disposal Drivers, they would

        complete Waste Pro USA applications to apply for employment as well as various other forms

        through Waste Pro US.A. See Exhibit L (Application and related documents relating to a Florida

        driver named Anathy Adams).

                66.      As another example, Waste Pro USA utilized one law firm to audit its payroll

        practices for Waste Pro collectively. See Audit attached as Exhibit M produced in another FLSA

        matter where Waste Pro was a defendant. .

                67.      As a third example, Waste Pro advertises its job openings in multiple states through

        Waste Pro USA. See http:;: //recruiting.adp.com/srccar/public/RTI.horne?c=l 08094 l&d=Extcmal-

        WastePro (last visited November 19, 2019).

                68.      Upon information and belief, Defendant jointly determines, shares or allocates

        responsibility for marketing/ adYerti.sing matters with its local entities.

                69.      Upon information and belief, Defendant jointly determines, shares, directs or

        allocates employees between its local entities.

                70.      For example, Russell Mackie, whom Waste Pro previously submitted an affidavit



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          from in the predecessor South Carolina Action, declared hlmself to be an employee of Waste Pro of

          Florida, Inc. (see Exhibit N attached hereto), while being listed on Waste Pro USA's website as part

          of their leadership team. See www.wasteprousa.com/leadership/.

                        71.    Waste Pro USA's Director of Human Resources Shannon Early also identifies

         herself as both a Waste Pro USA and Waste Pro Florida employee. See 1 53, fn. 2; and Exhibits C

         andD.

                        72.    Waste Pro USA and its local entities share a completely integrated computer network

         system, payroll system, corporate logo and website .

       "'-,. ~· .-..    73.    .Waste Pro USA monitored the amount of ove"time worked by. Plaintiff and.Putative -

         Class Members through reports logging drivers who worked 70 or more hours in a given workweek

         and distributing those to regional managers and others. See Exhibit 0. •

                        74.    .According to the Federal Motor Carrier Safety Administration, Waste Pro USA owns

         one hundred and twenty-eight (128) power units and employs one hundred fourteen (114) drivers

         who drove 3,872,153 miles in 2018. See Company Snapshot from FMCSA website, attached as

         Exhibit P.

                       - 7-5: •- · Waste .Pro USA also purchases ..!and at times in furtherance of the Waste Pro

         business. See, e.g., Special Warranty Deed attached here to as Exhibit Q.

                        76.    Waste Pro USA is also the named insured on insurance policies, including worker's

         compensation policies, which as an example of one, covers Florida Waste Disposal Drivers. See

         ExhibitR.

                        77.    Waste Pro USA is also the named insured on certain commercial general liability

         policies, including policies which cover one or more of the locations at issue here.

                        78.    Some municipalities, including the City of Miramar, Florida, require Waste Pro USA

         to guaranty all of its subsidiary's, Waste Pro of Florida's, obligaticins under the contract with that



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        city. See Exhibit S.

                79.      It is clear that Waste Pro USA operates its locations in different states as one

        common business enterprise with a common business purpose of providing waste disposal and

        recycling services to its clients in these different states.

                80.      Further, the :tvliddle District of Florida ordered that notice issue and certified a

        nationwide collective action against Waste Pro USA and Waste Pro Florida involving helpers, based

        on the same or similar allegations of joint employer contained herein. See Thomas    11.   Waste Pro USA,

        Inc., No. 8:17-cv-02254, ECF No. 224 at 22-23 (M.D. Fla. Mar. 12, 2019) ("Plaintiff has supplied

        evidence .-,that :subsidiaries.. of. Waste Pro . USA have access to . the !lame policy and .- procedure

        documents, there are resources available from Waste Pro USA for its subsidiaries, the companies

        have the same CEO, and Regional Vice Presidents attend meetings together. Plaintiff has supplied

        sufficient evidence for the conditional certification stage . ..."). That court subsequently denied

        Waste Pro USA's motion for summary judgment that it was not a joint employer of Waste Pro

        Florida's employees. Id., ECF No. 331 at 24-30 (M.D. Fla. Sep. 30, -2019) (finding evidence

        supported that Waste Pro USA had the right to hire, fire, or discipline Waste Pro Florida's

        employees; that Waste Pro USA is involved in. p.1:eparation of payroll and payment of.wages to .

        Waste Pro Florida's employees; that Waste Pro Florida employees performed work integral to Waste

        Pro USA's business as a waste removal company; and that investment in the equipment or facilities

        used by Waste Pro Florida's employees is made by Waste Pro USA). Plaintiff here makes the same

        allegations in support of Waste Pro USA's status as a joint employer of Plaintiff and the Putative

        Class Members.

                81.      On information and belief, \v'aste Pro USA and its_subsidiaries acted in all respects

        material to this action as the agent of the other, carried out a joint scheme, business plan or policy in




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              material respects hereto, and the acts of Waste Pro USA constitute .it being a joint employer under

              the FLSA.

                      82.     The unlawful acts alleged in this Complaint were committed by Defendant and/ or

              Defendant's officers, agents, employees, or representatives, while actively engaged in the

              management of Defendant's business or affairs and with the authorization of Defendant.

                      83.      Defendant agreed to allocate responsibility for, or otherwise codetermined key terms

             and conditions of the Plaintiff's and Putative Class Members' work and jointly administered training,

              job duties, and job assignments. The combined influence over the terms and conditions of the

            -• .Plaintiffs. -ands the Putative Class Members' -employment renders .the-Plaintiff, and Putative, Class

             Members employees of Defendant.

                      84.      Defendant directly or indirectly acted in the interest of an employer toward Plaintiff

             &nd other similarly situated employees, including without limita.tion directly or indirectly controlling

              the terms and conditions of employment and compensation of Plaintiff and others similarly situated.

                      85.      Defendant was a joint employer of Plaintiff and other similarly situated drivers in

              their respective territory or territories with the local entities because each, respective parent, division,

  . __ ·-     subsidiary or affiliate acted directly or indirectly in the interest of the other in relation to Plaintiff and

              such similarly situated persons.

                      86.      Defendant was a joint employer of the Plaintiff and the similarly situated driver

              employees in their respective territories because they commonly controlled the terms of

              compensation and conditions of employment of Plaintiff and others similarly situated, and are not

              completely disassociated with respect to the terms of compensation-and conditions of employment

              of Plaintiff and others similarly situated.

                      87.      Defendant directly or indirectly acted in the interest of an employer toward Plaintiff

              and other similarly situated employees at their locations at all material times, including without



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       limitation directly or indirectly . controlling the terms and conditions of employment and

       compensation of Plaintiff and other workers similarly situated.

                88.    As such, Plaintiff and the Putative Class Members ia this action were employed by

       Waste Pro USA under the FLSA.

       B.       Plaintiff and the Putative Class Members are (or were) Waste Disposal Drivers for
                Waste Pro

                89.    Defendant's Waste Disposal Drivers, including Plaintiff and the Putative Class

       Members, all drove assigned intrastate routes to collect and dispose of residential or commercial

       waste and/or recyclable materials for Defendant's customers in multiple states (except Florida,

       South Carolina and North Carolina).

                90.    Defendant's Waste Disposal Drivers are all non-exempt employees under the FLSA.

                91.    Plaintiff Blandon was employed as a non-exempt Waste Disposal Driver at Waste

       Pro's facility in Brookhaven, Mississippi from approximately September 24, 2012 through March 11,

       2017.

                92.    Plaintiff Blandon was compensated on a job/ day rate determined by the number of

       hours worked in a day.

                93.    Plaintiff Blandon did not receive the proper amount of overtime compensation for

       all hours worked in excess of forty (40) hours per workweek.

                94.    The Putative Class Members are (or were) non-exempt Waste Disposal Drivers for

       Defendant in all states except Florida, South Carolina and North Carolina for the 3-year period

       preceding the filing of this complaint through the final disposition of this matter, except those who

       previously joined the South Carolina action at an earlier time.

                95.    None of the FLSA exemptions relieving a covered employer of the statutory duty to

       pay employees overtime at one and one-half times the regular rate of pay apply to Defendant,

       Plaintiff, or the Putative Class Members.


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               96.     Plaintiff and the Putative Class Members are similarly situated with respect to their

       job duties, their pay structure and, as set forth below, the policies of Defendant resulting in FLSA

       violations.

       C.      Defendant did not (and does not) pay Plaintiff and the Putative Class Members
               overtime in accordance with the FLSA.

               97.     Plaintiff and the Putative Class Members were (and are) required to work overtime

       hours when requested by Defendant, and were (and are) subject to potential disciplinary action for

       refusing to work overtime.

               98.     Plaintiff and the Putative Class Members regularly wqrked (or work) over forty (40)

       hours in a work.week as Waste Disposal Drivers.

               99.     Defendant compensated Plaintiff and Putative Class Members on a purported

       job/day rate, in addition to other forms of compensation. These other forms of compensation are

       not in compliance with the day and job rate provisions of 29 C.F.R. § 778.112 and, ultimately, result

       in a miscalculation of Plaintiff and the Putative Class Members' regular rate and resulting overtime

       compensation. These other forms of compensation (help pay, bonus pay, and safety bonus) may

       vary by name and amounts, but nevertheless have the same overall effect in invalidating Defendant's

       attempt to categorize and compensate Plaintiff and the Putative Class Members under the pay

       provision permitted by 29 C.F.R § 778.112.

               100.    Additionally, Defendant would only pay a "day rate" to Plaintiff and the Putative

       Class Members if they worked a preset number of hours per day. If the designated number of hours

       were not worked by Plaintiff or the Putative Class Members, then they did not receive the full "day

       rate." This is a blatant violation of the day rate provision of 29 C.F.R. § 778.112.

               101.    Indeed, a day rate plan can only be valid if an employee is paid a flat sum for a day's

       work without regard to the number ofhours worked in the day. 29 C.F.R. § 778.112 (emphasis

       added). Because Plaintiff and the Putative Class Members are not paid a fl.at sum for a day's work


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        without regard to the number of hours worked in the day, they are not paid under a true "day rate"

        plan, and Waste Pro USA cannot avail itself of such a pay system.

                102.    Defendant's calculation of Plaintiff and the Putative Class Members' regular rate of

        pay does not comply with the FLSA.

                103.    Defendant paid Plaintiff and the Putative Class Members one-half of the regular rate

        of each hour worked over 40 hours in a workweek.

                104.    Defendant paid Plaintiff and the Putative Class Members a purported day rate, plus

       · other forms of compensation for services .

           .· • -105, • In addition to the purported day rate that Defendant paid Plain ti ff and the Putative

        Class Members, Defendant compensated Plaintiff and the Putative Class Members for the same type

        of work that they normally performed on an hourly basis. For example, if Plaintiff and the Putative

        Class Members completed their assigced routes for the day, they would be asked to help other

        drivers with their incomplete routes. Generally, when Defendant paid Plaintiff and the Putative

        Class Members on an hourly basis, as opposed to a daily basis, they referred to these hourly

       payments as "help pay."

              •· 106.   Defendant also compensated Plaintiff and the Putative Class Members on . a basis

        other than the daily rate basis for what Defendant categorized as "bonus pay", "incentive pay",

        "extra pay" and "miscellaneous pay."

                107.    In the event that Plaintiff and the Putative Class Members finished their route for

        the day early or needed to work for only half of the day, Defendant, at least sometimes, did not pay

        them the day rate, but rather compensated them on an hourly basis and in a lesser amount than the

        day rate.

                108.    Defendant also compensated Plaintiff and the Putative Class Members with a form

        of incentive pay for completing a certain amount of time without any accidents. Defendant paid a



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        non-discretionary safety bonus that would be paid to the Plaintiff and the Putative Class Members

        on a weekly basis.

                109.   Plaintiff and the Putative Class Members were hired to work a regular workweek

        consisting of forty (40) hours per workweek, and it was the Plaintiffs' understanding that their wages

        would compensate them for forty (40) hours. Further, the day rates were based upon an eight (8)

        hour day and approximated the hourly rates that prevailed in the market for the type of work

        performed by Plaintiff and the Putative Class Members.

               110.    Plaintiff and the Putative Class Members regularly worked over forty (40) hours in a

       workweek as Waste Disposal Drivers.           ..   ·-    . .·   •   ..


               111.    The FLSA requires non-exempt employees, like Plaintiff and the Putative Class

        Members, to be compensated fo.t overtune work at the mandated overtime pay rate.

               112.    Plaintiff and the Putative Class Members were entitled to receive ti.me and one-half

       compensation for all hours worked over forty (40) hours in a workweek.

               113.    The payment scheme used by Defendant to pay Plaintiff and the Putative Class

       Members did not comply with the FLSA.

               114.. . .Defendant ,.yiolated and contipues to violate the FLSA by .failing to pay its Waste

       Disposal Drivers, including Plaintiff and the Putative Class Members, ti.me and one-half for each

        hour worked in excess of forty (40) hours per W<?rkweek.

               115.    As Defendant's employees, Plaintiff and the Putative Class Members were subjected

        to the same or a substantially similar payment scheme, as described above.

               116.    On several occasions, Plaintiffs complained to management that their overtime was

        not being calculated correctly and pleaded with them to correct it.

                117.   In response to Plaintiffs' complaints, Waste Pro management told Plaintiffs that they

        were paid "Chinese overtime," that paying only "Chinese overtime" was Waste Pro's corporate-wide



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        policy, and that the company would not pay them overtime at the regular rate of one and one half

        times their pay.

                118.       Plaintiffs were required to perform necessary and integral work for Defendant while

        not clocked in, or otherwise off the clock.

                119.       The off the clock work usually occurred prior to the Plaintiffs daily driving routes

        and after the routes or any helper routes were completed at the end of the day.

                120.       Further, Plaintiff and the putative class members were subjected to automatic

        deductions for 30-minute meal period, despite Waste Pro's knowledge that Plaintiff and the Putative

       ·Class -Members routinely. worked through their designated thirty (30) minute meal periods. - -

                121.       Defendant was and remains aware that Plaintiff and the Putative Class Members

        regularly worked through their.30-minute meal periods.

                122.       Defendant's systematic deduction of the thirty (30) minute meal period from hours

        worked in excess of forty (40) hours per workweek deprived Plaintiff and the Putative Class

        Members of overtime pay in violation of the FLSA.

                123.       Plaintiff and the Putative Class Members were subjected to the same or a

        substantially simiia.r policy, practice, or scheme of having the 30-.minute meal period deducted from

        their on-the clock time, as described above.

              COUNT I - RECOVERY OF OVERTIME COMPENSATION (29 U.S.C. § 207)

                124.       Plaintiff and the Putative Class Members incorporate by reference paragraphs 1-123

        as though fully and completely set forth herein.

                125.       Defendant's practice of failing to pay Plaintiff and the Putative Class Members time-

        and-a-half rate for hours in excess of forty (40) per workweek violates the FLSA. 29 U.S.C. § 207.




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                126.   None of the exemptions provided by the FLSA regulating the duty of employers to

        pay overtime at a rate not less than one and one-half times the regular rate at which its employees

        are employed are applicable to Defendant or Plaintiffs.

                127.   Defendant failed to keep adequate records of the Plaintiffs and Class Member's

        work hours and pay in violation of section 211(c) of the FLSA. 29 U.S.C. § 21 l(c).

                128.   Federal law mandates that an employer is required to keep for three (3) years all

        payroll records and other records containing, among other things, the following information:

                a.     The time of day and day of week on which the employees' work week begins;

              . b.     The,regular hourly rate or pay for 'any workweek in mhich ov:ertime. cotnpensationis.

                       due under Section 7(a) of the FLSA;

                c.     An explanation of the basis of pay by indicating the monetary amount paid on a per

                       hour, per day, per week, or other basis;

                d.     "The amount and nature of each payment which, pursuant to section 7(e) of the

                       FLSA, is excluded from the "regular rate";

                e.     The hours worked each workday and total hours worked each workweek;

              . f.     .T he total
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                       during the workday or workweek, exclusive or premium overtime compensation;

                g.     The total premium for overtime hours. This amount excludes the straight-time

                       earnings for overtime hours recorded under this section;

                h.     The total additions to or deductions from wages J?aid each pay period including

                       employee purchase orders or wage assignments;

                L      The dates, amounts, and nature of the items which make up the total additions and

                       deductions;

                j.     The total wages paid each pay period; and



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                    k.        The date of payment and the pay period covered by payment.

         29 C.F.R. §§ 516.2, 516.5.

                   129.       Defendant has not complied with the federal law and has failed to maintain such

         records with respect to Plaintiff and the Putative Class Members. Because Defendant's records are

         inaccurate and/ or inadequate, Plaintiff and the Putative Class Members can meet their burden under

         the FLSA by proving that they, in fact, performed work for which they were improperly

         compensated, and produce sufficient evidence to show the amount and extent of the work "as a

         matter of a just and reasonable inference." See, e.g., A11derso11 v. Mt. Clemens Polle,y Co., 328 U.S. 680,

       . 687 .(1946) .. . ·, . '·                                                           ....
                                                                                          .:: :: :._


                   130.      Defendant's failure to properly compensate employees at a rate of at least one and

         one-half times their regular rate of pay for all hours worked in excess of forty (40) hours in a

        workweek, results from Defendant's purported day rate payment policy or practice that applies to all

         similarly-situated employees, nationwide.

                   131.      Defendant knowingly, willfully, or with reckless disregard carried out its . illegal

         pattern or practice of failing to pay overtime compensation correctly with respect to Plaintiff and the

        Putative Class Members.

                   132.      Specifically, despite the fact that numerous Waste Disposal Drivers brought

        Defendant's aforementioned illegal policies and FLSA violations to Defendant's attention

         throughout their employment, Defendant refused to pay Plaintiff and the Putative Class Members

         their proper compensation as required by the FLSA.

                   133.      Defendant did. not act in good faith or in reliance upon any of the following in

         formulating their pay practices: (a) case law, (b) the FLSA, 29 U.S.C. §§ 201-219, (c) Department of

         Labor Wage & Hour Opinion Letters or (d) the· c ·o de of Federal Regulations.




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                 134.   Accordingly, Plaintiff and the Putative Class Members bring this cause of action

        under section 216(6) of the FLSA, which allows them to recover ali unpaid overtime compensation

        to which they are entitled, but have not been paid; for the 3-year period preceding the filing of this

        complaint th.rough the final disposition of this matter. 29 U.S.C. § 216(b).3

                 135.   Plaintiff and the Putative Class Members contend that Defendant's conduct in

        violating the FLSA is willful. Accordingly, Plaintiff and the Putative Class Members seek recovery of

        all unpaid overtime compensation to which they are entitled, but have not been paid, for the three

        years preceding the filing of this complaint through the final disposition of this matter. 29 U.S.C. §

       216(6).                                                           . - :•• .- ..

                 136.   Due to the willful nature of Defendant's conduct, Plaintiff and the Putative Class

        Members seek to recover, as liquidated damages, an amount equal to unpaid overtime wages for the

        3-year period preceding the filing of this complaint through the final disposition of this matter-that

       ·is, the same period for which unpaid overtime damages are sought. 29 U.S.C. § 216(6).

                                              PRAYER FOR RELIEF

                 Plaintiff, individually, and on behalf of all other similarly situated persons, respectfully

        requests that this Court enter judgment against the Defendant:

                 a.     For an Order recognizing this proceeding as a collective action pursuant to Section

                        216(b) of the FLSA and requiring Defendant to provide the names, addresses, e-mail

                        addresses, telephone nwnbers, and social security nwnbers of all Putative Class

                        Members;

                 b.     For an Order approving the form and content of a notice to be sent to all potential

                        collective action members advising them of the pendency of this litigation and of


                 3
                 As alleged above, the FLSA claims of Plaintiff and those opt-in plaintiffs who originally
        joined the South Carolina Action against Defendant were tolled when they joined the South Carolina
        action per the FLSA; thus, their claims reach back to three years before that time.


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                           their rights with respect thereto;

                  c.       For an Order equitably tolling the claims of those Putative Class Members, including

                           Plaintiff, who previously filed a consent to join form·in the South Carolina Action.

                  d.       For a declaratory judgment that Defendant has willfully and in bad faith violated the

                           overtime wage provisions of the FLSA, and have deprived Plaintiff and the Putative

                           Class Members of their rights to such compensation;

                  e.       For an Order requiring Defendant to provide a complete and accurate accounting of

                           all overtime wages to which Plaintiff and all Putative Class Members;

  - .. ~--~ -   · f.   · ·., ·For an Order awarding Plaintiff (and those who have joined in the suit) back wages

                           that have been improperly withheld;

                  g.       For an Order pursuant to Section 16(b) of the FLSA finding Defendant liable for

                           unpaid back wages due to Plaintiff (and those who have joined in the suit), and for

                           liquidated damages equal in amount to the unpaid compensation found due to

                           Plaintiffs (and those who have joined in the suit);

                  h.       For an Order awarding Plaintiff (and those who have joined in the suit) the costs of

                           this action; -

                  i.       For an Order awarding Plaintiff (and those who have joined in the suit) attorneys'

                           fees;

                  J·       For an Order awarding Plaintiff (and those who have joined in the suit) pre-

                           judgment and post-judgment interest at the highest rates allowed by law;

                  k.       For an Order awarding Plaintiff a service award as permitted by law;

                  l.       For an Order granting such other and further relief as may be necessary and

                           appropriate.




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                                           Respectfully submitted by:

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                                           Facsimile: (361) 452-1284
                                           pro hac vice application forthcoming

                                           ATTORNEYS IN CHARGE FOR PLAINTIFF AND
                                           PUTATIVE CLASS MEMBERS




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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 106 of 184 PageID 4009




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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 111 of 184 PageID 4014




                                                                                                             Earnings          Statement
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                                                                                307-0001
                         DE:1.TA SANfTATION OF MISSISSIPPI                                                   Period Beginning:          03101/2015
                         2101 W. STATE ROAD 434                                                              Period Ending:             03/14/2015
                         SUITE 315                                                                           Pay Oate:                  0312012015
                         LONG',,\'OOD, FL 32779


                         Trucoblo Monlol S1.>bJ.:         Momod                                                  DODO BLANDON
                         &ccmplfon:./Afl0\·1ilnc.i,!.:                                                           800 MAGEE DRIVE APT 212
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                            MS:                     2. $0,00 Yco~v Exumpion,Spou,c            Nol
                                                                                                                 P.O. BOX 3262
                                                    Employ,:d                                                    BROOKHAVEN MS 39603



       Earnings                      rato         hour11           lhlo par!od             year to data
       Regular                                   80.00              1,350.00                  7,627 . 50
                                                                                                               Your federal taxable w:iges this period arc
       Overtime                                  10.44                125 .02                   648 .71
                                                                                                               $1,256 . 57
       Bereavement                                                                              270.00
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       Bonus                                                                                    250.00
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                       Social Sccurily Tax:                             -78 . 82                494 . 70
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                       Medicare Tax                                     - 18 . 44               115 .70
                                                                                                             401K Maleh                                                  7.36
                       MS Statc Income Tax                              -53 . 00                333 .00
                       Other
                       Cl Accident                                     -13.37                       80.22
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                       Vision Pre Tax                                    -3.66·                     21.96
                       401K Prc-Tx                                     - 14. 75•                    89.51

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                         DELTA SANITATION
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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 112 of 184 PageID 4015




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                                                                                                                 Earnings          Statement
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                   DELT/1 SANIT/ITION OF MISSISSIPPI                                                              Period Beginning :       03/15/2015
                   2101 W. STATE ROAD 434                                                                         Period Ending:           03/28/2015
                   SUITE 315                                                                                      Pay Date:                04/03/2015
                   LONGWOOD,               FL 32779


                   Taxablo Marital Slalus:    Married                                                                 DODD BLANDON
                   Exemplions/Allownnccs:                                                                             800 MAGEE DRIVE             APT    212
                     Federal:           2
                                                                                                                      P.O. BOX 3262
                     MS:                2, $0,00 Yearly Exemplion,Spouse                            Nol
                                        Employed                                                                      BROOKHAVEN    MS 39603



 Earnings                      r.i!e                 hours        this period                    year to date
 Regular                                            80 . 00        1,215.00                        8,842.50
                                                                                                                    Your federal taxable wages this period are
 Overtime                                           16.76             105.82                         754.53
                                                                                                                    $1,103.91
 Bereavement                                                                                         270.00
                                                                                                                    Your MS taxable wages this period are
 Bonus                                                                                               250.00
                                                                                                                    $1,103.91
 Holiday                                                                                             270.00
 Sick                                                                                                135.00       Other Benefits   and
                                                                                                  10,522.03       Information                    this period   total to date
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 Deductions                                                                                                         Days Wkrd Wk 2                                    5 . 00
               Federal Income Tax                                     -46 .55                         470.79
                                                                                                                    Days Worked                                       9 . 00
               Social Security Tax                                    -69 . 26                        563.96
                                                                                                                    Yid 401 K Maleh                                  51.42
               Medicare Tax                                           -16 . 19                        131.89
                                                                                                                    401K Maleh                                        8.61
               MS Slate income Tax                                    -45 . 00                        378.00
               Other
               Cl Accident                                           -13     . 37                      93.59
               Pop Dental                                            -10     .53 ..                    73 . 71
               Pop Medical                                          -189     . 51*                  1,326.57
               Vision Pre Tax                                         -3     .66*                      25.62
               401K Pre-Tx                                           -13     .21 *                    102.72

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               *    Excluded from federal taxable wages




                   DELTA SANITATION OF MISSISSIPPI                                                                                               00000140277
                   2101 W . STATE ROAD 434                                                                                                       04/03/2015
                   SUITE 315
                   LONGWOOD, FL 32779


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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 115 of 184 PageID 4018




                                                                                             Earnings         Statement
                                                                 375-0001
                    DELTA SANITATION OF MISSISSIPPI                                           Period Beginning:      03129/2015
                    2101 W. STATE ROAD 434                                                    Period Ending:         04111/2015
                    SUITE 315                                                                 Pay Date:              04/17/2015
                    LONGWOOD. FL 3V79


                    Tox.iblo MariUII Still.Ill::  Mornod                                          DODD BLANDON
                    Emmpllona/Nlov,nnco,:                                                         800 MAGl=E ORNE APT 212
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                      MS:                   2. $0.00 Yea~y Excmplfon,Spou,:c,    lllot
                                                                                                  P.O. BOX 3262
                                            Employ<ld                                             13ROOKHAVEN MS 39803



      Earnings                n,ta       houns        lhl• parlod           yoor to clalo
     Regular                           80.00           1,350.00                 10,192.50
                                                                                                Your f-edeml taxable wages this period are
     Overtime                          25.70              163. 76                  918.29
                                                                                                $1,294.92
     Bereavement                                                                   270.00
                                                                                                Your MS taxable wages this period are
     Bonus                                                                         250.00
                                                                                                $1,294.92
     Holiday                                                                       270 .00
     Sick                                                                           135.00    Other Benofils and
                                                                                12,035.79     Information                  lhlb porfod   lotnl to deto
                                                                                              Daily Rate                                      135. 00
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                   Social Secorily Tax                    -81.22                   645 .18
                                                                                                                                                58.99
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                   Medicare Tax                           -19,00                   150.89
                                                                                               401K Maleh                                        7.57
                   MS State Income Tax                    -55,00                   433.00
                   Other
                   Cl Accident                            ·13.37                   106 .96
                   Pop Dental                            ·10 .53·                   84.24
                   Pop Medical                          -189 .51 •               1,516.08
                   Vision Pre Tax                           -3.6&·                  29.28
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                   • Excluded from federal taxable wages




                    DELTA SANITATION OF MISSISSIPPI                                                                        00000160350
                    2101 W. STATE ROAD 434                                                                                 04/17/2015
                    SUITE 315
                    LONGWOOD , FL 32n9

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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 116 of 184 PageID 4019



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                      Blandon, Dodd                                                           106659                                               3/29/2015 • 4/11/2015, Selcctl!d
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                      1 Employcc(s) Selected
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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 117 of 184 PageID 4020




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                                                                                                    Earnings         Statement
                        DELTA SANITATION OF MISSISSIPPI                                             Period Beginning:      04112/2015
                        '2101 W. STATE ROAD 13'1                                                    Period Ending:         04/2512015
                        SU/Tl: 315                                                                  Pay Dato;              05/01/2015
                        LONGWOOD, FL 32779


                        TW@b(c MR~lnl Slilluo;         Ma11lcd                                           DODD BLANDON
                        E>ccmpl.ion,FN1owoncr.o:                                                         600 MAGEE DRIVE APT            212
                          Foder.it:           :Z                                                         P.O. BOX 3262
                          MS:                   2. SO.OD Yoorty Exemptioo,Spouso       Not
                                                Employed                                                 BROOKHAVEN      MS 39603



      Earnings                    r.,to        houru         tht& por1od            yoor lo doto
      Regular                                 60.00              1,233.22            11,494.23
                                                                                                      Your foderal taxable wages this period are
      Regular                                                       60 .51
                                                                                                      S1 ,371 .17
      Overtime                                23.73                152.03              1,070.32
                                                                                                      Your MS laxable wages this period are
      Sfcic                                     8.00               137.02                Z72.02
                                                                                                      $1,371.17
      Bereavement                                                                        270.00
      Bonus                                                                              250.00     Olhar Bonefits and
      Holiday                                                                            270.00     Information                               toul   IO d:>IO
                                                                                     13,626.57      Dally Rale                                       137.02
                                                                                                    Days Wkrd Wk 1                                     5.50
                                                                                                    Oays · Wkrd ~ --2                                  4 . 00
     Deduc.-tions   · Statutory
                                                                                                    Days Worked                                        9.50
                      Federal Income Tax                           -74 .43               610 .87
                                                                                                    Sick Days                                          1.00
                      Social Security Tax                          -66 , OD              731 .10
                                                                                                    Yid 401K Malcli                                   66.95
                      Medicare Tax                                 -20.11                171 .00
                                                                                                    401K Maleh                                          7.96
                      MS Stale Income iax                          -58.00                491 .00

                    Othor
                                                                                                    Important Notes
                    Cl Accldcnl                                    -13.37                120.33
                                                                                                    YOUR HOURLY RATE HAS 0EEll CttAIIGEO F'ROM 16.8750 TO
                    Pop Dental                                     -10 , 53•              94.n
                                                                                                    17.1261.
                    Pop Medical                                   -189 .51·            1,705 . 59
                    Vision Pre Tax                                  -3.66"                32.94
                    401K Pre-Tx                                    -15.91"               133.n
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                    Checking                                -1, 119 . 26




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                        DELTA SANITATION OF MISSISSIPPI                                             Advice number;              00000160279
                        2101 W. STATE ROAD 434                                                      Pay date:   ~               05/01/2015
                        SUITE 315
                        LONGWOOD , FL 32779                                                                     ~~~

                        Doposltod         to U10 11ccount or                                                            lranolt ABA               amount
                        0000 BLANDON                                                                                    XlOO(   XX)O(           $1,119.26




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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 118 of 184 PageID 4021



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                     Blandon, Dodd                                                      106659                                                    4/1212015 - 4/25/2015, Seledcd
                                                                                                                                                  Range of Oates
                     1 Employee(s) Selected


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 i                 Wed 4/15                                                    6:26AM                          5:48PM                                                                                1L37                30.87

 l                  Thu 4/16                                                   6:28AM                          7:24PM                                                                                12.93               43,8



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                     Fri 4117                                                  6:25AM                   3:46PM                                                                                       933                 53.13
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             L~on 4120                                                        6:24AM                           4:<>4PM                                                                               9.67                65.35
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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 119 of 184 PageID 4022




                                                                                                     Earnings          Statement
                                                                       315-0DDl
                       DELTA SANrfATION OF MISSISSIPPI                                               Period Beginning:           04/26/2015
                       2101 W. STATE ROAD 434                                                        Period Ending:              0510912015
                       SUITE 315                                                                     Pay Dale:                   05/15/2015
                       LONGWOOD, FL 32n9


                       Truaiblo l\!an1al St.ltu,:     MQniod                                             0000 BLANDON
                       Exemplion</Allownn=                                                                BOO MAGEE DRIVE APT 212
                          Fed=l:               2
                          MS:                  2. SD.DD Ye11rly Elcr:mplion,Spousc    Nat
                                                                                                          P.O. BOX 3262
                                               Employad                                                   BROOKHAVEN MS 39603


      Earnings                                             1111• portod           YOM ID drto
      Regular                               80.00              1,233.21              12,727.44
                                                                                                       Your federal taxable wages this period are
      Overtime                              18 . 45             133.86                1,204.18
                                                                                                       $1,399.70
      Bonus                                                     260.DO                  500.00
                                                                                                       Your MS taxable wages this period c1rc
      Berea11ement                                                                      270 . 00
                                                                                                       $1,399.70
      HoUday                                                                            270 . 00
      Sick                                                                              Z72 . 02     Other Benefits and
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                                                                                                     Dally Rato                                          137.02
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      Deductions     Statutory
                     Federal Income Tax                          -78. 71                689,58
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                                                                                                     Days Worked                                           9.00
                     Soda! Security Tax                          -67.63                 818 . 81
                                                                                                     Yid 4O1K Maleh                                       73.80
                     Medicare Tax                                -20 .50                191,50
                                                                                                     401K Match                                            6,85
                     MS Stale Income Tax                         -60,0D                 551.00
                     Other
                     Cl Accident                                -13.37                  133 . 71)'
                     Pop Dental                                 -10.53*                 105 . 30
                     Pop Medical                               -189.51"               1,895 . 10
                     Vision Pre Tax                              -3.66"                  36.60
                     4O1K Pre-Tx                                 · 13.67"               147.44

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                      2101 W. STATE ROAD 434
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                      SUITE 315
                      LONGWOOD , Fl 32779

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                      DODD SLANOON                                                                                             xxxx l000C           S1 , 139 . 49




                                                                                                                 NON-NEGOTIABLE




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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 120 of 184 PageID 4023




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               Blandon, Dodd                                                                  106659                                                       4/26/2015 . 5/09/2015, Selected
                                                                                                                                                           Range of Dates
              1 Employee(s) Selected

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              Sun •1/26               OOMUSS                S250.00                                                        I                              I                                                                                             I
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             Wed 4/29                                                                6:2JAM                           6:34PM                                                             I                        12.18                 25.1

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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 121 of 184 PageID 4024




                                ;~iirt ti~. .,. Jt.,.....,...,.. :!:~1~~~11
                                                                          310-0001
                                                                                                        Earnings         Statement
                     DEL TA SANITATION OF MISSISSIPPI                                                   Period Beginning;         05/10/2015
                     2101 W. STA TE ROAD 434                                                            Period Ending:            05/2312015
                     SUITE 315                                                                          Pay Dato:                 05129/2015
                     LONGWOOD, FL 32779


                     T;,,r.,b/o , Mari!Jll S!Jltus:    Mimlcd                                               DODO BLANDON
                     El(cmpHano/Nlawancc::                                                                  800 MAGEE DRIVE APT 212
                         Fc<lerol:               2
                        MS;                     2, $0,00 Yoally 81ampticn,Spour.c          Not
                                                                                                            P.O, BOX 3262
                                                Employed                                                    BROOKHAVEN MS 39603



      Eurnings                   mto           hours         u,10    par1o<1           year .to doto
      Regular                                79 . 17            2,192.40                 14,966.35        Your federal taxable wages this period are
      Regular                                                      68.51                                  $2,242.17
      overtime                                 5.70                  72.64                1,276.62        Your MS taxable wages this period are
      vacation                                 8.00               137 . 02                   137.02       S2 ,242 .17
      Bereavement                                                                            270.00
                                                                                                        Other Benofils and
      Bonus                                                                                  500.00
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      l-loliday                                                                              270.00
                                                                                                        Daily Rate                                            137 . 02
      Sick                                                                                   272 . 02
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                                                                                         17,714.21
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      Deductions    St.Jtutory                                                                          Vacation Day:i                                           1.00
                    Federal lncoma Tax                           -205 ,08                    694 . 66   Ytd 401K Maleh                                         86 . 16
                    Social Soourit)' Tax                         -140. 55                    959.36     401K Mntch                                             T2.36
                    Medicare Tax                                  -32.87                     224.37
                    MS State Income Tax                          -102 . 00                   653 . 00
                    Other
                    Cl Accldont                                     -13. 37                  147 .07
                    F'op Dental                                   -10. 53•                  115 .83
                    F'op Medical                                 -189. 51"                2,084.61
                    Vision Pre Tax                                   -3 .6s·                 40.26
                    401K Pro-Tx                                     •24 , 70"                172.14
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                    Checking                                 -1, 748 .30




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                     DELTA SANITATION                  OF MISSISSIPPI                                   Advice number:                  00000220267
                     2101 W. STATE ROAD 434                                                             Pay data.'.=   is/              05/29/2015
                     SUITE 315
                     LONGWOOD, FL                     32n9
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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 122 of 184 PageID 4025



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                Blandon. Dodd                                                             106659                                                5/10/2015 - 5/23/2015, Selected
                                                                                                                                                Range of Dates
                1 Employee(s) Selected




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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 123 of 184 PageID 4026




                                                                                                      Earnings        Statement
                                                                        316-0001
                      D8.TA SANrrATION OF MISSISSIPPI                                                 Period Beginning:       05/24/2015
                      2101 W. STATE ROAD 434                                                          Period Ending:          06/06/2015
                      SUITE 315                                                                       Pay Date:               06/12/2015
                      LONGWOOD, FL 32n9


                      TilXllblo Ma1ilal Slalu,:        Married                                            DODD BLANDON
                      ExcmpUoMIAl(owancc~:                                                                800 MAGEE DRIVE APT 212
                        Fodor.ii:       2
                         MS:                  2, SO.QO Ycarty ExcmpUon,Spou!IC           Nol
                                                                                                          P.O. BOX 3262
                                              Employed                                                    BROOKHAVEN MS 39603



      Earnings                   ra!o        houn,           lhlo porl~            year to do!o
      Regular                               80.00                1,096.20           16,084.55
                                                                                                        Your federal taxable wages this period are
      Overtime                                9 . 30                55.25            1,332.07
                                                                                                        S1 ,071 .BB
      VacaUon                                8 , 00                137 .02                 274.04
                                                                                                        Your MS taxable wages this period arc
      Bcreavemenl                                                                          270 . 00
                                                                                                        S1 ,071 .88
      Bonus                                                                                500.00
      Honday                                                                               270.00     OlllOr Benefits and
      Sick                                                                             272.02         Information                   tit!• p<>riod   lobl lo dow
                                                                                    19,002.68         Dally Rale                                         137 . 02
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                                                                                                      Days 1/\/krd Wk 2                                    4 . 00 -
      Deductions    Sbtutory
                                                                                                      Days Worked                                          8.00
                    Federal Income Tax                            -43.34                   938.00
                                                                                                      Vacation Days                                        1.00
                    Social Securily Tmc                           -67 .25                1,026.61
                                                                                                      Ytd 401K Match                                      92 . 62
                    Medicare Tax                                  -15.73                   240 .10
                                                                                                      401K Maleh                                           6 , 46
                    MS Stale Income Tax                            -43 .00                 696.00
                    Other
                    Cl Accident                                   -13 ,37                  160.44
                    Pop Dental                                    -10,53•                  126.36
                    Pop Medlcal                                  -189 .s1·           2,274, 12
                    Vision Pre Tax                                 -3 .ss·              43.92
                    401K Pro-Tx                                   -12 . 89'                185 .03
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                    Checking                                     -889 , 19




                    • Excluded from federal taxable wages




                     DELTA SANITATION OF MISSISSIPPI                                                                                00000240258
                     2101 W. STATE ROAD 434                                                                                         06/12/2015
                     SUffE 315
                     LONGWOOD , FL                32779

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                     DODD BLANDON                                                   fl_..4~                               xxxx xxxx                    $869 .19
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          Blandon, Dodd                                                      106659                                          5/24/2015 • 6/06/2015, Selected
                                                                                                                             Range of Oates
          1 Employee(s) Selected
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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 125 of 184 PageID 4028




                                                                                                     Earnings           Statement
                                                                        332-0001
                     DELTA SANITATION OF MISSISSIPPI                                                 Period Beginning:           06/07/2015
                     2101 W. STA1E ROAD 434                                                          Period Ending:              06/20/2015
                     SUITE 315                                                                       Pay Date:                   06/26/2015
                     LONGWOOD, FL 32779


                     Taxublo r.torilul Slalu,:       Married                                             0000 BLANDON
                     E>cemptlono/Allowoncc:,:                                                            800 MAGEE DRIVE APT 212
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                                              EJTlployod                                                 BROOKHAVEN MS 39603


     Earning:J                               hau~          tllls period            yo.Jr t:o d:tto
     Regular                               80 . 00          1,233.22                 17,317.77
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     Bereavement                                                                         270 .00
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     Bonus                                                                               500.00
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                   Federal Income Tax                           •51 .43                   989 . 43
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                   Social Security Tax                          -72.32                 1, 098.93
                                                                                                     '101K Maleh                                                6.86
                   Medicare Tax                                 ·16 . 91                  257 .01
                   MS State Income Tax                          -47. 00                   743 .00
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                   Cl Accident                                  -13. 37                 173.81
                   Pop Dental                                   -10.53·                 136 .89
                   Pop Medical                                 -189 .51'              2,463 . 63
                   Vision Pro Tex                                -3.66'                      47.58
                   401K Pre-Tx                                  -13 . 70'                 198 .73

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                    DELTA SANITATION OF MISSISSIPPI                                                  Advlco number:                  00000260266
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                    SUITE 315                                                                               r-J:j~~
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                     DODD BLANDON                                                                                           XlO()(   xxxx                 S951 .66




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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 126 of 184 PageID 4029




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                Blandon, Dodd                                                                106659                                              6/07/2015 • 6/20/2015, Selected
                                                                                                                                                 Range of Dates
               1 Employee(s) Selected
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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 127 of 184 PageID 4030




                                                              JU7-0001
                    DELTA SANITATION OF MISSISSIPPI                                        Period Beginning:           06/21/2015
                    2101 W. STATE ROAD 434                                                 Period Ending:              07/04/2015
                    SUITE 315                                                              Pay Date:                   07/1012015
                    LONGWOOD, FL 32n9


                    Taxnblo Morilal Slalus:    Married                                          DODD BLANDON
                    ElcemplioM/Allowon=                                                         800 MAGEE DRIVE APT 212
                      Fodor.,!;          2
                      MS;                ~. S0,00 Yearly ExompUon,Spou:sc    Not
                                                                                                P.O. BOX 3262
                                         Employed                                               BROOKHAVEN MS 396D3



     Earnings               rota        hou111      Uil• por1od          year to dot,,
     Regular                           80.00            959 . 17            18,276.94
                                                                                              Your federal taxable wages this period are
     Overtime                          10 . 92           59.76               1,528.72
                                                                                              $1,269.30
     Holiday                            8.00            137 ,02                407.02
                                                                                              Your MS laxablu wages lhis period are
     Vacation                          24.00            411 .07                685.11
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     Bereavement                                                               270 , 00
     Bonus                                                                     500 , 00    Other Benefits and
     Sick                                                                      272 . 02    lnfonnation                       thi• period    tot.111 ID dllt&
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     Deductions'   statutory
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                   Federal Income Tax                   -63.09               1,052,52
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                   Social Security Tax                  -84 . 53             1,183.46
                                                                                           Vacation Days                                             3.00
                   Medicare Tax                         -19 , 77               276. 78
                                                                                           Yld ,101 K Maleh                                        130. 63
                   MS Slate Income, TaK                 -53.00                 796.00
                                                                                           401K Maleh                                               31.35
                   Other
                   Cl Accidonl                          -13.37                 187 .18
                   Pop Dent.al                          -10.53~                1-47 .42
                   Pop Medical                         -189 _51•             2,653.14
                   Vision Pre Tax                        -3.66"                 51.24
                   401K Pre-Tx                          -94 . 02·              292.75




                   • EXcluded from federal taxable wages




     ,ime           DELTA SANrTATION OF MISSISSIPPI
                    2101 W. STA1'E ROAD 434
                                                                                                                             0004)0280309
                                                                                                                             07/10/2015
                    SUITE 316
                    LONGWOOD , FL           32779

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                    0000 BLANDON
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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 128 of 184 PageID 4031




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              Blandon, Dodd                                                     106659                                                                                 6/21/2015- 7/04/2015, S<!lccl<!d
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              1 Employcc(s) Selected

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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 129 of 184 PageID 4032




                                                                                                 Earnings           Statement
                                                                     389-0001
                     DELTA SANITATION OF MISSISSIPPI                                             Period Beginning:      07/05/201 S
                     2101 W. STATE ROAD 43'1                                                     Period Ending:         07/1812015
                     SUfTE 315                                                                   Pay Date:              07/24/2015
                     LONGWOOD, FL 32n9


                     TIIX1lblo Morfi.1I Stalua:    Mamod                                             DODD BLANDON
                     Excmpfjoo,JAJtow~                                                               800 MAGEE DRIVE APT 212
                        Fedem~               2
                        MS:                  2. $0.00 Yearly Examp5on,Spouse        Nol              P.O. BOX 3262
                                             Empl")'ed                                               BROOKHAVEN MS 39603


     Earnings                  rntio       hours         this parlod            yo:,.r to doto
     Regular                              ,s.n            1,096.19                19,373.13
                                                                                                   Your MS taxable wages this period are $913 . 90
     Overtime                             14.85                92.74               1,621.46
     Bereavement                                                                     270 . 00    Other Benefits and
     Bonus                                                                           500.00      Information               lhls poriod   b>bll ID dola
     Holiday                                                                          407 .02    Daily Rate                                   137 . 02
     Sick                                                                             272 . 02   Days Wlud Wk 1                                 3.00
     Vacation                                                                         685 .11    Days Wkrd Wk 2                                  5.00
                                                                                  23. 128 .74    Days Worked                                     8.00
                                                                                                 Vtd 401K Maleh                               154 .61
                   Statutory
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     Deductions
                   Federal Income Tax                        -27.55                1,080.07
                   Social Security Tax                       -61.08                1,244.54
                   Medicare Tax                              -14 . 28                291.06
                   MS S!Sle lno,me Tax                       -36  .oo                832.00
                   Other
                   er Accident                              -13 .37                   200.55
                   Pop Dent;:il                             -10.53°                  157.95
                   Pop Medical                             -189 . 51"              2,842.65
                   Vision Pre Tax                             ·3.6B"                   54 .90
                   401K Pro -Tx                             • 71 .33•                 364.08

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                      Your l'ederaf taxable wages· this period are $913. 90




                    DELTA SANO-ATION OF MISSISSIPF>I                                             Advice number:            00000300315
                    2101 W. STATE ROAD 434                                                                     it          07/24/2015
                    SUITE 315
                    LONGWOOD , FL 32779

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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 130 of 184 PageID 4033




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                  Blandon, Dodd                                                     106659                                             7/05/2015- 7/18/2015, Selected
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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 131 of 184 PageID 4034




                                                                                                    Earnings         Statement
                                                                      3B1..Q001
                      DEL TA SANfTA TION OF MISSISSIPPI                                             Perfod Beginning:        07/19/2015
                      2101 W. STATE ROAD 434                                                        Period Ending:           08/01/2015
                      SUITE 315                                                                     Pay Dalo:                08/07/2015
                      LONGWOOD, FL 32n9


                      Taxablo MorilBI Slol\1$!     M3ctiad                                              DODD BLANDON
                      Exempllono/Alb\0/dnc<!S:                                                          800 MAGEE'. DRIVE APT 212
                        Fedol'III:          2
                        MS:                 :i. so.oo Ymlllr l:l<llmpUan,Spouoo       Not
                                                                                                        P.O. BOX 3262
                                            Empla~Od                                                    BROO!<HAVEN MS 39603


      Earnings                             houn,         this period              yo:ir lo da1.o
      Regular                             80.00              1,233.22               20,606.35
                                                                                                      Your federal taxable wages this period are
      Overtime                            21.41                131 . 29              1,752.75
                                                                                                      $1 , 062.95
      Bereavemenl                                                                       270.00
                                                                                                      Your MS taxable wages this period are
      Bonus:                                                                            500 .00
                                                                                                      S1,062.95
      Holiday                                                                          407 . 02
      Sid<                                                                             272.02       Other Benefits and
      Vacation                                                                         685 . 11     Information                   1111a porfod   lot:,1 ID dato
                                                                                    24,493.25       Dally Rate                                         137 .02
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      Deductions    Statutory
                                                                                                    oays Waited                                          9. 00
                    Federal lncomo ,ax                         -42.45                1,122.52
                                                                                                    Yid 401K Maleh                                     181 . 90
                    Social Security Tax                        -70.98                1,315.52
                                                                                                    401K Match                                          27.29
                    Medicare Tax                               -16 .60                 307.66
                    MS State Income Tax                        -43 . 00                875.00
                    Other
                    Cl Accident                                -13.37                   213.92
                    Pop Dental                                 ·20. 93•                 178 .88
                    Pop Medlc:al                              -195. 09•              3 , 037 . 74
                    Vision Pra Tax                               ·3,67"                   58.57
                    401K Pre•TK                                -81 . 87"                 445.95

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                    • Excluded from federal taxable wage,;




     WiifP           DELTA SANITATION OF MISSISSIPPI
                     2101 W. STATE ROAD 434
                                                                                                                                  0D0003203D6
                                                                                                                                  08/0712015
                     SUITE 315
                     LONGWOOD , FL 32779

                     DeposltGd       to tho account                                                                     transit    ABA                amount
                     DODD BLANDON                                                                                       lOOO<     xxxx               $876 .55




                                                                                                              NON-NEGOTIABLE




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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 132 of 184 PageID 4035




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                 Blnndon, Dodd                                                     106659                                                    7/19/2015• 8/01/2015, S1!l1!ctt1d
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                1 Employee(s) Selected
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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 133 of 184 PageID 4036




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                                                                         379-0001
                      DELTA SANITATION OF MISSISSIPPI                                               Period Beginning:          08/0212015
                      2f01 W. STATE ROAD 434                                                        Period Ending:             08/15/2015
                      surrE 3ts                                                                     Pay Dole:                  08/21/2015
                      LONGWOOD. FL 32779


                     Toxablc MorltnJ S111ws: Mankld                                                     DODD BLANDON
                     ExcmpUono/AUowoneeo:                                                               800 MAGEE DRIVE APT 212
                       Fcdcml:            2
                       MS:                2. SO.CO Ycorly Ext>mpUcn,Spouoc             Nol
                                                                                                        P.O. BOX 3262
                                              Employed                                                  BROOKHAVEN MS 39603


     Earnings                   rnlo         hourn           u,r,   porlod          yoor to dm
     Regular                                79 . 72          1,233 . 22              21,839.57
                                                                                                      Your federal taxable wages this period are
     Overtime                               '18.76             109.37                 1. 662. 12
                                                                                                      $1 ,042,34
     Bereavement                                                                         270 .00
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     Bonus                                                                               500 .00
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     Holiday                                                                             407 . 02
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                                                                                     25,835 . 84    Dnily Rate                                             137 . 02
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     Deductions    . Stattitoiy
                                                                                                    Days Worked                                              9.00
                    Federal Income Tax                           -40 .39              1,162.91
                                                                                                    Yld 401 K Maleh                                        208.75
                    Social Security Tax                          -69,62               1,385.14
                                                                                                    401K Maleh                                              26.85
                    Medicare Tax                                 -16 .28                323 . 94
                    MS Stale Income Tax                          -42.00                 917 .00

                   Other
                   Cl Accident                                  -13 .37                 227 .29
                   Pop Dental                                   -20 . 93'               199 .81
                   Pop Medical                                 -195. 09·              3,232.83
                   Vision Pre Tax                                .3 .67"                 62.24
                   401K Pre -T.x                                -80 .56'                526 .51

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                     DELTA SANITATION OF MISSISSIPPI                                                Advice number.                 0000D340309
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                     2101 W. STATE ROAD 434                                                                                        08/21/2015
                     SUITE 315
                     LONGWOOD , FL 32779

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                     DODD BlANDON                                                                                           xxxx   lOOO(                  $860 .68




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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 134 of 184 PageID 4037




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                Blandon, Dodd                                                   106659                                                       8/02/2015 • 8/15/2015, Sel!!cled
                                                                                                                                             Range of Datos


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               1 Employee(s) Selected



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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 135 of 184 PageID 4038




                                                                                                     Earnings Statement
                                                                       3G8-Q001
                           DELTA SANITATION OF MISSISSIPPI                                           Period Beginning:       08/1612015
                           2101 W. STATE ROAD 434                                                    Period Ending:.         08/29/2015
                           SUITE 315                                                                 Pay Date:               09/04/2015
                           LONGWOOD, FL 32779


                           n,xablo Montnl S"11uo:        Married                                         DODO BLANDON
                           Exompllano//lllawnn.:,,o:                                                     800 MAGEE DRIVE APT 212
                              Flldor:il:          2
                              MS:                  2, SO.GO Yaorly ExcmpUon,Spouoo     Nal               P.O. BOX 3262
                                                  Employed                                               BROOKHAVEN MS 39603


     Enrnings                                  houn:        U>I• paliod           yoar ID da1a
     Regular                                  80 . 00        1,370.24                23,209.81
                                                                                                       Your federal taxable wages lhis period arc
     Overtime                                 23 . 17          153 . 86               2,015.98
                                                                                                       $1,212.96
     Bereavement                                                                        270.00
                                                                                                       Your MS taxable wages this pe,iod are
     Bonus                                                                              500 .00
                                                                                                       $1,212.96
     Holiday                                                                            407 .02
     Sick                                                                               272.02       Other Benefits and
     VaC3lion                                                                           685 . 11     Information                   lh~ porlod    lx>t!I lo dat.o
                                                                                     27,359.94       Daily Rate                                         137 .02
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     Deductions          Statutory
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                         Federal Income Tax                     -57 .45               1,220.36
                                                                                                     Yid 401K Maleh                                     239 .24
                         Social Security Tax                    - 80 .87              1,466.01
                                                                                                     401K Match                                          30.49
                         Medicare Tax                           - 18. 92                342 .86
                         MS State Income Tax                    -50. 00                  9o7 . 00

                         Otltor
                         Cl Accident                            -13. 37                 240.66
                         Pop Denial                             -20 . 93'               220 . 74
                         Pop Medical                           -195.09'               3,427.92
                         Vision Pre Tax                          -3 . 67'                65 . 91
                         401K Pre-TX                            -91 . 45"               617 , [ti,

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                          DELTA SANrrATION OF MISSISSIPPI                                                                          00000360305
                          2101 W. STATE ROAD 434                                                                                   09/04/2015
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                          LONGWOOD • FL             32779

                          Cc osllr.d    lo tho account                                                                   lrnnslt    ABA                amount
                          D00D BLANDON                                                                                   lOOO(     XXlC(              S992 .35




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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 136 of 184 PageID 4039




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               Blandon, Dodd                                                            106659                                              8/16/2015- 8/29/2015, Selected
                                                                                                                                            Range of Dates
               1 Ernployee(s) Selected

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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 137 of 184 PageID 4040




                                                                                                    Earnings             Statement
                                                                       374-0001
                     DELTA SANfrAT10N OF MISSISSIPPI                                                 Period Beginning:        08/30/2015
                     210f W. STArE ROAD 434                                                          Period Ending:           09112/2015
                     SUITE 31S                                                                       Pay Date:                0911812015
                     LONGWOOD, FL 32779


                     TaJOJblo Marital S!zll<Js:    Moniod                                                 000D BLANDON
                     ExompUanoli'Jlowoncc,;                                                               800 MAGEE DRIVE APT 212
                        Fcdeml;             2
                                                                                                        . P.O. BOX 3262
                        MS:                 2, $0,00 Yeo~y Excmplkm,Spousc            Not
                                            Employed                                                      BROOKHAVEN MS 39603



     Earnings                  n,12,       houro          lhlu porfod             yo.ir to da'lo
     Regular                              80.00             1,233.21                24,443.02
                                                                                                        Your federal tar.able wages this period are
     Overtime                             16.30               105,95                 2,121.93
                                                                                                        $1 , 296.72
     Hofrday                                8.00              137.02                   544 .04
                                                                                                        Your MS taxable wages this period are
     Sick                                   8.00              137 . 02                 409 . 04
                                                                                                        $1,296.72
     Bereavement                                                                       270.00
     Bonus                                                                             500 .00       Other Bonents ond
     Vacation                                                                          685 .11       lnformntlon                    lhlu por1od   tct:11 to d o!o
                                                                                    28,973.14         Daily   Rafe                                       137 .02
                                                                                                      Days    Wkrd Wk 1                                     4 . 00
                                                                   •·•,_,                           . Days    Wkrd Wk 2                                   . 5.00
     Deductions    Statutory
                                                                                                      Days    Won<ed                                       9 . 00
                   Federal Income Tax                         -65.83                 1,286 . 19
                                                                                                     Hol!days                                               1.00
                   Sacral Security Tax                        · 06.40                1,552.41
                                                                                                     Sick Days                                              1.00
                   Medicare Tax                               -20 . 20                  363.06
                                                                                                     Ytd 401 K Match                                    271 .51
                   MS State Income Tax                        ·55 . 00               1 ,022 .o·o
                                                                                                     401K Maleh                                          32 . . 27
                   Olhor
                   Cl Accident                                ·13 . 37                   254 . 03
                   Pop Dental                                 •W.93'                     241 .67
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                   Vision Pre Tax                              •J . 57•                   69 . 58
                   401K Pre-Tx                                -96. 79•                   714 .75

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                   " Ex_cludc.d from federal tixablo wages




                    DELTA SANITATION OF MISSISSIPPI                                                  Advice number.                 00000380312
                    2101 W. STATE ROAD 434                                                           Pay dale:_  4                  09/18/2015
                    SUITE 315                                                                             ...: fil   ~
                    LONGWOOD , FL                 32779                                                        ~
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                    Oo o6l!cd to tho account of                                                                           transit     AB/\              amount
                    0000 BLANDON                                                                                           XXloC X!OCX              S1 ,055.92




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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 138 of 184 PageID 4041




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              Blandon, Dodd                                                     106659                                                       8/30/2015 • 9/12/2015, Selncted
                                                                                                                                             Range or Dates
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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 139 of 184 PageID 4042




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                                        i=i-: :t·t~:n-hriif                                              Earnings          Statement
                                                                        :369-0001
                       DELTA SANITATION OF MISSISSIPPI                                                   Period Beginning:       0911312015
                       2101 W. STATE ROAD 434                                                            Period Ending:          09/26/2015
                       SUITE 315                                                                         Pay Dole:               10102/2015
                       LONGWOOD, FL 32779


                       TaXOblO M~rilOI Sl:IIIJS:    Mall~!<!                                                 DODO BLANDON
                       ExompUon,/Alfow~ncc~:                                                                 800 MAGEE DRIVE APT 212
                         Fedor.ii:            2
                          MS:                 2, SO.OD Yoarty ExcmpUon.Spou,o           Nol
                                                                                                             P.O. BOX 3262
                                              Employed                                                       BROOKHAVEN MS 39603


     Earnings                               h01J111           ltilo period          yoar lo dlrto
     Regular                               BO.OD              1,233.22               25,676.24
                                                                                                           Your federal taxable wages this period are
     Overtime                              16 .11               104. 72               2,226 . 65
                                                                                                           S1 ,037.97
     Bereavement                                                                        270.00
                                                                                                           Your MS taxable wages this period are
     Bonus                                                                              500.00
                                                                                                           S1 ,037 .97
     Holiday                                                                            544 . 04
     Sick                                                                               409 .04          Other Benefits and
     Vacation                                                                           6B5 .11          lnformntion                   U,ls ponod    lot.:il to d:ito
                                                                                     30,311.00           Daily Rate                                         137 .02
                                                                                                         Days 1/Vkrd \Mc 1                                    5.00
                                                                                                         Days 'M<rd Vl/k ~                                    4.00
    . Deductions   . Statutory,
                                                                                                         Days Worked ·                                             9.00
                     Federal Income Tax                          -39 . 95              1,326.14
                                                                                                         Ytd 401 K Maleh                                    298 . 27
                     Social Security Tax                         -69.33                1,621 . 74
                                                                                                         401K Maleh                                          26.76
                     Medicare Tax                                -16.22                  379 .28
                     MS State Income Tax                         -42, 00               1,064   .oo
                    Other
                   Ct Accident                                  -13 .37                  267 .40
                   Pop Dental                                   -20, 93•                 262.60
                   Pop Med1~1                                  -195.09·                3,818.10
                   Vision Pre T ,·x                               -3. 57•                 73.25
                   401K Pre-Tx                                  -BO .20•                 795 .03

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                   ~    Excluded from federal taxable wages

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                       DELTA SANITATION OF MISSISSIPPI                                                   Advice numbcr:                00000400302
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                       2101 W. STATE ROAD 434                                                            Pay dale: = ;g                10102/2015
                       SUITE 315
                       LONGWOOD , FL 32779
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                       0000 BLANDON                                                                                          lOOO(     X)00(              $657 .10




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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 140 of 184 PageID 4043




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                     Blandon, Dodd                                                    106659                                                        9/13/2015 • 9/26/2015, Selected
                                                                                                                                                    R~ngc of Dotes
                     1 Employee(s) Selected
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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 141 of 184 PageID 4044




                                                                                                Earnings            Statement
                                                                    38B-0001
                      DELTA SANrTA TJON Or MISSISSIPPI                                          Period Beginning:         09/27/2015
                      2101 W. STA TE ROAD 434                                                   Period Ending:            10110/2015
                      SUITE 315                                                                 Pay Date:                 10116/2015
                      LONGWOOD, FL 32n9


                      T.!lrablc Mnrilnl Sblus:    Married                                           DODD BLANDON
                      ExompUom:/AllaHnnc,:,:                                                        BOO MAGEE DRIVE APT 212
                        Fodcrnl:           2
                        MS:                2, Ul.00 Yearly Ex•mpdon,Sp!lu,e       1101
                                                                                                    P.O. BOX 3262
                                            Employed                                                BROOKHAVEN MS 39603


      Earning:i                r:ito                     11110 pdrtOd          yoar lo dolo
      Regular                            80.00              1,096.19             2s,n2.43
      Overtime                           12 .10                70.82             2,297.47
                                                                                                  Your MS laxablc wages lhis period are        san .30
      Boreavemcnt                                                                   270.00      Ottlor Boncllts and
      Bonus                                                                         500 . 00    Information                    1111• porlod   lolaal b> dolo
      Holiday                                                                       54-f .04    Dally Rate                                              137 .02
      Sick                                                                         409 . 04     Days 111/knl Wk 1                                         4 . 00
      Vac:,tion                                                                    685. 11      Days Wlml Wk 2                                            4.00
                                                                                31,478 . 09     Days Worked                                               8.00
                                                                                                Yid 401K Match                                          321 . 61
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     Deductions     s·tatutory
                    Federal Income True                       -23.69             1,350 . 03
                    Social Security Tax                       -58. 74            1,680.48
                    Medicare Tax                              -13. 73              393 . 01
                    MS State Income         Tax               -34 .oo             1,098.00
                    Olhor
                    Cl Accident                               -13.37                 260. 77
                    Pop Dental                                -20. 93•               283 . 53
                    Pop Medical                              -195. 09·           4 , 013.19
                    Vision Pro Tax                             -3.67·                 76 . 92
                    401K Pro-Tx                               -70 . 02'              665 . 05
                    NQriP.ay;e~t~p~:f;~it~~r.;1rn~~!~J?:"$Jf~•s~p1:
                    Checking                                 -733. 57




                    • Excluded from federal taxable wages
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                     DELTA SANITATION             OF MISSISSIPPI                                Advico number:                 00000420316
                     2101 W. STATE ROAD 434                                                     Pay dale: ,a!. fl              10/16/2015
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                     LONGWOOD , FL               32779

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                     DODD BLANDON                                                                                     lOOO(    xxxx                   $733 , 57




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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 142 of 184 PageID 4045




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                     Blandon, Dodd                                                        106659                                                            9/27/2015 - 10/10/2015, Selected
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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 143 of 184 PageID 4046




                                                                                                  Earnings        Statement
                                                                       381-0001
                      DELTA SANITATION OF MISSISSIPPI                                             Period Beginning:        10111/2015
                      2101 W: STATE. ROAD 434                                                     Period Ending:           10124/2015
                      SUITE 315                                                                   Pay Date:                ., 0/30/2015
                      LONGWOOD, FL 32779


                      Toxnblo Mnrilol Sl.tlluo:      Morr;cd                                          DODD BLANDON
                      E>:omp1iont./AHowon~:                                                           BOO MAGEE DRIVE APT 212
                         Federal:            2
                         MS:                 2, $0.00 Ycorly Excmp~oo.Spou,:,o       Not
                                                                                                      P.O. BOX 3262
                                             Employed                                                 BROOKHAVEN MS 39603


      Earnings                  rota        tiouru                                yoor lo d81D
      Regular                              80.00               1,370.24            28,142 . 67
                                                                                                    Your federal taxable wages U1ls period are
      Overtime                             19.90                 136.44             2,433 . 91
                                                                                                    $1,196.59
      Bereavement                                                                     270 .00
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      Bonus                                                                           500 . 00
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                    Social Security Tax                          -79.79              1,760.27
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                    Medicare Tax                                 -18.67                411 .68
                    MS Stale Income TaK                          -50.00              1,148.00
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                    Cl Ao:ldenl                                  -13 .37               294.14
                    Pop Dental                                   -20 ,93'              304 . 46
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                    Vi~ion Pre Tax                                ·3,67"                80.59
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                    • Excluded from federal tnxable wages

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                     DEL1A SANITATION                OF MISSISSIPPI                                                             00000440321
                     2101 W. STATE R0AD 434                                                                                     10/30/2015
                     SUl1E 315
                     LONGWOOD , FL 32779

                     Dopo~ltcd         to tho account of                                                              tran~it     ADA                  nrnount
                     DODD BLANDON                                                                                      XXXll.   lOOOC                 $978 .94




                                                                                                            NON-NEGOTIABLE




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                       Blandon, Dodd                                                         106659                                                   10/11/2015 • 10/24/2015, Selected
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                       1 Employee(s) Selected
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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 145 of 184 PageID 4048




                                                                                                     Earnings                Statement
                                                                         ~02--0001
                           DELTA SANITATION OF MISSISSIPPI                                           Period Beginning:               10/25/2015
                           2101 W. STArE ROAD 431                                                    Period Ending:                  11/07/2015
                           SUITE 315                                                                 Poy Dale:                       11113/2015
                           LONGWOOD, FL 32779


                          T.w,blc Maritnl Stnruo:      Marrlod                                           DODD BLANDON
                          ExampUono/Nlowonc<:~:
                                                                                                         800 MAGEE DRIVE APT 212
                             Fodorol:          :!.
                             MS:               2, S0.00 Yeart~ ExcmpUon,SpouS<>         Nol              P.O. BOX 3262
                                               Emplc,ycd                                                 BROOKHAVEtl MS 39603


       Earnings                              houni           this porlod             yanr to dato
       Regular                              79.20                1,096.20             29,238.87
                                                                                                       Your MS taxable wages this period are SB23 • 70
       Overtime                               2 . 12                13.79              2,447 , 70
       Bereavement                                                                       270   .oo   Other BeneHts and
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       Holiday                                                                            544 .04    Dally   Rate                                                137 . 02
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       Vacation                                                                           685 .11    Days    V\lkrrl \Nk 2                                            4.00
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                        Federal lncoma Tax                        ·18.53                1,424.38
                         Soda! Security Tax                       -55.20                1,815.47
                        Medicare Tax                              -12.91                  424 .59
                        MS Stale Income Tax                       -31,00                1,179.00
                        Othor
                        Cl Accident                               -13.37                 307 .51
                        Pop Dental                                 ·20.93"               32.5.39
                        Pop Medic:il                             · i 95.09"            4,403.37
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                        • Excluded from federal tucable wages
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                         DELTA SANITATION              OF MISSISStPPI                                Advice number:.                     00000460328
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                         SUITE 315                                                                            ~~·~
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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 146 of 184 PageID 4049




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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 147 of 184 PageID 4050




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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 148 of 184 PageID 4051




                                                                                                     Earnings         Statement
                                                                        410.()001
                        DELTA SANITAnoN OF MISSISSIPPI                                               Period Beginning:       11/0812015
                        2101 W. STATF. ROAD 431                                                      Period Ending:          11121/2015
                        SUITE 315                                                                    Pay Dote:               1112712015
                       LONGWOOD, FL 32n9


                       Taxable Marilol S~1tu5:    ldarTiO~                                               DODO Bl.ANDON
                       Exompllon,/NtowanClls:
                                                                                                         BOO   MAGEE DRIVE APT 212
                         Fodaml:            2
                         MS:                2. $0.00 Yearly E>(CJ11pllon,Spuu:;,,      Not               P.O. BOX 3262
                                            Employed                                                     BROOKHAVEN MS 39603


       Earnings                  ralo         t,oun,        this potlod             yoor h> dalo
      Regular                               BO.OD            1 , 233 . 22            30,472 .09
                                                                                                       Your rederal t:ixable wages this period are
      Overtime                              18.7B               117 . 93               2,565.63
                                                                                                       $1,179.19
      Sick                                   8.00               137 .02                  S<l6 .06
                                                                                                       Your MS taxable wages this period are
      Bereavement                                                                        270 .00
                                                                                                       $1,179 . 19
      Bonus                                                                              500,00
      Holiday                                                                           544 .CM      Other Benefits and
      VacaUon                                                                           685 . 11     lnformnUcn                !his porlod       total to dato
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                     Federal Income Tax                         •54 . 08               1,478.46
                                                                                                     Sick Days                                          1.00
                     Social Security Tax                        -78 .64                1,694 . 11
                                                                                                     Yid 401K Maleh                                   403. 72
                     Medicare Tax                               - 18.39                  442 . 96
                                                                                                     401K Maleh                                        29 . n
                     MS State Income Tax                        -49 .00                1,226.00

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                     Cl Accident                                -13 .37                  320 . 86
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                      DELTA SANITATION OF MISSISSIPPI                                                                              00000480354
                      2101 W. STATE ROAD 434                                                                                       11/27/2015
                      SUITE 315
                      LONGWOOD , FL 32779

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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 149 of 184 PageID 4052




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               Blandon, Dodd                                                                   10GG59                                                    11/08/2015 • 11/21/2015, Selected
                                                                                                                                                         Range of Dates
               1 Employcc(s) Selected

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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 150 of 184 PageID 4053




                                                                                                Earnings Statement
                                                                  •11-(l001
                      DELTA SAN/TA noN OF MISSISSIPPI                                           Period Beginning:      11/08/2015
                      2101 W. srATE ROAD 434                                                    Poriod Ending:         11/21/2015
                      SUITE 315                                                                 Pay Date:              11127/2015
                      LONGWOOD, FL 32TT9


                      TolClbla Mnrilal Stnluo:     Morned                                           DODD BLANDON
                      Ei<omplion::/Allowanccs:                                                      800 MAGEE DRIVE APT 212
                        Fcdcml:             2
                        MS:                 2, SD.DD Yeorly ElaimpUon,Spauoo      llal
                                                                                                    P.O. BOX 3282
                                            E:mploy~d                                               BROOKHAVEN MS 39603


      Earnings                 rnto        houro        Ullo porlod           yo3r to d.'rlo
      Relro                                                  204.39                204.39
                                                                                                  Your federal taxable wages this period are S192 • 13
      Regular                                                                   30,472.09
                                                                                                  Your MS taxable wages !his period arc $192 • 13
      Overtime                                                                   2,565.63
      Bereavement                                                                   270.00      Other Benefits and
      Bonus                                                                         500   .oo   Information              lhlo poriod     tot.II to dote
      Holklay                                                                       544 .04     Dally Rate                                       274 . 04
      Sick                                                                          546 .06     Days IM<rd Wk 1                                         s.oo
      Vacalion                                                                      685 .11     Days Wkrtl Wk 2                                         4.00
                                                                                35,767 . 32     Days Worl<ed                                            9.00
                                                                                                Sick Dnys                                               1.00
                                                                                                Yld 401K Match                                   407 .81
      Deduclions    Statutory
                                                                                                401K Match                                          33.86
                    Social Security Tax                      -12.68              1,906.79
                    Modlcare Tax                              -2.96                 445.94
                    MS State Income Tax                       -3.00              1,231 .OD
                    Federal lncomo Tax:                                          1,470.46

                    Other
                    401K Pre-Tx                              -12. 26"            1,123.60
                    Cl Accident                                                    320 . 88
                    Pop Dental                                                     346 .32
                    Pop Medical                                                  4,598.46
                    Vision Pre Tax                                                  87.93
                    ij~r,;r1?&if~1i~l\•~K~%.~mi~im~.\EiJt.~:r~~-~).
                    Checking                                -173 .49




                    • Excluded from federal taxable wage5
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                     DELTA SANITATION OF MISSISSIPPI                                                                     000004803S5
                     2101 W . STATE ROAD 434                                                                             11/27/2015
                     SUITE 315
                     LONGWOOD , FL 32n9

                     Dopoollod        10 tho account                                                                tmn~ll ABA                   ~mount
                     0000 BLANDON                                                                                    lOOOC XXXX                 $173 .49




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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 151 of 184 PageID 4054




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                                                                        742-0001
                                                                                 p~;;i!                     Earnings               Statement
                     DELTA SANITATION OF MISSISSIPPI                                                        Period Beginning:            11/22/2015
                     2101 W. STATE ROAD 434                                                                 Period Ending:               12/05/2015
                     SUITE 315                                                                              Pay Date:                    12/11/2015
                     LONGWOOD, FL 32779


                     TQ/COble l\4unlnl SUllus:    Monicd                                                        DODD BLANDON
                     ExernpUonc/Allowon=:                                                                       800 MAGEE DRIVE APT 212
                        Fodcml:             2
                        1\4S:               2, $0.00 Yoa1ly Excrnp6on,Spauoo               Not
                                                                                                                P.O. BOX 3262
                                              Employed                                                          BROOKHAVEN MS 30003


     Earnings                  rato         houns          ttllo porlod              year 10 dolo
     Regular                               40.00               685 .12                    31 .157 .21         Your federal taxable wages this period am
     Overtime                              10,70                72.30                      2,637.93           $1,265.10
     Holiday                                8,00               137.02                         681 .06         Your MS taxablo wagos this period arc
     Vacallon                              40 . 00             685 .12                     1,370.23           S1 ,265.10
     Bereavement                                                                              270 .oo
                                                                                                            Other Benefits and
     Bonus                                                                                    500.00
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     1'1chu                                                                                  :!04 . ;J!:J
                                                                                                            Dally Rate                                        137 .02
     Sick                                                                                    546 . 06
                                                                                                            Days 'Mlrd 'Ml 2                                    5.00
                                                                                          37,366.88
                                                                                                            Oays_ Worked                                        5.00
                                                                                                            Holldays                                            i.00
     Deductions    Statutory                                                                                Vacation Days                                       5.00
                   Federal Income Tax                          ·62.67                      1,541.13         Ytd 401K Maleh                                    439,40
                   Social Security Tax                          -84 .31                    I ,991 .10       -401K Maleh                                        31 .59
                   Medicare Tax                                 -19.72                        465 .66
                   MS Stato Income Tax                          •53.00                     t ,284 .00

                   Other
                   Cl Accident                                 -13 .37                       334 .25
                   Pop Dental                                  -20 ,93•                      367 .25
                   Pop Medical                                -195 .09•                    4 .793.55
                   Vision Pre Tax                               -3.67·                         91·.60
                   401K Pre-Tx                                 -94 .n·                     1,218 . 37

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                    DELTA SANITATION OF MISSISSIPPI                                                         Advice number:                    00000500353
                    2101 W. STATE ROAD 434                                                                  Pay date:_ ;t,.   if              12/11/2015
                    SUITE 315                                                                                        ~~~
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                    LONGWOOD • FL 32779

                    D  sited to tho account of                                                                                      trnnoll    ABA            amount
                    DODD BLANDON                                                                                                     XXlO(    xxxx          $1,032.03




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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 152 of 184 PageID 4055




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              Blandon, Dodd                                             106659                                           11/22/2015 • 12/05/2015, Selected
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             1 Employee(s) Selected

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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 153 of 184 PageID 4056




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                                                                           420-0001
                      DE:LTA SIIN!TAilON OF MISSISSIPPI                                                      Period Beginning;       12106/2015
                      2101 W. STATE ROAD 434                                                                 Period Ending:          12/19/2015
                      SUITE 315                                                                              Pay Dale:               12124/2015
                      LONGWOOD, FL 32779


                      Tnxablc Mamlll Slalu,:        Maniad                                                       0000 BLANDON
                      !t«>mptionn/Allownnc,:s:
                                                                                                                 800 MAGEE DRIVE APT 212
                         Fadcrnl:           2
                         MS:                2, SO.OD Yoarfy ExcmpUM,Spou~c                      Nol
                                                                                                                 P.O. BOX 3262
                                            Employed                                                             BROOKHAVEN MS 39603


      Earnings                             houns               Ulls p0rfod              y•~r to doto
      Regular                             ea.co                1,507 . 27                    32,664.48         Your federal taxable wages this period are
      Overtime                            23.30                  171. 19                      2,809.12         $1,358.0G
      Bereavement                                                                                 270.00       Your MS taxable wages this period are
      Bonus                                                                                       500.00       S1 ,358.06
      Hollday                                                                                     681 .06
      Retro
                                                                                                             other Benefits and
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      Sick                                                                                        546 .06
                                                                                                             Daily R:ite                                          137 . 02
     Vacation                                                                                 1,370.23
                                                                                                             Days \l\lkrd Wk                                        6.00
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     Deductions     Statutory                                                                                Yld 401 K Maleh                                     •172.97
                    Federal Income Tax                            •7.2 . 46                   1,613 . 59     4D1K Maleh                                             33.57
                    Social Security True                          -90-44                      2,081.5'1
                    Medicaro Tax                                  ·21.15                        486 .81
                    MS State Income Tax                           -58 . OD                    1,342.00
                    Olhor
                    Cl Accident                                  ·13. 37                          347.62
                    Pop Dent~!                                   -20. 93•                         380.18
                    Pop Mcdlcal                                 -195 . og•                    4,988.64
                    Vision Pre Tax                                -3.67'                         95.27
                    401K Pre-TX                                 -100 , 71•                    1,319.0B

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                     DELTA SANITATION OF MISSISSIPPI                                                         Advice number:                00000620382
                     2101 W. STATE ROAD 434                                                                                                12/24/2015
                     SUITE 315
                     LONGWOOD , FL 32779

                     Coposltod      to tho account or                                                                            trnnslt     ABA                 nmount
                     DODO BLANCON                                                                                                 xxxx xxxx                S1, 102 ,64
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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 154 of 184 PageID 4057




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                  Blandon, Dodd                                                                  106659                                                                   12/06/2015 . 12/19/2015, Selected
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               1 Employee(s) Selected
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              Tue 12108                                                               6:25AM                                          5:02PM                                                            ;                        10.62                 18.87
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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 155 of 184 PageID 4058




                                                                                                              Earnings Statement
                                                                         419--0001
                     DELTA SAN/TATTON OF MISSISSIPPI                                                          Period Beginning;         12/201.2015
                     2101 W. STATE: ROAD 434                                                                  Period Ending:            01/0V2016
                     SUITE: 315                                                                               Pay Date:                 01/0812016
                     LONGWOOD, Fl 32779


                    Tax.,blc, Morilol s1n1u,:        Monied                                                       DODO BLANDON
                    ExompUono/AllowanCl?.!I:                                                                      800 MAGEE DRIVE APT 212
                        Fedeml:               2
                       MS:                    2. $0,00 Yea~y Exampllon,Spouoo                 Not                 P.O. BOX 3262
                                              Employed                                                            BROOKHAVEN         MS 39603



     Earnings                               houro           lhlo porfod               yoar to doh>
     Regular                               80 . 00           1,370.24                         1 , 370.24
                                                                                                                Your MS taxable wages this period are
     Overtime                              11 .58                85.56                             85 . 56
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     Holiday                               16.00                274 . 04                          274 . 04
                                                                                              1,729 . 04      Other Benefits   and
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                                                                                                              Daily Rate                                           137 .02
     Deductions    Statutory
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                   Federal lncomc Tax                           -79 .22                             79.22
                                                                                                              Days \Mud Wk 2                                            5. 00
                   Social Security Tax                          -93 . 63                            93 . 63
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                   Medicare Tax                                 - 21.90                             21.90
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                  ·MS Stale income Tax -                        - 60.00                             60 .00
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                  Othor                                                                                       401K Match                                             34.59
                  Cl Accident                                   -13 .37                          13 . 37
                  Pop Dental                                    -20 ,93•                         20 •. 93
                  Pop Medical                                  -195.09'                         195.09
                  Vision Pre Tax                                 -3 . 67"                         3.67
                  401K Pre -Tx                                -103.80'                          103 .80

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                  • Excluded from federal taxable wages

                     Your rederal taxable wages this period are
                     S1,406.35




                   DELTA SANITATION OF MISSISSIPPI                                                                                           00000010358
                   2101 W . STATE ROAD 434                                                                                                   01/08/2016
                   SUITE 315
                   LONGWOOD , FL 32n9

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                   ODDO BLANDON                                                                                                    xxxx xxxx                 $1,138.23




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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 156 of 184 PageID 4059




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              Blandon, Dodd                                                             106659                                       12/20/2015 • 1/02/2016, Selected
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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 157 of 184 PageID 4060



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                   DELTA SANITATION OF MISSISSIPPI
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                   2101 W. STATE. ROAD 434
                                                                                                    Pay Date:                      01/22/2016
                   SUITE 315
                   LONGWOOD, FL 32ng


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                                                                                                        DODD BLANDON
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                                                                                                        BROOKHAVEN MS 39603
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                              r:ito        hour.          Ilda parlod           yo:,r ID data
     Earnings
     Regular                               71.97              1,096.19             2,466.43           Your federal mxoble wages this period are
     Overtime                              16.58                100,38                165 .94
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     Bonus                                                      250 . 00             250.00
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                    Social Security Tax                         -93.06                166.69
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                    Medicare Tax                                -21. 76                43.66
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                    MS State Income Tax                         -60.00                120 .00
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                  Other                                                                             401K Match                                             29 .'11
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                  Vision Pre Tax                                 -3.67·                 7 . 34
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                   LONGWOOD , FL                32779
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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 158 of 184 PageID 4061




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                  Blandon, Dodd                                                     106659                                   1/03/2016 • 1/16/2016, Selected
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                  1 Employee(s) Selected

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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 159 of 184 PageID 4062




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                                                                                                   Earnings         Statement
                      D£LTA SAN/TA noN OF MISSISSIPPI                                              Pcriod Beginning:        01/17/2016
                      2101 W. STltTE ROAD 434                                                      Period Ending:           01/30/2016
                      SUITE 3f5                                                                    Pay Dale:                02/05/2016
                      LONGWOOD, FL 32TT9


                      Toxoblo Mnr~ol S1nlus:        Married                                            0000 BLANDON
                      ExcmpUons/Allowancos:                                                            800 MAGEE DRIVE APT 212
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                          MS:                2, S0.00 Yoorty Excmpfon.Spou:10         Nol              P.O. BOX 3262
                                             Employed                                                  BROOKHAVEN MS 39603


     Earnings                   rnlo        houm           thlu porlod             yo,r to dato
     Regular                               80.00              1,233.22               3,699.65
                                                                                                     Your federal taxable wages this period are
     Overtime                              12.78                 es.n                  271. 71
                                                                                                     $1.020.16
     Bonus                                                                             250.00
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     Holiday                                                                           274. 04
                                                                                                     $1,020.16
     Sick                                                                              137. 02
     Vacalion                                                                          137. 02     Othor Benefits ;:md
                                                                                     4,769.44      Information                   !hi• poriod   lot.ti to d~lo
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                    Social Security Tax                         -66. 15                 254.84
                                                                                                   Yid 401K Match                                           90 .39
                    Medicare Tax                                -15 . 94                 59.60
                                                                                                   401K Maleh                                               26 . 39
                    MS Stale Income Tax                         •41 .oo                 161 .00
                    Othor
                    Cl Accident                                -13 .37                   40 . 11
                    Pop Denlal                                 -20.93"                   62. 79
                    Pop Medical                               -195 .09'                 585. 27
                    Vision Pre Tax                              -3 .67"                  11. 01
                    401K Pre-Tx                                -79,14"                  271 .17
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                    Checking                                  -843 . 72




                   • Excluded from federal taxable wages



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                     DELTA SANITATION               OF MISSISSIPPI                                                               00000050364
                     2101 W. STATE ROAD 434                                                                                      02/05/2016
                     SUITE 315
                     LONGWOOD • FL               32n9
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                     DODO BLANDON                                                                                      XXXl(     xxxx                 $043. 72




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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 160 of 184 PageID 4063




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               Blandon, Dodd                                                          106659                                                         1/17/2016, 1/30/2016, Selected
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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 161 of 184 PageID 4064




                                                                                              Earnings         Statement
                                                                 4J9 -0001
                    DELTA SANITATION OF MISSISSIPPI                                           Period Beginning:       01/31/2016
                    2101 W. STA TE ROAD 434                                                   Period Ending:          02113/2016
                    SUITE 315                                                                 Pay Date:               02/19/2016
                    LONGWOOD, Ft. 32779


                    Toxoblo Morilol Stnlu:::   MotTlcd                                            0000 BLANDON
                    Excmpliono/AllowonC<1s:                                                       800 MAGEE DRIVE APT 212
                      FC<lcral:          2
                      MS:                2. $0.00 Vcolfy Excmption,Spou,a       Not
                                                                                                  P.O. BOX 3262
                                         Employod                                                 BROOKHAVEN MS 39603


     Earnings                r.J!o       !laura       thlo porlo<J           yanr to dotu
     Regular                           80.00           1,233 . 22               4,932.67
                                                                                                Your MS taxable WJges this perlocJ are $966 • 70
     Ovcrlime                            6.65              50.18                  321 .89
     Bonus                                                                        250.00      Othor Benellts and
     Holiday                                                                     274 ,04      Information                   thin f)<l~od   lat.I   to dnto
     Sick                                                                        137.02       Daily Rate                                           137 .02
     Vacalion                                                                    137.02       Days 1/1/krd Wk                                         4.00
                                                                               6,052.84       Days Vllkrd Wk 2                                       5.00
                                                                                              Days Worked                                            9 . 00
                                                                                              Yid 401K Match                                       116 .07
     Deduction~   Statutory -
                                                                                             , 401K Maleh                                            25.66
                  F'cdcral lilcomo Tax                    ·34 .63                 232 ,00
                  Social Security Tax                     ·65.95                  320 .79
                  Medicare Tax                            -15 ,42                  75 .02
                  MS State Income Tax                     -39 , 00                200 . 00

                  Olhor
                  CJ Accident                             -13 ,37                  53 . 46
                  Pop Dental                             -20, 93•                  63. 72
                  Pop Medical                           ·195.09"                  760 .36
                  Vision Pre Tax                           -3 . 67"                14.08
                  401K Pre -Tx                            -n.01·                  348 .18

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                  Chccklng                              -818.33




                  • Excluded from federal taxable wages
                    Your federa l taxable wages this parfod arc $986 • 70




                   DELTA SANITATION OF MISSISSIPPI                                            Advice number:                00000070376
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                   2101 W. STATE ROAD 434
                   SUITE 315
                   LONGWOOD , FL a2m1

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                   0000 BLANDON                                                                                                                    S818 .33




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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 162 of 184 PageID 4065




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               Blnndon, Dodd                                                      106659                                              1/31/2016 • 2/13/2016, Selected
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               1 Employec(s) Selected
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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 163 of 184 PageID 4066




                                                                                                              Earnings         Statement
                                                                                   4SS-0001
                      DELTA SANITATION OF MISSISSIPPI                                                         Period Beginning:       02/14/2016
                      2101 W. STATE ROAD 434                                                                  Period Ending:          0212712016
                      surrE 31s                                                                               Pay Dale:               03104/2016
                      LONGWOOD, FL 32779


                      Twwblo Marillll Slnluo:               Mmrlod                                                0000 BLANDON
                      ExcmptioiwAIID'I/0rlCl!O:                                                                   800 MAGEE DRIVE APT 212
                        Fcdaml:               2
                        /.1S:                 2. S0.00 Yi,a~y E:u:rnption.Spouoo                 Hot
                                                                                                                  P.O. BOX 3262
                                                    Employ•~                                                      BROOKHAVEN        MS 39603


      Enming:i                     r.ilo           houru             111'• porlod             yoar la dblo
      Regular                                    80.00                1,370 , 24                6,303.11
                                                                                                                Your federal taxable wages this period are
      Over1ime                                    6.62                      53 . 75               375 . 64
                                                                                                                $1,118.06
      Bonus                                                                                       250,00
                                                                                                                Your MS taxable wages this period are
      ~lolfday                                                                                    274 .04
                                                                                                                $1,118.86
      Sick                                                                                        137 .02
      Vacallon                                                                                    137 ,02     other Benefits and
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                   Federal Income Tax ·                                   ~47'.85                  279 .85
                                                                                                              Days    Worked                                       10 . 00
                   Social Security Tax                                    -74 .67                  395 , 46
                                                                                                              Yid 401K Match                                      144.56
                   Medicare- Tax                                          .17 .47                   92 . 49
                                                                                                              401K Mat.ch                                          28.-19
                   MS State Income Tax                                    - 46 .00                 246 .00
                   Other
                   Cl Accident                                            -13.37                    66 , 85
                   Pop Dental                                             -20.93•                  104 ,65
                   Pop Medical                                          ·195,09'                   975 .45
                   Vision Pre Tax                                           •3 , 67'                18.35
                   401K Pre - Tx                                          .95 , 44•                433 . 62
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                     DELTA SANITATION                       or-    MISSISSIPPI                                Advice number:             00000090394
                     2101 W. STATE ROAD 434                                                                                              03/04/2016
                     SUITE 315
                     LONGWOOD _, FL 32779

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                    DODD BLANDON                                                                                                   :oooc lO()(l(                 $919.50




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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 164 of 184 PageID 4067




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                 Blnndon, Dodd                                                             106659                                             2/14/2016 • 2/27/2016, Selected
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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 165 of 184 PageID 4068




                                                                                                     Earnings Statement
                                                                         41D-IIDDI
                        DELTA SANITATION OF MISSfSS/PPf                                              Period Beginning:        02/20'2016
                        2101 W. STATE ROAD 434                                                       Period Ending:           03(12/2016
                        SU/Tc 315                                                                    Pay Dale:                03(18/2016
                        LONGWOOD, FL :nn9


                       Taxable Maritnl Sliliuo:       Mortlod                                            DODO BLANDON
                       Exompllons/Allowonccs:
                                                                                                         800 MAGEE DRIVE APT 212
                           Fodcml:            2
                           MS:                2, SD.DO Ye,,1ly E:.cmpUon,Spousc         Nol              P.O. BOX 3262
                                              Employed                                                   BROOKHAVEN MS 39603


      Earnings                              hOUl'll         thlu Pflrlod             yoar ta dalO
     Regular                               75 .31               1,096.19                7,399 . 30
     Overtime                                                                                          Your MS taxable wages this period are S810 . 73
                                                                                          375 . 64
     Bonus                                                                                250.00     Other Benefits and
     Holiday                                                                              274 ,04    lnformntion                   thlo poticd   lob\l to d:,u,
     Sick                                                                                 137 .02    Dally Rate                                        137 .02
     Vacation                                                                             137 , 02   Days VVkrd Wk                                        4 . 00
                                                                                        8,573.02     Days VVkrd Wk 2                                     4.00
                                                                                                     Days Worked                                         6.00
                                                                                                     Y!d 401K Match .                                  166 , 48
     Doductions· ·, Statutory ·.  - _-
                                                                                                     401K Match. ·
                     Federal Income Ta,c                                                                                                                21.92
                                                                 -17 . 04                 296 .89
                     Social Security Ta,c                        -54 . 34                 449.80
                     Medicare Tax                                -12, 71                  105.20
                     MS State Income Tax                         ·30.00                   276 . 00
                     01her
                     Cl Ac:ddent                                 ·13 .37                   80 . 22
                     Pop Dental                                  - 20 . 93•              125 .56
                     Pop Medical                                -195 .os·              1,170.54
                     Vision Pre Ta,c                               -3.67"                 22.02
                     401K Pre-Tx                                 -65. 77"                 499 . 39
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                     Checking                                   •683. 27




                     • Excluded from fodcral taxable wages
                       Your federal taxable wages lhls period arc $810 . 73




                      DELTA SANITATION OF MISSISSIPPI                                                                              00000110387
                      2101 W . STATE ROAD 434                                                                                      03/1812016
                      SUITE 315
                      LONGWOOD , FL 32i79

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                      DODD BLANDON                                                                                       lOOC(     )00()(            S683 .27




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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 166 of 184 PageID 4069




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                     Blandon, Dodd                                                                106659                                                  2/28/2016-3/12/2016, Selected
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                     1 Employee(sl Selected




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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 167 of 184 PageID 4070




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                                                                              426-0001
                       DELTA SANITATION OF MISSISSIPPI                                                           Period Beginning:         03/13/2016
                       2101 W. STATE: ROAD '134                                                                  Period Ending:            03/26/2016
                       SUIT£ 315                                                                                 Pay Date:                 04/01/2016
                       LONGWOOD, FL 32779


                      Ta,,.iblo M•~llll SIDlu,:          Morned                                                       DODO BLANDON
                      ExcmpUon,//IJlownn=:                                                                            800 MAGEE DRIVE APT 212
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                          IAS:                    2. SO.OD Yearly Excmplion,Spou•o                Nol
                                                                                                                     P.O. BOX 3262
                                                  l:mp(oyc<J                                                         BROOKHAVEN MS 3960J



      Earnings                    r.rtD         hour11           lido porfOd               yo,r    to dotD
      Regular                                  80.00              1,233.22                       8,632 . 52
                                                                                                                   Your federal taxable wages U1is period are
      Overtime                                 14.28                 92.63                         468.27
                                                                                                                   $1 • 155 .41
      Vacalion                                  8 . 00              137.02                         274 .04
                                                                                                                   Your MS laxable wages this period are
      Bonus                                                                                        250 .00
                                                                                                                   $1,155.41
      Holiday                                                                                      274 . 04
      Sick                                                                                         137 .02      Other Benefits and
                                                                                                10,035.89       Information                  !hi• porlod    tot.'11 to datD
                                                                                                                  Daily Rate                                        137 . 02
                                                                                                                  Days 'Mlrd \/1/k                                     4 . 00
     , Deductions   Statutory
                                                                                                               • .Days ' Wkrd 1/1/k 2                                 5.00
                    · Federal Income Tai                             -51 ."51                      348   .40    Days Worked                                           9.00
                      Social Security Tax                             -77 . 08                     526 .88
                                                                                                                Vacation Days                                        1.00
                      Medicare Tax                                    -16.02                       123 .22
                                                                                                                Yid 401K Match                                     195. 74
                      MS Stale Income Tax                             -48 . 00                     324 . oo
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                                                                                                                401K Match
                    Other
                    Cl Accident                                      - 13.37                        93 . 59
                    Pop Dental                                       -20.93•                       146 . 51
                    Pop Medical                                     -195. 09•                    1,365.63
                    Vision Pre Tax                                     -3.67"                       25.69
                    401K Pre •TX                                      -87. 77"                     587 .16

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                    Checking                                        - 947 .43




                    • Excluded from federal tlxabla wages




                      DELTA SANITATION OF MISSISSIPPI                                                                                         00000130367
                      2101 W . STATE ROAD 434                                                                                                 04/01/2016
                      SUITE 315
                      LONGWOOD , Fl 32n9

                      Doposlted           lo lho account or                                                                             tranoit ADA               amount
                      0000 BLANDON                                                                                                       xx:o: lC00(             $947.43




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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 168 of 184 PageID 4071




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               Blandon, Dodd                                                      106659                                                           3/13/2016· 3/26/2016, Selected
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               1 Employee(s) Selected
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            3/26/2016 '
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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 169 of 184 PageID 4072




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                                                                                                         Earnings            Statement
                      DEL TA SANITA110N OF MISSISSIPPI                                                   Period Beginning:         03127/2016
                      2101 W. STATE ROAD 434                                                             Period Ending:            ()410912016
                      SUITE 315                                                                          Pay Date:                 04/1512016
                      LONGWOOD, FL 32779


                     Ta>Glblo Molilal SlnlU~:          Marr~                                                  DODO BUI.NOON
                     Excmption'1Allawancco:                                                                   800 MAGEE DRIVE APT 2.12
                         Federal:               2
                                                                                                              P.O. BOX 3262
                         MS:                    2. ~o.oo Ycolly Exampt'on,SpouGe            Not
                                                Employed                                                      BROOKHAVEN MS 39603



      E.nmings                   rat.a         hours           lhl• porfod               yaor to d3ID
      Regular                                80.00               1,245.56                   9,947 . 28
                                                                                                            Your feder;il taxable wages this period are
      Regular                                                       69.20
                                                                                                            $1,258.06
      Overtime                                19.10                118 .91                    587 .16
                                                                                                            Your MS taxable wages this period are
      Sick                                     8.00                138.40                     275 .42
                                                                                                            $1,258.06
      Bonus                                                                                   250 .00
      Holiday                                                                                 274.04     Other Benefits and
      Vacation                                                                                :!74.04    lnformalion                    Utia porlod   total to do!n
                                                                                           11,607 , 96   Dally Raio                                          138.40
                                                                                                         Days · VVkrd VVk                                      4.50
                                                                                                         Days V\?mJ Wk- 2                                        5.00
      Deductions   Statuto!}'.
                                                                                                         Days Worked                                             9,50
                   Federal Income Tax                               -61.77                    410 .17
                                                                                                         Sick Day,;                                            1.00
                   Social Security Ta,:                             -83.85                    610. 73
                                                                                                         Yid 401 K Maleh                                     227 .19
                   Medicare Tax                                     - 19.61                   142 .83
                                                                                                         401K Maleh                                           31.45
                   MS Stale Income Troe                             -53 .00                   377 .OD

                   Othor
                   Cl Accident                                     -13 .37                   106 .96
                                                                                                         Important Notes
                                                                                                         YOUR HOURLY RATE HAS BEEN CHANGED FROM 17.1261 T(l
                   Pop O!mtal                                      - 20 ,93•                 167 ,4-4
                                                                                                         17.299~.
                   Pop Medical                                    -195 .09"                1,560.72
                   Vision Pre Tax                                    -3.67'                   29.36
                   40 1K Pre-TX                                    -94 ,32·                  681.48
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                   Checking                                   -1,028. 46

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                   • . Excluded from federal taxable wages


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                    DELTA SANITATION OF MISSISSIPPI                                                      Advice number~.                00000160383
                    2101 W. $TATE ROAD 434                                                               Pay                            04/15'2016
                    SUfTE 315
                    LONGWOOD • FL 32779

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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 170 of 184 PageID 4073




                                                                                                                        https://eetd2.adp.corn/10 I lxSpstatic/applications/navigator/htm 15/em ...
                   Blandon, Dodd                                                    106659                                              3/27/2016 • 4/09/2016, Selected
                                                                                                                                        Range of Oates
                   1 Employee(s) Selected


            : Su~·;2? :              Pay ~•d~ ~.:·."~: ... ; -~~ J-_-_i;-:~-n_•_r~-'-.-.-._o_u_,__-+'~-..-..-~n--~~~~--i;-_,_.___"•_r_._'= ...____-_-~_u_t-.-+l_sc11_._du_,_•=r=-,'___
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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 171 of 184 PageID 4074




                                                                                              Earnings               Statement
                                                                   435-0001
                     DEL TA SAN/TATTON OF MISSISSIPPI                                         Period Beginning:            0'1/10/2016
                     2101 W. STATE: ROAD 434                                                  Period Ending:               04/23/2016
                     SUITE 315                                                                Pay Dale:                    04/2912016
                     LONGWOOD, FL 32n9


                     Tax.oblo Moril:JJ Slnlu~:     Mnnlad                                          DODD BLANDON
                     EK~mplloos/Allowonc:es:                                                       800 MAGEE DRIVE APT 212
                       Fcde!Df:           :?
                       MS!                2, 10,D0 Ycnrly Examptton.Spou""        Not              P.O. BOX 3262
                                          Etriployod                                               BROOKHAVEN MS 39603


      Earnings                            hour.,        !his porfod           yoot to doll>
      Regular                            80.00          1,522.35                11,469.63
                                                                                                 Your federal taxable wages this period are
      overtime                           24.90            181 .45                   768.63
      Bonus                                                                         250.00
                                                                                                 $1,381   .as
                                                                                                 Your MS     laJCable wages this period are
      Holiday                                                                       274.04
                                                                                                 S1 .381 .88
      Sfclc                                                                         275.42
      Vacation                                                                      274.04    other Beoelits and
                                                                               13 , 311.76    ~ln'-'f'"'b-'"rm=-11-ti_o~n~____lh_1u_po_rl_od_          101111   to dato
                                                                                              Daily Rate                                                        13B .-40
                                                                                              Days Wkrd Wk                                                         6. DO
      Deductions   Statutory
                                                                                              OiiYS Wkrd lf.i/lt ,2                         ·, ... ·              5.00
                   Federal · Income True                     ~75 .55 ·             485.72
                                                                                              Days Worf<ed                                                       11.00
                   Social security Tax                       -92.01                702.74
                                                                                              Yid 401K Match                                                    261 .27
                   Medicare Tax                              -21.52                164.35
                                                                                              4D1K Match                                                         34.08
                   MS Slate Income Tax                       -59.00                436.00
                   Olh8r
                   er  Accident                              -13.37                12D.33
                   Pop Dental                                ·20 . 93'             18B . 37
                   Pop Medical                              -195.09"             1,755.81
                   Vision Pre Tax                             -3. 57•               33,D3
                   401K Pre-Tx                              -102 . 23•             783 .71
                   :ff~1~~1.{~;g;l~W:i~~~lv;iiiJ,;m~✓.t\~@~,~~
                   Checking                            -1,120.43
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                   • Exclude<! from federal taxable wages




                    DELTA SANITATION OF MISSISSIPPI                                           Advice number:                  00000170372
                    2101 W . STATE ROAD 434                                                                     ff            O<l/29/2016
                    SUITE 315
                    LONGWOOD , FL 32779

                    Deposited lo Iha account of                                                                       transit ABA                               amount
                    DODO BLANDON                                                                                                                         $1,120.43




                                                                                                          NON-NEGOTIABLE




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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 172 of 184 PageID 4075




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               Blandon, Dodd                                                         106659                                                   4/10/2016 - 4/23/2016, Selected
                                                                                                                                              Range of Oates
               1 Employee(s) Selected

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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 173 of 184 PageID 4076




                                                                                                     Earnings              Statement
                                                                      432-0001
                     DELTA SANITATION OF MISSISSIPPI                                                    Period Beginning:          04/24/2016
                     2101 W STATE ROAD 434                                                              Period Ending:             05/07/2016
                     SUITE 315                                                                          Pay Dato:                  05/13/2016
                     LONGWOOD, FL 32779


                     T11r.1bla Marilol Sl:llua:     Marrfnd                                                 DODD BLANDON
                     EJcempllans/Al/ownncmc                                                                 800 MAGEE DRIVE APT 212
                       Fodorol:           2
                       MS'.               2, SD.DD Yoorly t:xempUoo,Spouoc          1/ot
                                                                                                            P.O. BOX 3262
                                          Employed                                                          BROOKHAVEN MS 39603


      Earnings                 rut&        hours                                 yoar   10   dato
      Regular                             79.28               1,245.56            12,715.19
                                                                                                          Your federal taxable wages this period ate
      overtime                             5.12                  39.26               807 .89
                                                                                                          S1,118.16
      Vacation                             8 . 00               138.40                  412.44
                                                                                                          Your MS laxable wages this period ;ire
      Bonus                                                                             250.00
                                                                                                          $1,118.15
      Holiday                                                                           274.04
      Sfck                                                                              275.42       other Benefits and
                                                                                  14,734.98          Jnformntion                        lhlu parlod   totDI ID dato
                                                                                                        Daily Rate                                         138 . 40
                                                                                                    . _Da}'.S VI/km \/VI( 1                                  4.00
      Oeduclions   Statutory·
                   Federal Income Tax                          -47.78                   533.50
                                                                                                       Days VI/Im! 1/Vk 2·                                    ·s.oo
                                                                                                     Days Worked                                              9.00
                   Social Security Tax                         -74 . 62                 nT.36
                                                                                                     Vacation Days                                            1.00
                   Medicare Tax                                 -17.45                  161.80
                                                                                                     Yid 401K Match                                        289.74
                   MS Stale Income Tax                          -46 . 00                482 .00
                                                                                                     401K Match                                             28 .47
                   Other
                   Cl Accident                                 · 13 . 37             133. 70
                   Pop Dental                                  -20 . 93·             209.30
                   Pop Medical                                -195.09·             1,950.90
                   Vision Pre Tax                                .3 _57•              36 . 70
                   401K Pre-Tx                                 -85 . 38·             869 .os
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                   • Excluded from federal taxable wages




                    DELTA SANITATION OF MISSISSIPPI                                                 Advice number.                      00000190362
                    2101 W, STATE ROAD 434                                                          Pay date:

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                    SUITE 315                                                                                 ~

                   LONGWOOD , FL                  32779                                             -         i,, iS
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                   DaposUgd to tho account of                                                                                 transit    ABA              amount
                   DODD BLANDON                                                                                                                          $916 . 93




                                                                                                                 NON-NEGOTIABLE




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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 174 of 184 PageID 4077




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                  Blandon, Dodd                                                           106659                                                          4/24/2016 • 5/07/2016, Selected
                                                                                                                                                                 Range of Oates
                  1 Employoo(s) Selected
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                                                                                    In __ . • Tronsrc, _ = - . . . . ~ I                       in          -··T-;;,-.;-~;;;;- · · Ou;_., _s_chedul~ ___ Dall~                                ---~~~c~--1
                 Sun 4/24              .

            · --;;,;;;-~·;;-·'.- VACATION_
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                 Thu M28                                                   I    6:21AM                              4:00PM                                                                                                          9.70                39.6
                  Fri 4129

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                 Sun 5101
                 Mon 5102          :
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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 175 of 184 PageID 4078




                                                                       ···:•··· ···;•:;~1:m                  Earnings          Statement
                                                                            457-1)001
                        DELTA SAN/TATTON OF MISSISSIPPI                                                      Period Beginning:         05/06/2016
                        2101 W. STATE ROAD •f34                                                              Poriod Ending:            05/21/2016
                        SUITE 315                                                                            Pay Date:                 05/27/2016
                        LONGW'OOD, FL 32779


                        Toxoblo l,fnrilol Status:      Marri<:d                                                    DODD BLANDON
                        Excmpliono/Allownnc:oo:                                                                    800 MAGEE DRIVE APT 212
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                           MS:                  2. S0.00 Yomly ExcmpUon,Spooso                 Nol
                                                                                                                   P.O. BOX 3262
                                                Employed                                                           BROOKHAVEN MS 39603


         Earnings                             houro           lhfo poriod                y03r to data
         Regular                             78 .48               1,383 . 96                  14,099.15
                                                                                                               Your federal taxable wages this period arc
         Overtime                             1 . 75                 14.50                       822 .39
                                                                                                               $1,094.86
         Bonus                                                                                   250.00
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         Holiday                                                                                 274 .04
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         Sick                                                                                    275.42
         Vac.itfon                                                                               412 .44     Other Benents       and
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                      Federal Income Tax                            -45 . 45                     578 .95
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                      Social Security Tax                           -73.08                       850 .44
                                                                                                             Yid 401K Match                                  317 , 71
                      Medicare Tax                                  -17, 09                      196. 89
                                                                                                             401K Match                                       27.97
                      MS Stale Income Tox                           -45 .00                      527   .oo
                      Othor
                      Cl Aa:idenl                                   -13.37                       147 .07
                      Pop Dental                                    -20. 93'                     230 . 23
                      Pop Medical                                  -195 .as·                   2,145.99
                      Vision Pre Tax                                 -3. 57·                      40.37
                      401K Pre-Tx                                   -63 . 91·                    953 .00

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                      Checking                                     • 900 . 87




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                        DELTA SANITATION OF MISSISSIPPI                                                      Advice number:              00000210376
                       2101 W . STATE ROAD 434                                                               Pay             ,.;         05/27/2016
                        SUITE 315
                        LONGWOOD , FL               32779

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                        DODO BLANDON                                                                                               xxxx xxxx                $900 .87




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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 176 of 184 PageID 4079




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              Blandon, Dodd                                                  106659                                              5/08/2016 • 5/21/2016, Selected
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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 177 of 184 PageID 4080




                                                                                                Earnings         Statement
                                                                   4S!I-OCOI
                        DELTA SANITATION OF MISSISSIPPI                                         Period Beginning:          05122/.2016
                        2101 W. STATE ROAD 434                                                  Period Ending:             06/04/2016
                        SUITE 315                                                               Pay Dale:                  06/10/2016
                        LONGWOOD, FL 32779


                        Truoiblc Marflol Slnlus;    Morrlod                                         0000 BLANDON
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                           MS:                2, 50.00 Yearly E.mmplion,Spou,;e    Not
                                                                                                    P.O. BOX 3262
                                              Employed                                              BROOKHAVEN MS J9603


      Earnings                   mlD        houm         1111• pariod          yoor lo tlolo
      Regular                              78.75         1,383.96                 15,483.11
                                                                                                  Your federal taxable wages lhls period are
      Overtime                              4.77            36.86                    859.25
                                                                                                  S1,115.88
      Bonus                                                                          2so .oo
                                                                                                  Your MS taxable wages this period arc
      Holiday                                                                        274 .04
                                                                                                  $1,115.88
      Sick                                                                           275.42
      Vacation                                                                       412.44     other Benefits and
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                                                                                                Dally Rate                                          138.40
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     . Deductions ·   Statutory·
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                      Federal Income Tax                    -47.55                  626 .50
                                                                                                Days Worked                                          10.00
                      Social Security Tax                   -74 .47                 924 . 91
                                                                                                Yld 401K Maleh                                      346 .14
                      Medicare Tax                          -17 .42                 216 .31
                      MS Slate Income fox                   -46 .oc                  573 , 00
                                                                                                401K Maleh                                           28.43

                      Other
                      Cl Accident                           -13.37                  160. 44
                      Pop Dental                            -20. 93•                251 .16
                      Pop Medical                          -195 ,09"              2,341 ,08
                      Vision Pre Tax                         -'l . 67"               44 .04
                      401K Pre-Tx                           ·85 ,25•              1,038.26
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                       DELTA SANITATION OF MISSISSIPPI                                                                          00000230369
                       .2101 W . STATE ROAD 434                                                                                 06/10/2016
                       SUITE 315
                       LONGWOOD , FL 32779

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                       DODD BLANDON                                                                                   )000(     xxxx              $917. 07




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               Blandon, Dodd                                                        106659                                                       5/22/2016 - 6/04/2016, Selected
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              1 Employec(s) Selected

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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 179 of 184 PageID 4082




                                                                                                  Earnings Statement
                                                                    1,00-0001
                    DELTA SANfrATION OF MJSSJSSJPP/                                               Period Beginning:         06/0512016
                    2101 W. STATE ROAD 434                                                        Period Ending:           06/1812016
                    SUITE 315                                                                     Pay Date:                06/24/2016
                    LONGWOOD, FL 32n9


                    TQlClb/e M~rital Sl.dlu,:     M~rricd                                             DODD BLANDON
                    Excmpllon<J/Nlowanc,,s;
                                                                                                      800 MAGEE DRJVE APT 212
                       Fcdoml:             2
                       MS:                 2, so.on Yearly Excmpl!on,Spou.o            Nol            P.O. BOX 3262
                                           Employod                                                   BROOKHAVEN MS 39603


     Earning!!                           houra          !hi, period             yoor    to d•to
     Regular                            80 . 00             1,522.35              17,005,46
                                                                                                    Your federal taxable wages lhis period are
     Overlime                           15 . 03               119 . 43                  970 .66
                                                                                                    S1,323.59
     Bonus                                                                              250 .00
                                                                                                    Your MS taxable wages this period are
     Holiday                                                                            274 .04
     Sick
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     Vacalion                                                                           412 .44   Other Benefits   and
                                                                                 19,196.04        lnfonnation                    lhl• pllr\od   total lo doto
                                                                                                  Daily Rate                                          138 . 40
                                                                                                  Days Wkrd Wk                                           5.00
     Deductions   Statutory
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                  Federal Income        TaK                  -68.32                     694 .62
                                                                                                  Days Worked                                           11.00
                  Social Serurity 'fax                       -88 .17               1,013.08
                                                                                                  Ytd 401K Match                                      378 .98
                  Medicare Tax                               -20.62                     236 .93
                                                                                                  401K Match                                           32.84
                  MS Stale Income Tax                        -56.00                     629 .00
                  Othor
                  Cl Accident                                ·13.37                 173. 81
                  Pop Dental                                 -20 ,93•               272 .09
                  Pop Medical                               .195 ,09•             2,536.17
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                   DELTA SANITATION OF MISSISSIPPI                                                                               00000250393
                   21 Of W. STA1E ROAD 434                                                                                       06/24/2016
                   SUITE 315
                   LONGWOOD , FL 32779

                   Do ailed to tho account                                                                            trnrnilt     ABA                amount
                   DODD BLANDON                                                                                       xxxx       lOOC(           s1   ,on . 11




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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 180 of 184 PageID 4083




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                   Blandon, Dodd                                                          106659                                                            6/05/2016 • 6/1B/2016, S!!lected
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                  1 Emplcyee(s) Selected
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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 181 of 184 PageID 4084




                                                                                                     Earnings            Statement
                                                                       458-<1001
                      DELTA SANITA110N OF MISSISSIPPI                                                Period Beginning:        06/19/2010
                      2101 W. STATE ROAD 434                                                         Period Ending:           07/02/2016
                      SUITE 315                                                                      Pay Oa(e:                07/08/2016
                      LOIVGWOOD, FL 32779


                     Ta,u,ble Morillll Slnru•:      Morriod                                               0000 BLANDON
                     ElCampUan,;/A/lnwance,:
                                                                                                         800 MAGEE DRIVE APT 212
                        Fcdarnl:             2
                        MS:                  2, $0.00 Yoarly Exemp~on,Spou:,c          l'lo1             P.O. BOX 3262
                                             S:mploycd                                                    BROOKHAVEN MS 39803


     Earnings                  roto         hours         1111• period             year tu d;ru,
     Regular                               71 .62             1,107.17               18,112.63
                                                                                                       Your MS taxable wages this period arc $953. 97
     Ovenime                                  .35                 3.00                   981 .68
     Sick                                   8.00               138 . 40                  413.82      Other Benefits and
     Bonus                                                                               250 .00     Information                   !his p<rlod   tot::il   ta dot.a
     Holiday                                                                             274 . 04    Dally Rate                                            138. 40
     Vacation                                                                            412 .44     Days 'IIVkrd   Wk                                       5.00
                                                                                    20,444 . 61      Days IM«d Wk 2                                          3 . 00
                                                                                                     Days Worked                                             6.00
                                                                                                     Sick_ Days.            ..-.   ~   ·.                    1.00-
     Deducliom:i   'Sta-Mory ·
                                                                                                     Y(d 401K Maleh                                        403 .96
                   Federal Income Tax                          -31.36                    726 .18
                                                                                                     401K Maleh                                             24.98
                   Social Security Tax                         ·63. 79                1.076 .87
                   Medicare Tax                                -14.92                    2.51 • 85
                   MS St.Ile lne-0me        Tax                -38. 00                   667 .00
                   Othor
                   Cl Accident                                 -13 . 37                  187 .18
                   Pop Dental                                  -20.93"                   293 .02
                   Pop Medical                                -195 .os·              2,731 .26
                   Vision Pre Tax                               .3_57•                     51 . 38
                   401K Pre-Tx                                 •74 . 91'              1,211.66

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                   • Excluded from federal taxable wages
                     Your federal tax~bla wages this period are S953. 97




                    DELTA SANITATION OF MISSISSIPPI                                                                                00000270377
                    2101 W . STATE ROAD 434                                                                                        07/08/2016
                    SUITE 315
                    LONGWOOD , FL                32779

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                    DODD BLANDON                                                                                           XXXX X)OO(                      S792.53




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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 182 of 184 PageID 4085




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             Blandon, Dodd                                                      106659                                                  6/19/2016 - 7/02/2016, Selected
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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 183 of 184 PageID 4086




                                                                                                     Earnings           Statement
                                                   '1611-1)001
                      DELTA SANfTA71ON OF MISSISSIPPI                                                 Period Beginning:         07/0312016
                      2101 W. STATE ROAD 434                                                          Period Ending:            07/16/2016
                      SUITE 315                                                                       Pay Da(e;                 07122/2016
                      LONGWOOD, FL 32779


                      Tm<ablo Marilnl Shllua:         Marrfl!d                                            0000 BLANDON
                      E11empUon.tAJ/owoncC1::                                                             800 MAGEE DRIVE APT 212
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                         MS:                   2, S0,00 \"o!lfly Eimmptlon.SpouSB    Nol
                                                                                                          P.O. BOX 3262
                                               l:mployad                                                  BROOKHAVEN MS 39603



     Earnings                    rat,,        houra           this poriod        year to d;rlo
     Regular                                 55.90                968.77            19,081.40
                                                                                                         Your federal taxable wages !his period are
     Overtime                                  7.82                 56.58            1,038.26
                                                                                                         S1, 134 .42
     Holiday                                  8.00                138.40               412 .44
                                                                                                         Your MS laxable wages this period are
     Vacation                                16.00                276.79               659 .23
                                                                                                         $1,134.42
     Bonus                                                                             250 .00
     Sick                                                                              413 .82        other Benefits and
                                                                                    21,885.15         Information                   I.hi$ por1od   10121 tx,   ~

                                                                                                       Daily Rate                                        138.40
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                                                                                                     · Days Wkrd Wk 2                                          5.00
                   Federal Income Tax                             ·49.41               ns.59          Days Worked                                              7.00
                   Sociol Security Tax                            -75.70             1,152.57
                                                                                                      Holidays                                                 1.00
                   Medicare Tax                                   -17.70               269 .55
                                                                                                      Vacation Days                                            2.00
                   MS State Income Tax                             -47.00              714 .00
                                                                                                      Ytd. 401K Maleh                                    432.78
                   Olhor                                                                              401K Match                                           28.82
                   Cl Accident                                    -13.37              200 .55
                   Pop Denlal                                     ·20 _93•            313.95
                   Pop Medical                                   -195 .09"          2.926 .35
                   Vision Pie Tax                                   -3.67'             SS.05
                   401K Pre-Tx                                    -86.43·           1,298.09

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                    DELTA SANITATION OF MISSISSIPPI                                                   Advice number:_               00000290389
                    2101 W. STATE ROAD 434                                                            Pay date:_    -               07/22/2016
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                    LONGWOOD , FL 32779                                                          =   ~
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Case 6:19-cv-02420-WWB-GJK Document 150-1 Filed 08/31/21 Page 184 of 184 PageID 4087




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                 Blandon, Dodd                                                           106659                                                         7/03/2016 • 7/16/2016, Selected
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